Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-15
                               SubjectFiled: 07/24/19 1Confidentiality
                                         to Further     of 84. PageID #: 242394
                                                                            Review

     1               UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OHIO
     2                     EASTERN DIVISION
     3
            IN RE: NATIONAL                )
     4      PRESCRIPTION                   )    MDL No. 2804
            OPIATE LITIGATION              )
     5      _____________________          )    Case No.
                                           )    1:17-MD-2804
     6                                     )
            THIS DOCUMENT RELATES          )    Hon. Dan A.
     7      TO ALL CASES                   )    Polster
     8
                       TUESDAY, FEBRUARY 12, 2019
     9
            HIGHLY CONFIDENTIAL – SUBJECT TO FURTHER
    10               CONFIDENTIALITY REVIEW
    11                        – – –
    12              Videotaped deposition of Bonnie
    13    New, held at the offices of BRYAN CAVE
    14    LEIGHTON PAISNER LLP, One Metropolitan
    15    Square, Suite 3600, St. Louis, Missouri,
    16    commencing at 9:18 a.m., on the above date,
    17    before Carrie A. Campbell, Registered
    18    Diplomate Reporter and Certified Realtime
    19    Reporter.
    20
    21
    22                         – – –
                     GOLKOW LITIGATION SERVICES
    23           877.370.3377 ph | 917.591.5672 fax
                           deps@golkow.com
    24
    25

   Golkow Litigation Services                                         Page 1 (1)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-15
                               SubjectFiled: 07/24/19 2Confidentiality
                                         to Further     of 84. PageID #: 242395
                                                                            Review
                                                Page 2                                                           Page 4
    1         APPEARANCES:                                1                 INDEX
    2                                                     2                           PAGE
    3     KELLER ROHRBACK LLP                             3   APPEARANCES.................................. 2
          BY: GARY GOTTO
    4        ggotto@kellerrohrback.com
                                                          4   EXAMINATIONS
             CHANELE REYES                                5    BY MR. GOTTO............................... 11
    5        creyes@kellerrohrback.com                    6    BY MR. LENISKI............................. 270
          1201 Third Avenue, Suite 3200                   7    BY MR. GOTTO............................... 319
    6     Seattle, Washington 98101                       8
          (206) 623-1900                                  9              EXHIBITS
    7     Counsel for Plaintiffs
    8                                                    10     No.     Description              Page
    9     BRANSTETTER STRANCH & JENNINGS, PLLC           11   Mallinckrodt Plaintiffs' Notice of Oral
                                                                                          14
          BY: JOE P. LENISKI, JR.                             New 1       Videotaped Deposition of
   10        joeyl@bsjfirm.com                 12                     Bonnie New and Request for
          223 Rosa L. Parks Avenue, Suite 200                         Production of Documents
   11     Nashville, Tennessee 37203           13
          (615) 254-8801
   12     Counsel for the Tennessee Action        Mallinckrodt Tyco Healthcare February 21, 38
   13                                                    14   New 2       2006 offer to Bonnie New,
   14     ROPES & GRAY, LLP                                           MNK-T1_0008393345 -
          BY: WILLIAM DAVISON                            15           MNK-T1_0008393346
   15        william.davison@ropesgray.com               16   Mallinckrodt E-mail(s),             116
             CASSANDRA LARUSSA
   16     800 Boylston Street                                 New 3       MNK-T1_0000264194 -
          Boston, Massachusetts 02199-3600               17           MNK-T1_0000264195
   17     (617) 951-7000                                 18   Mallinckrodt E-mail(s),             126
          Counsel for Mallinckrodt                            New 4       MNK-T1_0004888161 -
   18
   19
                                                         19           MNK-T1_0004888162
          ARMSTRONG TEASDALE, LLP
                                                         20   Mallinckrodt E-mail(s),             134
   20     BY: JULIE FIX MEYER                                 New 5       MNK-T1_0006283056 -
              jfixmeyer@armstrongteasdale.com            21           MNK-T1_0006283062
   21     7700 Forsyth Boulevard, Suite 1800             22   Mallinckrodt E-mail(s),             140
          St. Louis, Missouri 63105                           New 6       MNK-T1_0004878533 -
   22     (314) 621-5070                                 23           MNK-T1_0004878536
          Counsel for Cardinal Health, Inc.              24   Mallinckrodt E-mail(s),             152
   23
   24                                                         New 7       MNK-T1_0004155440 -
   25                                                    25           MNK-T1_0004155441
                                                Page 3                                                           Page 5
    1     JACKSON KELLY PLLC                              1   Mallinckrodt E-mail(s),         158
          BY: GRETCHEN M. CALLAS                              New 8       MNK-T1_0001140522 -
    2        gcallas@jacksonkelly.com                     2           MNK-T1_0001140526
             (VIA TELECONFERENCE)                         3   Mallinckrodt E-mail(s),         164
    3     500 Lee Street East, Suite 1600                     New 9       MNK-T1_0004903077 -
          Charleston, West Virginia 25301                 4           MNK-T1_0004903078
    4     (304) 340-1169
                                                          5   Mallinckrodt E-mail(s),         166
          Counsel for AmerisourceBergen                       New 10      MNK-T1_0000368650
                                                          6
    5
    6
                                                              Mallinckrodt PowerPoint,                  170
                                                          7   New 11      MNK-T1_0001531370
          JONES DAY                                       8   Mallinckrodt PowerPoint,                  176
    7     BY: SARAH G. CONWAY                                 New 12      MNK-T1_0002714634
             sgconway@jonesday.com                        9
    8     555 South Flower Street, 15th Floor                 Mallinckrodt E-mail(s),         179
          Los Angeles, California 90071-2300             10   New 13      MNK-T1_0005539361 -
    9     (213) 489-3939                                              MNK-T1_0005539363
   10                                                    11
   11     ARNOLD & PORTER KAYE SCHOLER, LLP                   Mallinckrodt PowerPoint,         181
          BY: DAVID E. KOUBA
                                                         12   New 14      MNK-T1_0004292574
   12        david.kouba@arnoldporter.com
                                                         13   Mallinckrodt E-mail(s),         184
             (VIA TELECONFERENCE)                             New 15      MNK-T1_0002737439 -
                                                         14           MNK-T1_0002737440
   13     601 Massachusetts Avenue, NW                   15   Mallinckrodt PowerPoint,         189
          Washington, DC 20001-3743                           New 16      MNK-T1_0001455032
   14     (202) 942-5000                                 16
          Counsel for Endo Pharmaceuticals                    Mallinckrodt E-mail(s),         197
   15     Inc., and Endo Health Solutions Inc.           17   New 17      MNK-T1_0001373610 -
   16                                                                 MNK-T1_00013736124
   17   VIDEOGRAPHER:                                    18
           JAMES ARNDT,                                       Mallinckrodt Pain Management Pocketcard              201
   18      Golkow Litigation Services                    19   New 18      Set,
   19                                                                 MNK-T1_0002159713 -
                    –––
                                                         20           MNK-T1_0002159716
   20
                                                         21   Mallinckrodt E-mail(s),          210
   21                                                         New 19      MNK-T1_0005764398 -
   22
                                                         22           MNK-T1_0005764399
                                                         23   Mallinckrodt E-mail(s),          213
   23                                                         New 20      MNK-T1_0005762756 -
   24                                                    24           MNK-T1_0005762757
   25                                                    25

   Golkow Litigation Services                                                              Page 2 (2 - 5)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-15
                               SubjectFiled: 07/24/19 3Confidentiality
                                         to Further     of 84. PageID #: 242396
                                                                            Review
                                                Page 6                                                Page 8
    1   Mallinckrodt E-mail(s),             215           1   Mallinckrodt Mallinckrodt Controlled       310
        New 21      MNK-T1_0004779439 -                       New 43       Substance
    2           MNK-T1_0004779442
    3   Mallinckrodt Script for pharmacy calls - 221      2           Compliance/Suspicious Order
        New 22      Draft Version 11/28/11,                           Monitoring Distributor
    4           MNK-T1_0000460028 -
                MNK-T1_0000460029                         3           Customer Audit Checklist,
    5                                                                 MNK-T1_0006464828 -
        Mallinckrodt E-mail(s),         223               4           MNK-T1_0006464836
    6   New 23      MNK-T1_0000455771 -
                MNK-T1_0000455774                         5   Mallinckrodt E-mail(s),                319
    7
        Mallinckrodt US Department of Justice   229           New 44       MNK-T1_0005649068 -
    8   New 24      Drug Enforcement                      6           MNK-T1_0005649072
                Administration September 27,              7     (Exhibits attached to the deposition.)
    9           2006 letter,                              8
                MNK-T1_0000447932 -
   10           MNK-T1_0000447935                         9
   11   Mallinckrodt Mallinckrodt DEA Controlled 230     10
        New 25      Substance Compliance
   12           Training for Distributor                 11
                Registrants prepared for                 12
   13           Commercial Group 03/23/11                13
                PowerPoint,
   14           MNK-T1_0008001114                        14
   15   Mallinckrodt E-mail(s),            231           15
        New 26      MNK-T1_0007729353 -
   16           MNK-T1_0007729354                        16
   17   Mallinckrodt E-mail(s),            235           17
        New 27      MNK-T1_0005911712 -                  18
   18           MNK-T1_0005911714
   19   Mallinckrodt E-mail(s),            236           19
        New 28      MNK-T1_0007076152 -                  20
   20           MNK-T1_0007076153
   21   Mallinckrodt E-mail(s),            239           21
        New 29      MNK-T1_0008001120 -                  22
   22           MNK-T1_0008001122
   23   Mallinckrodt E-mail(s),            242           23
        New 30      MNK-T1_00000491217                   24
   24
   25                                                    25

                                                Page 7                                                Page 9
    1   Mallinckrodt E-mail(s),             248           1            VIDEOGRAPHER: We are now on
        New 31      MNK-T1_0006258783 -                   2       the record. My name is James Arndt.
    2           MNK-T1_0006258785
    3   Mallinckrodt E-mail(s),             250           3       I'm a videographer for Golkow
        New 32      MNK-T1_0007721020 -
    4           MNK-T1_0007721024                         4       Litigation Services.
    5   Mallinckrodt E-mail(s),             253           5            Today's date is February 12,
        New 33      MNK-T1_0007984606 -
    6           MNK-T1_0007984609                         6       2019, and the time is 9:18 a.m.
    7   Mallinckrodt E-mail(s),             255           7            This video deposition is being
        New 34      MNK-T1_0008396040 -
    8           MNK-T1_0008396043                         8       held in St. Louis, Missouri, in the
    9   Mallinckrodt E-mail(s),             258
        New 35      MNK-T1_0001519326 -                   9       matter of the National Prescription
   10           MNK-T1_0001519327                        10       Opiate Litigation, for the United
   11   Mallinckrodt E-mail(s),             260
        New 36      MNK-T1_0008409479 -                  11       States Circuit Court for the Northern
   12           MNK-T1_0008409480                        12       District of Ohio, Eastern Division.
   13   Mallinckrodt E-mail(s),             262
        New 37      MNK-T1_0007729179 -                  13            The deponent is Bonnie New.
   14           MNK-T1_0007729182
   15   Mallinckrodt E-mail(s),             264          14            Will counsel please identify
        New 38      MNK-T1_0008409661 -                  15       themselves.
   16           MNK-T1_0008409662
   17   Mallinckrodt E-mail(s),             267          16            MR. GOTTO: Gary Gotto, Keller
        New 39      MNK-T1_0004849397 -                  17       Rohrback, LLP, for the plaintiffs.
   18           MNK-T1_0004849403
   19   Mallinckrodt PowerPoint,             269         18            MS. REYES: Chanele Reyes,
        New 40      MNK-T1_0007728133
   20                                                    19       Keller Rohrback, LLP, for plaintiffs.
        Mallinckrodt National Sales Meeting,     285     20            MR. LENISKI: Joe Leniski,
   21   New 41      Bonnie New - Territory 5000,
                October 26-30, 2014                      21       Branstetter, Stranch & Jennings for
   22           PowerPoint,                              22       Tennessee plaintiffs.
                MNK-T1_0006264226
   23                                                    23            MS. CONWAY: Sarah Conway from
        Mallinckrodt E-mail(s),             296
   24   New 42      MNK_TNSTA001117304 -                 24       Jones Day for Walmart.
                MNK_TNSTA001117311                       25            MS. FIX MEYER: Julie Fix
   25

   Golkow Litigation Services                                                         Page 3 (6 - 9)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-15
                               SubjectFiled: 07/24/19 4Confidentiality
                                         to Further     of 84. PageID #: 242397
                                                                            Review
                                               Page 10                                              Page 12
    1      Meyer, Armstrong Teasdale, for                 1       A. No, I am not.
    2      Cardinal Health.                               2       Q. Okay. What is your residence
    3           MS. LARUSSA: Cassandra                    3   address?
    4      LaRussa, Ropes & Gray, for                     4       A.
    5      Mallinckrodt, LLC, SpecGx and the                                                 .
    6      witness.                                       6       Q. Thank you.
    7           MR. DAVISON: William Davison              7            Have you ever given a
    8      of Ropes & Gray for Mallinckrodt, LLC,         8   deposition before?
    9      SpecGx, LLC, and the witness.                  9       A. No, I have not.
   10           VIDEOGRAPHER: Will counsel               10       Q. Okay. I'm sure your counsel
   11      present by phone please identify              11   has given you a sense of what to expect here
   12      themselves.                                   12   today, but I'll be asking questions, some of
   13           MR. KOUBA: Good morning. This            13   the other counsel may ask you some questions.
   14      is David Kouba of Arnold & Porter on          14            The court reporter will prepare
   15      behalf of the Endo and Par                    15   a transcript of everything we say while we're
   16      Pharmaceutical defendants.                    16   on the record. You'll have an opportunity to
   17           MS. CALLAS: This is Gretchen             17   review that transcript after it's prepared
   18      Callas with Jackson Kelly for                 18   for corrections.
   19      AmerisourceBergen.                            19            If we try to avoid speaking
   20           VIDEOGRAPHER: The court                  20   over each other, that will make the court
   21      reporter is Carrie Campbell, and she          21   reporter's job a little easier. I'll do my
   22      will now swear in the witness.                22   best to do that.
   23                                                    23            If any of my questions are
   24              BONNIE NEW,                           24   unclear to you in any way, please let me
   25   of lawful age, having been first duly sworn      25   know, and I'll do my best to clarify them.
                                               Page 11                                              Page 13
    1   to tell the truth, the whole truth and            1       A. Yes, sir.
    2   nothing but the truth, deposes and says on        2       Q. We'll take breaks about every
    3   behalf of the Plaintiffs, as follows:             3   hour or so, but if you need a break before
    4                                                     4   then, just let me know, and as long as
    5           DIRECT EXAMINATION                        5   there's not a question pending, I'm sure
    6   QUESTIONS BY MR. GOTTO:                           6   we'll be able to accommodate you.
    7       Q. Good morning, Ms. New.                     7            Okay?
    8       A. Good morning.                              8       A. Thank you.
    9       Q. As you heard when we went on               9       Q. Are you on any medication
   10   the record, my name is Gary Gotto, and I'm       10   today?
   11   one of the lawyers representing plaintiffs in    11       A. I take -- yes, I do take
   12   the opioid litigation.                           12   medication.
   13           We've never met before just a            13       Q. Anything that might affect your
   14   few minutes before we went on the record this    14   ability, your memory or your ability, to
   15   morning, correct?                                15   clearly recollect events from several years
   16       A. That is correct.                          16   ago?
   17       Q. Could you tell me by whom are             17       A. No.
   18   you employed?                                    18       Q. Okay. Great.
   19       A. I was employed by Mallinckrodt            19            Any other reason you wouldn't
   20   Pharmaceuticals.                                 20   be able to testify truthfully and fully
   21       Q. Okay. And when did you leave              21   today?
   22   Mallinckrodt?                                    22       A. No, sir.
   23       A. My job was eliminated on --               23       Q. Great.
   24   effective June 1st of 2018.                      24            I asked you about deposition
   25       Q. And are you currently employed?           25   testimony. Have you ever testified at a
   Golkow Litigation Services                                                     Page 4 (10 - 13)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-15
                               SubjectFiled: 07/24/19 5Confidentiality
                                         to Further     of 84. PageID #: 242398
                                                                            Review
                                              Page 14                                             Page 16
    1   trial?                                           1   everything I had.
    2        A.   No, sir.                               2       Q. Okay. So you don't have any --
    3           (Mallinckrodt-New Exhibit 1              3       A. To our legal department.
    4       marked for identification.)                  4       Q. Okay. So you don't have any
    5   QUESTIONS BY MR. GOTTO:                          5   hard copy of any Mallinckrodt-related
    6       Q. Okay. Let me hand you what                6   materials in your personal possession or
    7   we've marked as Exhibit 1, which is the          7   control?
    8   notice of deposition for today's deposition.     8       A. No.
    9           Have you seen that document              9       Q. Okay. Or any computer drives
   10   previously? And take your time to look          10   that have any electronic --
   11   through it.                                     11       A. No, sir.
   12       A. Okay.                                    12       Q. Anything of that nature?
   13       Q. Great. Have you seen the                 13       A. No, I turned all equipment in.
   14   document before?                                14       Q. Okay. How about did you use a
   15       A. No.                                      15   cell phone for your Mallinckrodt-related work
   16       Q. Okay. When did you first learn           16   while you were at Mallinckrodt?
   17   of today's deposition?                          17       A. Yes, I did.
   18       A. I don't remember the specific            18       Q. And did you retain that cell
   19   date. I would say it was about four or five     19   phone?
   20   weeks ago.                                      20       A. No.
   21       Q. Okay. And I don't want you to            21       Q. Okay. Okay. Great. You can
   22   divulge the substance of any communication      22   set that aside.
   23   with counsel, but how did you learn of the      23            I'd like to understand what you
   24   deposition?                                     24   did to prepare for today's deposition.
   25       A. Phone call.                              25   Again, in answering these questions, I don't
                                              Page 15                                             Page 17
    1       Q. Okay. From the law firm?                  1   want you to divulge the substance of any
    2       A. Yes.                                      2   communication you've had with counsel.
    3       Q. Okay. If you turn to                      3           And incidentally, you are
    4   Schedule A on Exhibit 1, there are a series      4   represented by counsel here today, correct?
    5   of definitions followed by Roman Numeral II      5       A. Yes.
    6   on the second page are instructions, followed    6       Q. And are you paying for that
    7   by Roman Numeral III, documents to be            7   representation?
    8   produced.                                        8       A. No, sir.
    9            And if you look under request           9       Q. Do you know who is?
   10   for production number 2, it requests all        10       A. Yes.
   11   documents, including electronic data and        11       Q. And who is that?
   12   e-mail, in your possession related in any way   12       A. Mallinckrodt.
   13   to any defendants' manufacture, marketing, et   13       Q. Okay. Are you being
   14   cetera. I won't read the whole sentence. It     14   compensated in any way for your attendance
   15   goes on from there.                             15   here today?
   16            Have you brought any documents         16       A. No, sir.
   17   with you today that are responsive to this      17       Q. Or for your preparation for the
   18   request?                                        18   deposition?
   19       A. No.                                      19       A. Not at this time.
   20       Q. Okay. Did you make an effort             20       Q. Okay. So tell me what you did
   21   to identify any documents that you have in      21   to prepare for today's deposition.
   22   your personal possession or control that        22       A. I met with my attorney.
   23   would be responsive to this request?            23       Q. Okay. And once? More than
   24       A. I have. And when I                       24   once? How many times?
   25   terminated -- I was terminated, I turned in     25       A. Twice.
   Golkow Litigation Services                                                    Page 5 (14 - 17)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-15
                               SubjectFiled: 07/24/19 6Confidentiality
                                         to Further     of 84. PageID #: 242399
                                                                            Review
                                             Page 18                                               Page 20
    1       Q. Okay. And when did those                  1       A. Not that I can recall.
    2   meetings occur?                                  2       Q. Have you reviewed any other
    3       A. One was yesterday, and the                3   materials that have been filed with the court
    4   other was approximately three weeks ago.         4   in this litigation?
    5       Q. And were those personal                   5       A. Not that I can recall.
    6   meetings?                                        6       Q. Have you had occasion to have
    7       A. Yes.                                      7   any conversations with any other individuals
    8       Q. And who was present at those              8   who have given testimony in connection with
    9   meetings?                                        9   this litigation?
   10       A. Bill Davison, and yesterday --           10       A. No, sir.
   11   I forget her name -- Carrie {sic}, and Toren    11       Q. Do you have an understanding of
   12   from Ropes & Gray, previously.                  12   the nature of the claims that are asserted in
   13       Q. Okay. How long did each of               13   this litigation?
   14   those meetings last?                            14       A. Somewhat, yes, sir.
   15       A. Approximately six and a half             15       Q. And what is that understanding?
   16   hours, seven.                                   16       A. That state, local, counties are
   17       Q. Okay. Did you bring any                  17   approaching various pharma companies in
   18   materials to those meetings to review during    18   regard to cost associated with opiate
   19   the meetings?                                   19   addiction.
   20       A. No, sir.                                 20       Q. So I understand you left
   21       Q. And did you review some                  21   Mallinckrodt last June.
   22   documents at the meetings?                      22             When did you start working for
   23       A. Yes, sir.                                23   Mallinckrodt?
   24       Q. Okay. Did your review of those           24       A. November 10, 1989.
   25   documents refresh your recollection in any      25       Q. Okay. So you were there for
                                             Page 19                                               Page 21
    1   regard?                                          1   quite a while.
    2       A. In some cases.                            2       A. Yes, sir.
    3       Q. Can you tell me the -- any                3       Q. Before we get into your
    4   subject matters as to which you can recall       4   Mallinckrodt employment, maybe you could
    5   your recollection being refreshed by document    5   briefly describe for me your post-high school
    6   review?                                          6   education.
    7       A. Compensation, bonus plans, some           7       A. I have an MBA.
    8   e-mails regarding different accounts or          8       Q. When did you obtain your MBA?
    9   subjects.                                        9       A. In 2000.
   10       Q. Okay. Any particular accounts            10       Q. And from what institution?
   11   you can recall your recollection being          11       A. Lindenwood University,
   12   refreshed?                                      12   St. Charles, Missouri.
   13       A. Morris & Dickson came to mind.           13       Q. And when did you obtain your
   14   Nothing specific at this time stands out.       14   undergraduate degree?
   15       Q. Okay. Have you reviewed any              15       A. 1995.
   16   transcripts of any other depositions given in   16       Q. And from what institution?
   17   this litigation?                                17       A. Lindenwood College at the time.
   18       A. No, sir.                                 18       Q. And a BA? A BS? What was it?
   19       Q. Have you reviewed any                    19       A. Business administration, BA.
   20   transcripts of any court proceedings that       20       Q. Okay. So I take it you -- were
   21   occurred in this litigation?                    21   you employed by Mallinckrodt while you were
   22       A. No, sir.                                 22   matriculating through your undergraduate
   23       Q. Have you reviewed any                    23   degree and for your MBA?
   24   complaints filed by any of the plaintiffs in    24       A. Correct.
   25   this litigation?                                25       Q. Okay. Did Mallinckrodt

   Golkow Litigation Services                                                    Page 6 (18 - 21)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-15
                               SubjectFiled: 07/24/19 7Confidentiality
                                         to Further     of 84. PageID #: 242400
                                                                            Review
                                             Page 22                                               Page 24
    1   subsidize or pick up the cost of your            1   for about five years?
    2   education?                                       2       A. Yeah, a combination of roles.
    3       A. Yes, sir, they did.                       3       Q. Okay. So that should take us
    4       Q. Great.                                    4   to about 1999 or so?
    5            Prior to joining Mallinckrodt           5       A. Correct.
    6   in 1989, did you have any employment             6       Q. Okay. Where did you -- what
    7   background that was related in any way to the    7   did you move into at that point?
    8   pharmaceuticals industry?                        8       A. I moved to the pharmaceutical
    9       A. No, sir.                                  9   division. They were investigating the
   10            MR. DAVISON: Objection to              10   possibility of an inside sales team.
   11       form.                                       11       Q. Okay. And when you moved into
   12   QUESTIONS BY MR. GOTTO:                         12   the pharmaceutical division, what role did
   13       Q. Okay. Tell me the                        13   you take?
   14   circumstances under which you came to be        14       A. Ultimately I ended up being
   15   employed by Mallinckrodt.                       15   marketing.
   16       A. There was a job opening for a            16       Q. When you say they were
   17   traffic expediter in their nuclear medicine     17   investigating a possibility of an inside
   18   department, and I applied and was hired.        18   sales team, does that mean they didn't have
   19       Q. And what was a traffic                   19   an inside sales team before then?
   20   expediter's role?                               20       A. Once they did the due diligence
   21       A. To get nuclear medicine to               21   and talked to retail chain headquarters, it
   22   hospitals by 5 a.m. so tests could be ran on    22   was determined that they did not want inside
   23   patients.                                       23   sales calling their pharmacies. They didn't
   24       Q. Did you have any background or           24   have time to be bothered, basically. And so
   25   training that was adapted to that particular    25   we decided that that wasn't an avenue that we
                                             Page 23                                               Page 25
    1   job?                                             1   wanted to go down.
    2            MR. DAVISON: Objection to               2       Q. Okay. And so who was involved
    3       form.                                        3   in making that decision?
    4            THE WITNESS: No, sir.                   4       A. Upper management.
    5   QUESTIONS BY MR. GOTTO:                          5       Q. Okay. What caused you to move
    6       Q. And for how long did you serve            6   to the pharmaceutical division in
    7   in that capacity?                                7   approximately 1999?
    8       A. I was in nuclear medicine for             8       A. There was a person in the group
    9   five years.                                      9   that I had been working for when I started in
   10       Q. In the traffic expediter role?           10   1989. She was an inside sales rep, and she
   11       A. Role, yes, sir.                          11   recommended me.
   12       Q. And so what did you move into            12       Q. Okay. Who was that?
   13   after that five-year period?                    13       A. Kathy Westbrook.
   14       A. The next five years were in the          14       Q. So describe for me what your
   15   imaging and respiratory department. I did       15   role was in marketing when you joined the
   16   customer service for a short time and then      16   pharmaceuticals division.
   17   did membership and contracting.                 17       A. We had contracts with customers
   18       Q. And what does membership and             18   that were not meeting the goals as far as
   19   contracting consist of in this context?         19   their volume.
   20       A. It was in regard to setting up           20       Q. Okay. And you had
   21   GPO accounts using our products.                21   responsibilities in connection with that?
   22       Q. And a GPO account is what?               22       A. Right. It was a program to
   23       A. A group purchasing                       23   help the pharmacists understand what generic
   24   organization.                                   24   products were on contract. And in a
   25       Q. And you were in that capacity            25   partnership with the headquarters of the
   Golkow Litigation Services                                                    Page 7 (22 - 25)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-15
                               SubjectFiled: 07/24/19 8Confidentiality
                                         to Further     of 84. PageID #: 242401
                                                                            Review
                                             Page 26                                             Page 28
    1   chain drugstore, we worked with them to help    1            MR. DAVISON: Objection to
    2   get contract compliance.                        2       form.
    3        Q. Okay. And contract compliance           3            THE WITNESS: Prior to that
    4   in this setting means what?                     4       time?
    5        A. It means because of the strict          5   QUESTIONS BY MR. GOTTO:
    6   allocation from the DEA, we had to monitor      6       Q. Yeah.
    7   our forecast and ensure that we could supply    7       A. No, sir.
    8   if we set up a contract.                        8       Q. Okay. And again, prior to
    9            So a customer would give us the        9   joining the pharmaceutical division, did your
   10   estimated volumes, and we would monitor that   10   employment at Mallinckrodt require you to
   11   and -- to make sure that they stayed within    11   have any familiarity with any DEA
   12   the guidelines. And when something changed     12   regulations?
   13   on a contract, it was a challenge. So by       13            MR. DAVISON: Objection to
   14   providing them with a helpful guide, we were   14       form.
   15   able to help drive contract compliance to      15            THE WITNESS: Not that I
   16   improve.                                       16       recall.
   17        Q. Okay. So when you first joined         17   QUESTIONS BY MR. GOTTO:
   18   the pharmaceutical division, what was your     18       Q. Okay. Now, once you joined the
   19   title?                                         19   pharmaceutical division, did your employment
   20        A. That's a good question.                20   require you to have some familiarity with the
   21        Q. Okay.                                  21   Controlled Substances Act?
   22        A. You're talking 1999, right?            22            MR. DAVISON: Objection.
   23   Yeah.                                          23            THE WITNESS: Yes, sir.
   24        Q. I understand. This is not a            24   QUESTIONS BY MR. GOTTO:
   25   memory test today.                             25       Q. And with DEA regulation?
                                             Page 27                                             Page 29
    1       A. Thank you.                               1            MR. DAVISON: Objection.
    2       Q. I completely understand. And             2            THE WITNESS: Yes, sir.
    3   the only rule is you can't ask me what I was    3   QUESTIONS BY MR. GOTTO:
    4   doing in 1999.                                  4       Q. So how did you become familiar
    5       A. Fair enough.                             5   with the Controlled Substances Act and the
    6       Q. Okay. So do you remember who             6   applicable DEA regulation that you needed to
    7   you reported to?                                7   have familiarity with for your employment?
    8       A. Initially I reported to Tricia           8            MR. DAVISON: Objection to
    9   Wetzel.                                         9       form.
   10       Q. And do you remember -- is that          10            THE WITNESS: We had ongoing
   11   a man or woman?                                11       training sessions originally, I think,
   12       A. It's a woman.                           12       offline, and then as it evolved, it
   13       Q. Okay. Do you remember what her          13       was online training along with
   14   position was?                                  14       in-person training.
   15       A. Honestly, I don't remember.             15   QUESTIONS BY MR. GOTTO:
   16       Q. I mean, can you describe it,            16       Q. So the training sessions that
   17   even if you don't remember the title?          17   you're referring to, were they some sort of
   18       A. She was in marketing. I don't           18   classroom, presentation-type sessions?
   19   know if she was potentially a marketing        19       A. Varied. And to be honest,
   20   manager. I don't know.                         20   starting -- I don't recall.
   21       Q. So prior to joining the                 21       Q. Were they in-house Mallinckrodt
   22   pharmaceutical division, did your employment   22   presentations?
   23   at Mallinckrodt require you to have any        23       A. To the best of my knowledge.
   24   familiarity with the Controlled Substances     24       Q. Okay. You don't recall
   25   Act?                                           25   taking -- attending a seminar given by a
   Golkow Litigation Services                                                   Page 8 (26 - 29)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1982-15
                               SubjectFiled: 07/24/19 9Confidentiality
                                         to Further     of 84. PageID #: 242402
                                                                            Review
                                             Page 30                                              Page 32
    1   third party elsewhere, that sort of thing?       1   dealings with some of the other chain
    2       A. I don't recall.                           2   pharmacies?
    3       Q. Okay. At any time or -- I'm               3       A. Yes, sir.
    4   really focused now on the -- you know, when      4       Q. Can you recall any others?
    5   you first joined pharmaceutical --               5       A. In that same early marketing
    6       A. Right.                                    6   role?
    7       Q. -- and became familiar with the           7       Q. Right.
    8   applicable regulatory environment.               8       A. Not off the top of my head, no.
    9       A. Right. I honestly don't                   9       Q. Okay.
   10   recall.                                         10       A. Sorry.
   11       Q. Okay. Do you remember who                11       Q. Okay. And AmerisourceBergen,
   12   conducted the training sessions that you        12   what was the nature of their business at that
   13   attended?                                       13   time?
   14       A. No, sir.                                 14            MR. DAVISON: Objection to
   15       Q. And do you remember the subject          15       form.
   16   matters that were covered in those training     16            THE WITNESS: That was, again,
   17   sessions?                                       17       trying to do a marketing program
   18       A. In the early 1990 time frame?            18       through them for their customers to
   19       Q. Yes.                                     19       get compliance to their contract, and
   20       A. No, sir.                                 20       that was unsuccessful.
   21       Q. When you first joined the                21   QUESTIONS BY MR. GOTTO:
   22   pharmaceuticals division -- and you mentioned   22       Q. Okay. And so
   23   pharmacies.                                     23   AmerisourceBergen, were they a customer of
   24            Were there pharmacies among the        24   Mallinckrodt's at that time?
   25   Mallinckrodt customers that you had             25       A. Yes, sir.
                                             Page 31                                              Page 33
    1   responsibilities for?                            1      Q.      Okay. Were they a distributor?
    2            MR. DAVISON: Objection to               2      A.      A wholesaler.
    3       form.                                        3      Q.      A wholesaler.
    4            THE WITNESS: I dealt with the           4            Okay. And what's the
    5       chain drug headquarters, not with the        5   distinction, at least at that time in your
    6       individual pharmacies.                       6   mind, between a wholesaler and a distributor?
    7   QUESTIONS BY MR. GOTTO:                          7       A. A wholesaler -- at that time,
    8       Q. Okay. Apart from the chain                8   my understanding was a wholesaler carried a
    9   pharmacies that you dealt with, what other       9   full line of products, both brand and
   10   customers did you have responsibilities for?    10   generic, along with DME and other medical
   11       A. In the 1990 time frame?                  11   supplies.
   12       Q. Yes, when you first joined the           12            And a distributor was a smaller
   13   pharmaceutical division.                        13   form of that and normally carried maybe just
   14       A. The major account that I had             14   brand and generic drugs.
   15   was Kroger. You said other than -- we tried     15       Q. Okay.
   16   to do a program with AmerisourceBergen and      16       A. It varied.
   17   that didn't work out very well.                 17       Q. Okay. And the
   18       Q. Okay. So the major account you           18   AmerisourceBergen relationship that you said
   19   personally had responsibility for, at least     19   didn't work out, was this a new relationship?
   20   early on, was Kroger?                           20       A. No. For the program that I was
   21       A. Yes, sir.                                21   managing, it was.
   22       Q. And where were they based; do            22       Q. And again, the nature of that
   23   you recall?                                     23   program was what?
   24       A. Cincinnati, Ohio.                        24            MR. DAVISON: Objection.
   25       Q. And I take it you also had some          25            THE WITNESS: It was called
   Golkow Litigation Services                                                    Page 9 (30 - 33)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further10Confidentiality
                                                         of 84. PageID #: 242403
                                                                             Review
                                               Page 34                                              Page 36
     1       Comply Right, and it was to help drive       1   for any particular customers?
     2       contract compliance for ABC,                 2       A. No.
     3       AmerisourceBergen.                           3       Q. Okay. So how long did you stay
     4   QUESTIONS BY MR. GOTTO:                          4   in the marketing role that we've been
     5       Q. And so -- and when you say                5   discussing?
     6   "drive compliance" in this setting, I think      6       A. Approximately five years. I
     7   you testified a little earlier that was for      7   honestly don't recall.
     8   their customers to comply with the projected     8       Q. Okay. During that time period
     9   sales levels in their contracts?                 9   that you were in that marketing role, what
    10            MR. DAVISON: Objection to              10   were the principal products that Mallinckrodt
    11       form.                                       11   was -- manufactured or had available for sale
    12            THE WITNESS: Yes, sir.                 12   that you had responsibilities for?
    13            MS. CALLAS: Object to form.            13       A. Any -- all products that we had
    14   QUESTIONS BY MR. GOTTO:                         14   on -- available at that time, because as time
    15       Q. And so what was the -- what              15   evolved, things changed.
    16   were the kinds of things that you worked on,    16       Q. Sure.
    17   understanding that the program didn't work      17           So what were some of the
    18   out? But what was -- what are the kinds of      18   principal products that you can recall being
    19   things that you worked on to try to help them   19   available at that time?
    20   drive compliance?                               20       A. Oxycodone, hydrocodone,
    21            MR. DAVISON: Objection to              21   oxy/APAP, methadone and methylphenidate.
    22       form.                                       22       Q. Okay. So what was the next
    23            THE WITNESS: We had a binder           23   position at Mallinckrodt that you moved into?
    24       that had a list of the products that        24       A. I don't remember the
    25       were contracted with us and a               25   progression, I'm sorry.
                                               Page 35                                              Page 37
     1       perpetual inventory section, and it          1       Q. Okay. Can you describe how
     2       was just a tool for the pharmacist to        2   your responsibilities changed from this
     3       use to know what products were on            3   marketing responsibilities that you held for
     4       contract and perpetual inventory             4   around five years?
     5       keeping.                                     5       A. I know at one point we went
     6   QUESTIONS BY MR. GOTTO:                          6   back to trying an inside sales position, and
     7       Q. Okay. Did you have similar                7   to tell you the truth, I don't remember
     8   tools that you used with the pharmacies that     8   exactly who we tried to call on at that
     9   were Mallinckrodt direct customers?              9   point.
    10            MR. DAVISON: Objection.                10       Q. Okay. And you don't know when
    11            THE WITNESS: That's the same           11   that occurred?
    12       program we used with Kroger.                12       A. I don't recall.
    13   QUESTIONS BY MR. GOTTO:                         13       Q. Okay.
    14       Q. Okay. When you first joined              14       A. Honestly.
    15   the pharmaceutical division, how were you       15       Q. Well, can you recall what other
    16   compensated?                                    16   positions you've held at Mallinckrodt after
    17       A. Salary.                                  17   the initial --
    18       Q. And did you receive any -- were          18       A. Initial marketing position?
    19   you eligible for any bonus or supplemental      19       Q. Yeah.
    20   compensation?                                   20       A. Somewhere along there I moved
    21       A. I had a salary. I don't recall           21   to a regional account manager, and six months
    22   any additional compensation or options, et      22   after I was a regional, I became a national
    23   cetera.                                         23   account manager. And then I became a
    24       Q. Okay. Did you have any goals             24   director for the last four years, maybe. So
    25   that were expressed in terms of sales levels    25   it was all title changes.

   Golkow Litigation Services                                                   Page 10 (34 - 37)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further11Confidentiality
                                                         of 84. PageID #: 242404
                                                                             Review
                                              Page 38                                                Page 40
     1            (Mallinckrodt-New Exhibit 2             1   that your starting salary on an annualized
     2       marked for identification.)                  2   basis was           with a potential year-term
     3   QUESTIONS BY MR. GOTTO:                          3   increase to          .
     4       Q. Let me hand you what we've                4            Do you see that?
     5   marked as Exhibit 2, which is a two-page         5       A. Yes, sir.
     6   document beginning at Bates                      6       Q. Is that consistent with your
     7   MNK-T1_0008393345. It appears to be a            7   recollection as to your compensation levels?
     8   February 21, 2006 letter offering you a          8       A. Yes, sir.
     9   position as regional account manager.            9       Q. And then indicates variable
    10            Could you take a moment and            10   compensation, you'll be eligible to
    11   look through that document and tell me if you   11   participate in the generic sales incentive
    12   recognize it?                                   12   compensation program.
    13       A. Obviously I signed it, so...             13            Do you see that?
    14            I didn't recall it. It's kind          14       A. Yes, sir.
    15   of nice to see it.                              15       Q. And did you participate in that
    16       Q. Okay. Great.                             16   program?
    17            So it's dated February 21,             17       A. Yes, sir.
    18   2006, approximately consistent with your        18       Q. How did that program work?
    19   recollection of approximate time periods that   19            MR. DAVISON: Objection to
    20   you were in your various other positions at     20       form.
    21   Mallinckrodt.                                   21            THE WITNESS: This was under
    22            So is this -- does this refresh        22       Tyco Healthcare. So it was whatever
    23   your recollection as to when you became a       23       management provided at the time, but
    24   regional account manager?                       24       it changed consistently through time.
    25       A. Yes, sir.                                25

                                              Page 39                                                Page 41
     1       Q. Okay. And that is your                    1   QUESTIONS BY MR. GOTTO:
     2   signature on the offer accepted line?            2       Q. Okay. In general, was it a
     3       A. Yes, sir.                                 3   program that was based on sales levels?
     4       Q. And signed by Sabrina Hairston.           4             MR. DAVISON: Objection to
     5            Do you remember who Sabrina             5       form.
     6   Hairston was?                                    6             THE WITNESS: No, sir. That
     7       A. She was a recruiter in our                7       was one component, but there were
     8   human resources department.                      8       multiple components to each bonus
     9       Q. Okay. Do you recall the                   9       plan.
    10   circumstances under which you came to be a      10   QUESTIONS BY MR. GOTTO:
    11   regional account manager?                       11       Q. Okay. So this initial pro --
    12            MR. DAVISON: Objection to              12   the generic sales incentive compensation
    13       form.                                       13   program that's referred to in this letter, do
    14            THE WITNESS: I asked to move           14   you recall approximately how long you
    15       to the sales department.                    15   participated in that program?
    16   QUESTIONS BY MR. GOTTO:                         16       A. They were generally for fiscal
    17       Q. Okay. And what was the reason            17   year. So fiscal year ended September 30th,
    18   for that?                                       18   so it was probably for that time frame.
    19       A. I had been traveling with the            19       Q. Okay. And do you remember what
    20   national account managers and liked meeting     20   the components were, apart from sales
    21   customers and felt like I could do the job.     21   levels --
    22       Q. Okay. Did you view it as a               22       A. No, sir.
    23   career advancement?                             23       Q. Okay. Do you recall if you
    24       A. Absolutely.                              24   continued to participate in the generic sales
    25       Q. Okay. The letter indicates               25   incentive compensation program after fiscal
   Golkow Litigation Services                                                    Page 11 (38 - 41)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further12Confidentiality
                                                         of 84. PageID #: 242405
                                                                             Review
                                              Page 42                                              Page 44
     1   2006?                                           1   customers?
     2        A. Until what period?                      2            MR. DAVISON: Objection to
     3        Q. Well, why don't we just --              3       form.
     4   let's go at it this way.                        4            THE WITNESS: It varied by
     5            For how long were you a                5       management, company, et cetera.
     6   regional account manager?                       6   QUESTIONS BY MR. GOTTO:
     7        A. Six months.                             7       Q. Okay. So you became a national
     8        Q. Okay. And so you're a regional          8   account manager mid to late '06?
     9   account manager through summer of '06 or so?    9       A. Right.
    10        A. Yes, sir.                              10       Q. Some period after that,
    11        Q. Okay. And then you moved to            11   Mallinckrodt was spun off from Tyco, correct?
    12   being a national account manager?              12       A. That's correct.
    13        A. Yes, sir.                              13       Q. Okay. Did you continue to be a
    14        Q. Okay. What were the                    14   national account manager after that spin-off?
    15   circumstances under which you moved from       15       A. Yes, sir.
    16   regional to national?                          16       Q. And so that was the Covidien
    17            MR. DAVISON: Objection to             17   period after the spin-off, right?
    18        form.                                     18       A. Yes, sir.
    19            THE WITNESS: I met                    19       Q. Okay. And so during the
    20        expectations and was promoted.            20   Covidien period, did you receive a fixed
    21   QUESTIONS BY MR. GOTTO:                        21   salary and a variable -- with an eligibility
    22        Q. Okay. When you became a                22   for variable compensation?
    23   national account manager, did you -- you       23       A. Yes, sir.
    24   received a salary at that point?               24            MR. DAVISON: Objection to
    25        A. Yes, sir.                              25       form.
                                              Page 43                                              Page 45
     1       Q. And was it increased from what           1   QUESTIONS BY MR. GOTTO:
     2   it had been originally?                         2       Q. Okay. So during the Covidien
     3       A. I'm sure, yes, sir.                      3   period, tell me what you can recall about how
     4       Q. Do you recall approximately by           4   the variable compensation worked that you
     5   how much?                                       5   were eligible for.
     6       A. No, sir.                                 6       A. Every management change had
     7       Q. Okay. And was there a variable           7   different components, but it was always
     8   component to your compensation at that point    8   complex and multiple components.
     9   as well?                                        9       Q. Okay. So tell me what you can
    10            MR. DAVISON: Objection to             10   recall being among the components.
    11       form.                                      11            MR. DAVISON: Objection to
    12            THE WITNESS: I'm sure there           12       form.
    13       was.                                       13            THE WITNESS: It varied, again,
    14   QUESTIONS BY MR. GOTTO:                        14       depending on management.
    15       Q. Okay. Do you recall how it              15   QUESTIONS BY MR. GOTTO:
    16   worked?                                        16       Q. Okay. So initially when the
    17       A. No, sir.                                17   spin-off happened --
    18       Q. Was it based on sales levels?           18       A. Right.
    19            MR. DAVISON: Objection to             19       Q. -- and the Covidien period
    20       form.                                      20   began --
    21            THE WITNESS: Again, multiple          21       A. Right.
    22       components comprised the bonus plans.      22       Q. -- you were a national account
    23   QUESTIONS BY MR. GOTTO:                        23   manager from the beginning, correct?
    24       Q. Okay. Did the components                24       A. Yes, sir.
    25   include sales levels for any particular        25       Q. And to whom did you report at
   Golkow Litigation Services                                                  Page 12 (42 - 45)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further13Confidentiality
                                                         of 84. PageID #: 242406
                                                                             Review
                                              Page 46                                               Page 48
     1   that point?                                      1   generally what your duties were.
     2       A. I believe it was Mitchell                 2       A. Account management, basically.
     3   Goldberg; although to be honest, I don't         3       Q. And did you have specific
     4   recall. I had multiple management changes.       4   accounts assigned to you?
     5       Q. Okay. Tell me who you can                 5       A. Yes, sir.
     6   recall reporting to during the Covidien          6       Q. And tell me who you can recall
     7   period in your role as national account          7   being the principal accounts that were
     8   manager.                                         8   assigned to you during that period.
     9       A. I apologize. These business               9       A. Kroger became my account.
    10   names kind of run together.                     10   Thrifty White. Schnucks. HEB. SuperValu.
    11            John Adams potentially was             11   That's all that come to mind immediately.
    12   during that period. I believe -- I don't        12       Q. Okay.
    13   know who else was in the Covidien time frame.   13       A. Now, that changed periodically,
    14   I think John was, but I don't remember          14   so eventually I did have the Walmart account.
    15   anybody else.                                   15   At the end I had the Cardinal account.
    16       Q. Okay. And the Covidien time              16       Q. Do you remember approximately
    17   frame ran till 2013; is that your               17   when the Walmart account became yours?
    18   recollection?                                   18            MR. DAVISON: Objection to
    19       A. You're probably right.                   19       form.
    20       Q. Okay. And it was                         20            THE WITNESS: No.
    21   then Mallinckrodt became an independent         21   QUESTIONS BY MR. GOTTO:
    22   company, independent of Covidien, correct?      22       Q. How about the Cardinal account?
    23       A. Correct.                                 23       A. That was probably 2015. I'm --
    24       Q. Okay. Can you -- irrespective            24   I don't know.
    25   of whether it was during the Covidien period    25       Q. How were -- the accounts that
                                              Page 47                                               Page 49
     1   or the independent period, who else can you      1   you were responsible for, how were they
     2   recall reporting to in your role as national     2   assigned to you?
     3   account manager?                                 3       A. Management made those
     4        A. Kian Kazemi. Jane Williams.              4   decisions.
     5   I -- I'm blank.                                  5       Q. And do you recall approximately
     6        Q. Okay. And you indicated early            6   how many national account managers there were
     7   on there was a point in which you became a       7   from time to time?
     8   director, correct?                               8            MR. DAVISON: Objection to
     9        A. Correct.                                 9       form.
    10        Q. When was that?                          10            THE WITNESS: When I first
    11        A. It was under Kian, and it was           11       started, it was five, I believe.
    12   just basically a title change.                  12   QUESTIONS BY MR. GOTTO:
    13        Q. Okay. Any sense of the time             13       Q. And did that change over time?
    14   frame?                                          14       A. Yes.
    15        A. Perhaps four or five years ago.         15       Q. And how much did it change, if
    16   Four years. I honestly don't recall.            16   you recall?
    17        Q. Okay. Approximately 2015,               17            MR. DAVISON: Objection.
    18   something like that?                            18            THE WITNESS: It went down to
    19            MR. DAVISON: Objection.                19       four at some point, and then for just
    20            THE WITNESS: Yeah. I honestly          20       the national account managers handling
    21        don't recall.                              21       retail and wholesale, there were three
    22   QUESTIONS BY MR. GOTTO:                         22       of us. There was a government person,
    23        Q. Okay. During the time you were          23       too, but...
    24   national account manager, either Covidien or    24   QUESTIONS BY MR. GOTTO:
    25   post-Covidien period, describe for me           25       Q. Did you not handle government

   Golkow Litigation Services                                                   Page 13 (46 - 49)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further14Confidentiality
                                                         of 84. PageID #: 242407
                                                                             Review
                                              Page 50                                              Page 52
     1   accounts?                                        1   an account to change from one national
     2       A. No, sir.                                  2   account manager to another?
     3       Q. Okay. And in this setting,                3       A. Yes.
     4   retail and wholesale, would wholesale include    4       Q. And under what circumstances
     5   distributors?                                    5   would that happen?
     6       A. You could say yes.                        6           MR. DAVISON: Objection.
     7       Q. Okay.                                     7           THE WITNESS: Management
     8       A. It's confusing.                           8       decisions, variables in the market.
     9       Q. Confusing in what sense?                  9   QUESTIONS BY MR. GOTTO:
    10       A. Just -- the words can be                 10       Q. Do you recall occasions under
    11   interchanged.                                   11   which an account that had been yours was
    12       Q. Okay. I'm just getting at --             12   moved to another of the national account
    13   you said retail and wholesale. There wasn't     13   managers?
    14   someone else who had distributor                14       A. Yes. The Walmart account was
    15   responsibility, correct?                        15   moved from me to another salesperson when
    16       A. Oh, correct.                             16   Walmart began an agreement with McKesson.
    17       Q. Okay.                                    17       Q. Okay. And were you given an
    18       A. Correct.                                 18   explanation for the reason for that move?
    19       Q. And retail in the setting of             19       A. That particular rep had the
    20   the national account manager                    20   McKesson account, so it made sense due to
    21   responsibilities, would that be for chain       21   that new relationship.
    22   drugstores?                                     22       Q. Okay. Other recollections of
    23       A. Primarily, yes, sir.                     23   accounts being moved from you to other of the
    24       Q. Were there individual                    24   national account managers?
    25   drugstores that you had responsibilities for?   25       A. Yes. We had a new rep, and so
                                              Page 51                                              Page 53
     1            MR. DAVISON: Objection to               1   I turned over some of my accounts to her
     2       form.                                        2   because when we lost a rep, I got additional
     3            THE WITNESS: Let me restate             3   accounts. So we got her and then we
     4       that.                                        4   transferred, you know, certain accounts to
     5   QUESTIONS BY MR. GOTTO:                          5   her.
     6       Q. Sure.                                     6       Q. Okay. How about were there
     7       A. Would have included chain                 7   occasions when an account was moved to you
     8   drugstores but also retail chains that had       8   from another national account manager that
     9   drugstores.                                      9   you can recall?
    10       Q. Such as a Kroger or Walmart or           10       A. Yes. In the case of Walmart
    11   something like that?                            11   going to the girl who handled McKesson, then
    12       A. Right. Right.                            12   I took over the Cardinal, CVS account.
    13       Q. Okay. But it didn't include              13       Q. Other occasions where that
    14   individual, freestanding, single-location       14   happened?
    15   pharmacies, correct?                            15       A. Those were the most recent that
    16       A. No, sir.                                 16   I recall.
    17       Q. Did you have an understanding            17       Q. Okay. When you were a national
    18   from time to time as to why particular          18   account manager, did you have personnel who
    19   accounts that were assigned to you had been     19   reported to you?
    20   assigned to you as compared to one of the       20       A. No.
    21   other national account managers?                21       Q. Were there regional account
    22            MR. DAVISON: Objection.                22   managers at that time when you were a
    23            THE WITNESS: Not necessarily.          23   national account manager?
    24   QUESTIONS BY MR. GOTTO:                         24       A. When I was a national account
    25       Q. Okay. Well, was it common for            25   manager, Lisa Cardetti was hired as a

   Golkow Litigation Services                                                   Page 14 (50 - 53)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further15Confidentiality
                                                         of 84. PageID #: 242408
                                                                             Review
                                               Page 54                                              Page 56
     1   regional account manager --                      1   QUESTIONS BY MR. GOTTO:
     2       Q. Okay.                                     2       Q. And I should have asked you
     3       A. -- and grew from there.                   3   this earlier: Do you hold any professional
     4       Q. Okay. And -- but I take it                4   licenses or certifications?
     5   Ms. Cardetti did not report to you?              5       A. No, sir.
     6       A. No, sir.                                  6       Q. So it sounds like Kroger was
     7       Q. Do you know if she reported to            7   one of your main accounts for quite a period
     8   one of the other national account managers?      8   of time, correct?
     9       A. No. We all reported to a VP of            9       A. Yes.
    10   sales.                                          10       Q. So could you describe for me
    11       Q. So as you understood it, what            11   generally -- and let's use Kroger as an
    12   was the distinction between regional account    12   example to try to trigger as many memory
    13   manager, national account manager?              13   neurons as we can here.
    14       A. Regional account manager                 14       A. I understand.
    15   managed smaller accounts, and as your           15       Q. The -- this -- day to day what
    16   expertise increased, you were given the         16   was your -- what was your interaction with
    17   larger accounts to manage.                      17   Kroger in your capacity as a national account
    18       Q. Okay. During the time you were           18   manager?
    19   national account manager, did you interact      19            MR. DAVISON: Objection to
    20   with the other national account managers?       20       form.
    21       A. Yes, sir.                                21            THE WITNESS: Managing customer
    22       Q. What was the nature of that              22        expectations, primarily,
    23   interaction?                                    23       troubleshooting any delivery problems,
    24            MR. DAVISON: Objection.                24       quality questions, anything to do with
    25            THE WITNESS: Meetings, sales           25       Mallinckrodt's business and our
                                               Page 55                                              Page 57
     1       meetings, national conferences, NACDS,       1        products.
     2       ECRM, we would all be together for           2   QUESTIONS BY MR. GOTTO:
     3       those meetings.                              3        Q. So managing customer
     4   QUESTIONS BY MR. GOTTO:                          4   expectations, what does that entail?
     5       Q. We talked a little earlier                5        A. Being responsive and accurate
     6   today about some of the training sessions        6   in your response to them. If I didn't know
     7   that you participated in with respect to the     7   the answer, I had to find the answer for
     8   Controlled Substances Act and DEA regulation.    8   them.
     9            Did you continue to participate         9        Q. Did you have any principal
    10   in such training sessions after you became a    10   points of contact with the Kroger
    11   national account manager?                       11   organization?
    12       A. Yes, sir, they were required.            12        A. My primary contact was the
    13       Q. Okay. And again, during this             13   buyer for Kroger. He was -- I think his
    14   time that you were national account manager,    14   title was merchandiser coordinator. I'm not
    15   did you -- were the sessions that you           15   sure.
    16   participated in in-house Mallinckrodt           16        Q. Okay. And relative to the
    17   sessions?                                       17   Kroger business, who were Mallinckrodt's
    18       A. To the best of my knowledge.             18   competitors?
    19       Q. Okay. Do you recall ever                 19            MR. DAVISON: Objection to
    20   attending any conference or DEA or Controlled   20        form.
    21   Substances Act seminar or educational program   21            THE WITNESS: Every retail
    22   of any type conducted by a third party?         22        chain and every drugstore chain out
    23            MR. DAVISON: Objection.                23        there.
    24            THE WITNESS: I do not recall.          24   QUESTIONS BY MR. GOTTO:
    25                                                   25        Q. Maybe I misspoke.
   Golkow Litigation Services                                                   Page 15 (54 - 57)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further16Confidentiality
                                                         of 84. PageID #: 242409
                                                                             Review
                                              Page 58                                              Page 60
     1            Mallinckrodt's competitors to          1       Q. Relative to Mallinckrodt's
     2   get Kroger's business.                          2   other customers, the accounts you didn't have
     3       A. Oh.                                      3   responsibility for, did you have an
     4       Q. Who were you competing with as           4   understanding, for example, when you had
     5   a Mallinckrodt national account manager in      5   Walmart responsibility where Walmart ranked
     6   trying to get Kroger business?                  6   as far as a Mallinckrodt customer for
     7            MR. DAVISON: Objection.                7   generics?
     8            THE WITNESS: Thank you.                8            MR. DAVISON: Objection to
     9            I mean, every pharmaceutical           9       form.
    10       company that was manufacturing             10            THE WITNESS: They were a
    11       products that were like ours.              11       primary customer.
    12   QUESTIONS BY MR. GOTTO:                        12   QUESTIONS BY MR. GOTTO:
    13       Q. And who were the principal              13       Q. And by primary, do you mean the
    14   other manufacturers who were manufacturing     14   largest?
    15   competitive product?                           15            MR. DAVISON: Objection.
    16            MR. DAVISON: Objection.               16            THE WITNESS: I can't answer
    17            THE WITNESS: I can remember           17       that. I knew about my accounts at the
    18       some of the old names.                     18       time, but I don't recall who ranked
    19   QUESTIONS BY MR. GOTTO:                        19       where.
    20       Q. Okay.                                   20   QUESTIONS BY MR. GOTTO:
    21       A. Endo and Watson. Gosh, Endo,            21       Q. Okay. You didn't have an
    22   Watson, those are the two that come to mind.   22   understanding of what the top five overall
    23   Qualtest at the time. That's it.               23   Mallinckrodt generic customers were?
    24       Q. Okay. In terms of annual                24       A. I'm sure I did at one point.
    25   dollar volume with the accounts that you       25       Q. Okay.
                                              Page 59                                              Page 61
     1   managed, what was the largest account?          1       A. I don't recall it.
     2            MR. DAVISON: Objection.                2       Q. Okay. But fair to say that
     3   QUESTIONS BY MR. GOTTO:                         3   Walmart was one of the most significant --
     4       Q. I don't need the dollar amount.          4       A. Yes.
     5   I'm just ranking --                             5            MR. DAVISON: Objection.
     6       A. Right.                                   6   QUESTIONS BY MR. GOTTO:
     7       Q. -- what was the largest --               7       Q. -- generic customers?
     8       A. The largest account that I               8            MR. DAVISON: Let him finish
     9   managed for any length of time was Walmart.     9       the question.
    10       Q. Okay. How about after Walmart?          10            THE WITNESS: Okay.
    11       A. Kroger and Walmart were pretty          11   QUESTIONS BY MR. GOTTO:
    12   close to each other. At the end, I had the     12       Q. One of the most significant
    13   Cardinal account but lost the Walmart          13   generic customers.
    14   account, so it just varied --                  14            MR. GOTTO: Thank you.
    15       Q. Okay.                                   15            MR. DAVISON: Objection.
    16       A. -- depending on the day and             16            THE WITNESS: Yes.
    17   year.                                          17   QUESTIONS BY MR. GOTTO:
    18       Q. Okay. And in terms of the               18       Q. Okay. And also Kroger, were
    19   products that your accounts were purchasing    19   they one of the most significant generic
    20   from Mallinckrodt, were they all generics?     20   customers of Mallinckrodt?
    21       A. Yes.                                    21            MR. DAVISON: Same objection.
    22       Q. Okay. So you never had                  22            THE WITNESS: In my mind they
    23   responsibility for sales of any branded        23       were.
    24   product; is that correct?                      24   QUESTIONS BY MR. GOTTO:
    25       A. No, sir.                                25       Q. Okay. So you described
   Golkow Litigation Services                                                  Page 16 (58 - 61)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further17Confidentiality
                                                         of 84. PageID #: 242410
                                                                             Review
                                               Page 62                                              Page 64
     1   generally kind of your day-to-day interaction    1   headquarters?
     2   with Kroger.                                     2       A. Kroger is divided into
     3            Would you have had similar              3   divisions, and the divisions would have
     4   day-to-day interaction with your other           4   annual pharmacy meetings depending on the
     5   principal accounts that you had                  5   division. And I, in the beginning, attended
     6   responsibility for?                              6   those meetings.
     7       A. Yes, sir.                                 7       Q. Okay. How about your other
     8       Q. Did your -- did your job                  8   accounts?
     9   involve traveling to visit customers from        9            Obviously if you're spending 50
    10   time to time?                                   10   to 75 percent of your time traveling, I take
    11       A. Yes, sir.                                11   it you were visiting other accounts fairly
    12       Q. About how much traveling did             12   regularly?
    13   you do as a national account manager for that   13       A. Correct. Right.
    14   purpose?                                        14       Q. Did you have a sequence or a
    15       A. I would say between 50 and               15   frequency that you tried to visit the various
    16   75 percent of my time was spent traveling,      16   accounts?
    17   depending on the season and the year.           17            MR. DAVISON: Objection.
    18       Q. Okay. And so, for example,               18            THE WITNESS: It depended on
    19   say, Kroger, which I understand was one of      19       the actual account and the needs of
    20   your principal accounts, about how many times   20       the customer.
    21   a year would you visit them?                    21   QUESTIONS BY MR. GOTTO:
    22       A. At their headquarter level?              22       Q. Okay. Would you typically
    23       Q. Well, anytime you were                   23   visit each of your principal accounts at
    24   traveling to visit Kroger, whether it was       24   least annually?
    25   headquarters or somewhere else.                 25       A. Generally, yes.
                                               Page 63                                              Page 65
     1       A. I would try to visit them on a            1       Q. Okay. And where can you recall
     2   quarterly basis in the beginning, but then       2   them being located where you went to visit
     3   their business model changed and that got cut    3   them?
     4   back significantly, and I would see them at      4            MR. DAVISON: Objection.
     5   ECRM or NACDS, and maybe once a year at their    5            THE WITNESS: Fargo, North
     6   headquarters.                                    6       Dakota.
     7       Q. What is ECRM?                             7   QUESTIONS BY MR. GOTTO:
     8       A. I can't remember what it stands           8       Q. And who was that?
     9   for, but it's a business conference for the      9       A. Thrifty White. They also were
    10   industry.                                       10   based in Minnesota, so between the two.
    11       Q. Okay. And NACDS?                         11            Schnucks Markets here in
    12       A. Same thing.                              12   St. Louis. Giant Eagle in Pennsylvania. HEB
    13       Q. Okay.                                    13   in Texas. SuperValu in Arizona at the time.
    14       A. And that's national chain drug           14   Those are the ones that stand out.
    15   symposium or something.                         15       Q. And did you visit Walmart from
    16       Q. Okay. So there came a time               16   time to time?
    17   when your kind of face-to-face contact with     17       A. Yes, sir.
    18   Kroger was principally at those -- at those     18       Q. In Bentonville?
    19   conferences?                                    19       A. Yes, sir.
    20            MR. DAVISON: Objection.                20       Q. Did you visit Cardinal after
    21            THE WITNESS: With the Kroger           21   you had that account?
    22       headquarters, yes.                          22       A. Yes.
    23   QUESTIONS BY MR. GOTTO:                         23       Q. And where were they located?
    24       Q. Okay. So did you visit                   24       A. In Ohio, in Dublin.
    25   Kroger -- other Kroger facilities other than    25       Q. Okay. Did you have to get
   Golkow Litigation Services                                                   Page 17 (62 - 65)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further18Confidentiality
                                                         of 84. PageID #: 242411
                                                                             Review
                                               Page 66                                             Page 68
     1   prior approval for expenses for travel to        1       A. Objectives. Thank you, sir.
     2   visit accounts?                                  2       Q. What can you recall some of
     3       A. We had a budget, and we had               3   those goals and objectives being?
     4   guidelines on expenses.                          4            MR. DAVISON: Objection to
     5       Q. Okay. How did the guidelines              5       form.
     6   work?                                            6            THE WITNESS: It varied with
     7       A. I don't remember the numbers,             7       management and companies.
     8   but basically we had a meal budget,              8   QUESTIONS BY MR. GOTTO:
     9   breakfast, lunch and dinner, and we worked       9       Q. Okay. Well, understanding it
    10   through different programs to schedule our      10   varied, do you recall what any of them were
    11   flights and rental cars, and there were         11   from time to time?
    12   guidelines to follow.                           12       A. No, sir.
    13       Q. Okay. So as long as you kept             13            MR. DAVISON: Objection.
    14   within a -- well, strike that.                  14   QUESTIONS BY MR. GOTTO:
    15            Was it an annual budget that           15       Q. Were any of them specific to
    16   you had?                                        16   particular accounts?
    17       A. Yes.                                     17            MR. DAVISON: Objection.
    18       Q. Okay.                                    18            THE WITNESS: Possibly, yes.
    19       A. Somewhat.                                19   QUESTIONS BY MR. GOTTO:
    20       Q. Okay. So as long as you kept             20       Q. Okay. So what accounts can you
    21   within the budget, did you have discretion to   21   recall any specific objectives being
    22   decide how many trips to make and where to      22   associated with?
    23   go?                                             23            MR. DAVISON: Objection.
    24       A. Yes, sir.                                24            THE WITNESS: Probably my
    25            MR. GOTTO: Okay. All right.            25       primary accounts.
                                               Page 67                                             Page 69
     1       Why don't we take a short break.             1   QUESTIONS BY MR. GOTTO:
     2            VIDEOGRAPHER: We are going off          2       Q. Okay. And what would be the
     3       the record at 10:15 a.m.                     3   nature of the objectives as to a specific
     4       (Off the record at 10:15 a.m.)               4   account that you would be evaluated on?
     5            VIDEOGRAPHER: We are back on            5       A. They varied by management.
     6       the record at 10:37 a.m.                     6       Q. Okay.
     7   QUESTIONS BY MR. GOTTO:                          7       A. And their goals and objectives.
     8       Q. Ms. New, during the time that             8       Q. Would it be related -- would
     9   you were a national account manager, did you     9   one of things that it would be related to
    10   receive periodic performance reviews?           10   sales levels?
    11       A. Yes, sir.                                11            MR. DAVISON: Objection.
    12       Q. How often were you reviewed?             12            THE WITNESS: Potentially.
    13       A. Annually.                                13   QUESTIONS BY MR. GOTTO:
    14       Q. Okay. And by whom were you               14       Q. Okay. And apart from sales
    15   reviewed?                                       15   levels, what other sorts of objectives can
    16       A. Whomever I reported to at the            16   you recall there being with respect to any
    17   time.                                           17   particular account?
    18       Q. Okay. Did you receive a                  18            MR. DAVISON: Objection.
    19   written performance evaluation?                 19            THE WITNESS: I don't recall.
    20       A. As I recall, yes.                        20   QUESTIONS BY MR. GOTTO:
    21       Q. Okay. Were there particular              21       Q. When you became a director, did
    22   metrics on which you were reviewed?             22   you have anyone who reported to you?
    23       A. Various goals and objection --           23       A. No, sir.
    24   objections.                                     24       Q. And to whom did you report
    25       Q. Objectives?                              25   after you became a director?
   Golkow Litigation Services                                                   Page 18 (66 - 69)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further19Confidentiality
                                                         of 84. PageID #: 242412
                                                                             Review
                                               Page 70                                             Page 72
     1        A. I remember Kian and Jane. I              1       A. No, sir.
     2   don't know if there was anybody else. Well,      2       Q. Can you recall approximate
     3   Jake at the end, Jake Longenecker.               3   levels of your fixed salary during the time
     4        Q. Now, I know you said earlier             4   you were national account manager?
     5   you become a director; there was a change in     5            MR. DAVISON: Objection to
     6   title.                                           6       form.
     7            Were there any changes in your          7            THE WITNESS: Can you restate
     8   job responsibilities when you became a           8       it?
     9   director?                                        9   QUESTIONS BY MR. GOTTO:
    10        A. No.                                     10       Q. Yeah. Just what the
    11        Q. During the time you were a              11   approximate levels were of your salary,
    12   national account manager or a director, can     12   putting the variable compensation aside for
    13   you recall any occasions in which you           13   now, during the time you were a national
    14   received what you understood to be a negative   14   account manager.
    15   performance evaluation?                         15            MR. DAVISON: Objection to
    16            MR. DAVISON: Objection to              16       form.
    17        form.                                      17            THE WITNESS: Again, it varied.
    18            THE WITNESS: No.                       18   QUESTIONS BY MR. GOTTO:
    19   QUESTIONS BY MR. GOTTO:                         19       Q. Can you give me a sense of the
    20        Q. Did your periodic performance           20   range that it varied within?
    21   evaluations entail any formal formula or        21       A. No. No.
    22   scoring or any arithmetic type of evaluation?   22       Q. Okay. Was there ever a time,
    23            MR. DAVISON: Objection.                23   any year, where you can recall your variable
    24            THE WITNESS: Various systems           24   compensation exceeding your fixed salary?
    25        were used during the time frame, and       25       A. No, sir.
                                               Page 71                                             Page 73
     1       they may or may not have included            1       Q. Was there ever a time that you
     2       metrics.                                     2   can recall your variable compensation
     3   QUESTIONS BY MR. GOTTO:                          3   exceeding 50 percent of your fixed salary?
     4       Q. Okay. You don't recall any?               4       A. Yes.
     5       A. No.                                       5       Q. Okay. Was there a time you can
     6       Q. Okay. Now, during the time you            6   recall your variable compensation exceeding
     7   were a national account manager, I think you     7   75 percent of your fixed salary?
     8   testified that your -- part of your              8       A. No, sir.
     9   compensation was variable compensation,          9       Q. Okay. You were a national
    10   correct?                                        10   account manager for, what, approximately
    11       A. Correct.                                 11   12 years or so?
    12       Q. And can you recall -- and tell           12       A. Yeah, if you count the regional
    13   me if this varied from time to time --          13   to director, that time frame, yes.
    14   approximately what percentage of your overall   14       Q. Okay.
    15   compensation annually was variable?             15       A. About 12 years.
    16            MR. DAVISON: Objection to              16       Q. And so in that approximate
    17       form.                                       17   12-year period -- and I understand -- if you
    18            THE WITNESS: Again, it varied          18   can just give me an estimate, how many of
    19       from year to year.                          19   those years would you say your variable
    20   QUESTIONS BY MR. GOTTO:                         20   compensation exceeded 50 percent of your
    21       Q. Okay. So --                              21   fixed salary?
    22       A. I can't tell you.                        22            MR. DAVISON: Objection to
    23       Q. So can you recall the greatest           23       form.
    24   percentage, approximately, that your variable   24            THE WITNESS: I can't answer
    25   compensation consisted of?                      25       that.
   Golkow Litigation Services                                                   Page 19 (70 - 73)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further20Confidentiality
                                                         of 84. PageID #: 242413
                                                                             Review
                                               Page 74                                             Page 76
     1   QUESTIONS BY MR. GOTTO:                          1       Q. Was it the person you directly
     2       Q. Did it happen more than once?             2   reported to or someone else; did you know?
     3            MR. DAVISON: Objection.                 3       A. I believe it was a combination
     4            THE WITNESS: I would say yes.           4   of several positions.
     5   QUESTIONS BY MR. GOTTO:                          5       Q. Okay. Did you receive any
     6       Q. Okay. But you don't know how              6   explanation as to why it was that you were
     7   many times more than once?                       7   determined to be qualified for the
     8       A. No.                                       8   President's Club for those years?
     9       Q. Okay. Was there ever a year in            9       A. No, sir.
    10   which you did not receive any variable          10       Q. And the President's Club
    11   compensation?                                   11   distinction, what did that entail?
    12       A. No.                                      12            MR. DAVISON: Objection.
    13       Q. Understanding that you don't             13            THE WITNESS: It included a
    14   recall exactly how many times you received      14       trip as a group and meals, et
    15   variable compensation that was more than        15       cetera --
    16   50 percent of your fixed salary, were there     16   QUESTIONS BY MR. GOTTO:
    17   more years that you received variable           17       Q. Okay.
    18   compensation that exceeded 50 percent of your   18       A. -- hotel.
    19   fixed salary than there were years in which     19       Q. So there were a group of people
    20   you received variable compensation that was     20   who were designated as the President's Club
    21   less than 50 percent of your fixed salary?      21   for a given year?
    22            MR. DAVISON: Objection to              22       A. Right.
    23       form.                                       23       Q. And there was a trip.
    24            THE WITNESS: I can't answer            24            Do you recall what trips that
    25       that.                                       25   you took for those three years?
                                               Page 75                                             Page 77
     1   QUESTIONS BY MR. GOTTO:                          1       A. Yes, sir.
     2       Q. Okay. During your time as a               2       Q. Where'd you go?
     3   regional or national account manager or a        3       A. Mexico, Maui and St. Thomas.
     4   director, did you receive any commendations      4       Q. And about how many people were
     5   or awards from Mallinckrodt?                     5   President's Club qualified those years?
     6       A. I did.                                    6       A. It varied per year.
     7       Q. What did you receive?                     7       Q. Can you give me an
     8       A. I was President's Club for                8   approximation of --
     9   2012, 2013 and 2015.                             9       A. I honestly don't know the
    10       Q. And what is -- what qualified            10   number.
    11   you to be in the President's Club?              11       Q. Was it more than a dozen?
    12            MR. DAVISON: Objection to              12       A. Yes, sir.
    13       form.                                       13       Q. Okay. Was it more than 30?
    14            THE WITNESS: Meeting goals and         14       A. Each year varied.
    15       objectives.                                 15       Q. But I take it each year it was
    16   QUESTIONS BY MR. GOTTO:                         16   more than a dozen?
    17       Q. And were there any particular            17       A. I would say yes.
    18   goals and objectives you can recall that --     18       Q. Okay. And sometimes more than
    19   the meeting of which qualified you for          19   30 and sometimes less than 30?
    20   President's Club?                               20       A. Yes.
    21       A. Overall just doing a good job.           21       Q. Okay. Who else can you recall
    22       Q. And who made the determination           22   being in the President's Club in any of the
    23   that you qualified for the President's Club     23   three years that you qualified for it?
    24   for those years?                                24       A. Lisa Cardetti. There were
    25       A. Upper management.                        25   multiple -- do you just want to know the
   Golkow Litigation Services                                                   Page 20 (74 - 77)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further21Confidentiality
                                                         of 84. PageID #: 242414
                                                                             Review
                                             Page 78                                              Page 80
     1   salespeople that went?                         1   person.
     2       Q. Yeah, let's start with the              2            Is that right? Strike that.
     3   salespeople, sure.                             3            I don't recall.
     4       A. I remember Lisa Cardetti. I             4       Q. Okay. Were all the director of
     5   believe Steve Becker. That's all I recall.     5   national accounts' positions eliminated, to
     6       Q. Okay. How about anyone outside          6   your knowledge?
     7   of sales that you can recall?                  7       A. No.
     8       A. Occasionally marketing folks            8       Q. Okay. Do you remember the
     9   would go.                                      9   names of any of the other directors of
    10       Q. Do you remember any                    10   national accounts during this 90-day period
    11   individuals?                                  11   leading up to your termination?
    12       A. No.                                    12       A. Elva Ramsaran. And Trudy
    13       Q. Apart from President's Club,           13   Nickelson, her job was also eliminated. And
    14   any other commendations or awards you         14   I believe her title was director, too, but
    15   received at Mallinckrodt?                     15   she was government.
    16       A. Not that I recall.                     16       Q. Okay. When you became director
    17       Q. I think you testified you were         17   of national accounts, were there still
    18   terminated on -- last June 1st; is that       18   national account managers or did -- or was it
    19   correct?                                      19   a change in title for all of them?
    20       A. Correct.                               20            MR. DAVISON: Objection.
    21       Q. And what were the circumstances        21            THE WITNESS: It was across the
    22   of that termination?                          22       board.
    23            MR. DAVISON: Objection to            23   QUESTIONS BY MR. GOTTO:
    24       form.                                     24       Q. Okay. Now, during the time you
    25            THE WITNESS: They decided that       25   were either regional account manager,
                                             Page 79                                              Page 81
     1       I was done.                                1   national account manager or director, you
     2   QUESTIONS BY MR. GOTTO:                        2   described for me earlier some of the products
     3       Q. Okay. How were you informed of          3   that Mallinckrodt sold to various of your
     4   that?                                          4   accounts.
     5       A. I was told on March 1st that I          5            Did those -- did the products
     6   had 90 days and that my last day would be      6   that Mallinckrodt sold to your -- the
     7   June 1st.                                      7   accounts you had responsibility for include
     8       Q. Okay. Did you receive a                 8   noncontrolled substances?
     9   severance package?                             9       A. Yes.
    10       A. Yes, sir.                              10       Q. And what would be some examples
    11       Q. And what did that consist of?          11   of those?
    12       A. 12 months' severance.                  12       A. Benzonatate. I can't remember
    13       Q. And did you have an                    13   the names of all the products. We had a
    14   understanding as to whether someone else      14   significant line of products at that time.
    15   would replace you in your position?           15       Q. Okay. And did your
    16       A. I did not.                             16   responsibilities, either as regional or
    17       Q. Did you have an understanding          17   national account manager or director, require
    18   as to whether the position was being          18   you to develop familiarity with the various
    19   eliminated?                                   19   products that Mallinckrodt was selling to
    20       A. That's what I was told.                20   your accounts?
    21       Q. And what was that position?            21       A. Yes.
    22       A. Director of national accounts.         22       Q. And how did you go about
    23       Q. And how many directors of              23   developing that familiarity?
    24   national accounts were there at that time?    24       A. We would get background on the
    25       A. Three and then a government            25   product as far as who the innovator was and
   Golkow Litigation Services                                                 Page 21 (78 - 81)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further22Confidentiality
                                                         of 84. PageID #: 242415
                                                                             Review
                                              Page 82                                               Page 84
     1   various specifications about the product         1   try to target that business, I would talk to
     2   through a binder.                                2   upper management, the sales team. It had to
     3       Q. Okay. And do you know who                 3   be approved by the API team, active
     4   would provide those binders to you?              4   pharmaceutical ingredients. There was a huge
     5       A. The product manager.                      5   approval process to sell any opioids,
     6       Q. With respect to the -- the                6   especially because of the DEA regulations.
     7   controlled substances that Mallinckrodt sold     7        Q. And who in upper management
     8   to the customers you had a responsibility        8   would you interact with to seek that kind of
     9   for, from whom can you recall receiving          9   approval?
    10   information about those products that you       10        A. It could go all the way up to
    11   needed to do your job?                          11   the top, depending on the amount and the
    12            MR. DAVISON: Objection to              12   customer.
    13       form.                                       13        Q. Do you recall instances where
    14            THE WITNESS: Various product           14   you targeted a customer that -- where in fact
    15       managers that managed the specific          15   the decision went all the way up to the top?
    16       product line at the time.                   16        A. Not specifically, no.
    17   QUESTIONS BY MR. GOTTO:                         17        Q. Okay. Can you recall any
    18       Q. Okay. Do you remember the                18   particular instances in which you targeted a
    19   names of any of those folks?                    19   customer where you were unable to get
    20       A. Product managers were Lisa               20   approval from upper management that you were
    21   Cardetti at one point, Sylvia Elmore,           21   seeking?
    22   Jennifer Bullerdick, Jake Longenecker. Those    22        A. Yes.
    23   are the ones I recall.                          23        Q. When can you recall that
    24       Q. Okay. Were there any policies            24   happening?
    25   or procedures at Mallinckrodt that you          25        A. I can't recall specifics, but
                                              Page 83                                               Page 85
     1   followed that pertained particularly to the      1   if there was a product that was at risk that
     2   sale of controlled substances to Mallinckrodt    2   we would not be able to supply, the answer
     3   customers?                                       3   was no.
     4            MR. DAVISON: Objection to               4        Q. Okay. Any other circumstances
     5       form.                                        5   other than concerns about ability to meet
     6            THE WITNESS: We could not make          6   their customers' demands that you can recall
     7       a decision to sell a product unless we       7   causing approval to be withheld?
     8       had approval due to the strict DEA           8        A. No, sir.
     9       quota grants and the manufacturing of        9        Q. How frequent was it -- and I
    10       the opioids.                                10   understand, you know, you may only be able to
    11            So it was a team effort when we        11   answer this question by giving me a range,
    12       chose a customer to target.                 12   but how frequent was it, approximately, over
    13   QUESTIONS BY MR. GOTTO:                         13   the years for you to obtain approval for new
    14       Q. Okay. So -- and who did you              14   business of the type you're describing?
    15   have to get approval from?                      15            MR. DAVISON: Objection to
    16       A. Upper management, the SOMS               16        form.
    17   team. There were a lot of decisions made        17            THE WITNESS: Can you ask that
    18   before we actually could sell a product to a    18        again?
    19   particular account.                             19   QUESTIONS BY MR. GOTTO:
    20       Q. Okay. And so you said it was a           20        Q. Sure.
    21   team effort to choose a customer to target.     21            I understand to get new
    22            Tell me how that process would         22   business, you just described a fairly
    23   unfold.                                         23   elaborate process that you had to go
    24       A. It would -- if I had a customer          24   through --
    25   that had a competitor product and I wanted to   25        A. Right.

   Golkow Litigation Services                                                   Page 22 (82 - 85)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further23Confidentiality
                                                         of 84. PageID #: 242416
                                                                             Review
                                               Page 86                                             Page 88
     1        Q. -- and sometimes you didn't get          1   business because we had a supply situation
     2   the approvals.                                   2   and couldn't supply them, that was always a
     3            Now focusing on when, in fact,          3   frightening experience.
     4   you got approval for a new business that you     4       Q. Okay. Apart from the inability
     5   were seeking, about how often did that           5   to meet supply, were there other examples
     6   happen?                                          6   that you can think of of losing existing
     7            MR. DAVISON: Objection.                 7   business?
     8            THE WITNESS: I have no --               8       A. Contract changes. I mean, it
     9        nothing to gauge that on. I can't say       9   was similar situation. They'd put their
    10        specifically any percentage.               10   products out to bid, and we didn't always
    11   QUESTIONS BY MR. GOTTO:                         11   win.
    12        Q. Well, in a typical year, would          12       Q. Somebody might just undercut
    13   it happen once? Twice?                          13   you on price?
    14        A. I can't answer that.                    14       A. Right. Right.
    15        Q. Was it -- would it be uncommon          15       Q. Okay. Apart from challenges of
    16   for a year to go by where it didn't happen at   16   meeting supply and being undercut on price by
    17   all?                                            17   other competitors, were there other
    18        A. Potentially, yes.                       18   circumstances you can recall that you
    19        Q. It could happen --                      19   understood led to customers you had
    20        A. Yes.                                    20   responsibility for cutting back existing
    21        Q. -- a year would go by?                  21   business for Mallinckrodt?
    22        A. Yes.                                    22           MR. DAVISON: Objection to
    23        Q. Okay. Was successfully                  23       form.
    24   targeting and obtaining approval for new        24           THE WITNESS: I don't recall.
    25   business one of the metrics you were            25

                                               Page 87                                             Page 89
     1   evaluated on?                                    1   QUESTIONS BY MR. GOTTO:
     2            MR. DAVISON: Objection.                 2       Q. Okay. Was the loss of existing
     3            THE WITNESS: The metrics that           3   business among your accounts one of the
     4       we were evaluated on were very               4   circumstances that was taken into account in
     5       complex, and there were multiple             5   your periodic reviews?
     6       variables. So no one specific thing,         6           MR. DAVISON: Objection.
     7       but a multiple.                              7           THE WITNESS: Not sure.
     8   QUESTIONS BY MR. GOTTO:                          8   QUESTIONS BY MR. GOTTO:
     9       Q. I understand there are many --            9       Q. In performing your duties at
    10       A. Yeah.                                    10   Mallinckrodt, did you do your best to follow
    11       Q. -- many pieces --                        11   Mallinckrodt's rules and regulations?
    12       A. Right.                                   12       A. Absolutely.
    13       Q. -- to that puzzle.                       13       Q. And do your best to do your job
    14            Was one of the pieces the              14   in a way that you understood Mallinckrodt to
    15   targeting and -- successful targeting a new     15   be expecting you to do it?
    16   business?                                       16       A. Yes, sir.
    17       A. Yes.                                     17       Q. And was there ever a time in
    18       Q. Okay. Were there times when --           18   any of your periodic reviews when any issue
    19   for any of the accounts you had                 19   was raised with you regarding your following
    20   responsibility for when you experienced a       20   any Mallinckrodt procedures or rules?
    21   loss of existing business?                      21       A. Not that I recall.
    22       A. Yes.                                     22       Q. And would you characterize
    23       Q. And can you recall some                  23   yourself as a detail-oriented person?
    24   examples of that?                               24       A. To a degree.
    25       A. When a competitor took our               25       Q. Okay. You listed for me a
   Golkow Litigation Services                                                   Page 23 (86 - 89)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further24Confidentiality
                                                         of 84. PageID #: 242417
                                                                             Review
                                               Page 90                                              Page 92
     1   number of accounts that you had                  1   with Kroger, to your knowledge?
     2   responsibility for over time. At any given       2            MR. DAVISON: Objection.
     3   time, approximately how many accounts did you    3            THE WITNESS: Yes, sir.
     4   have responsibility for?                         4   QUESTIONS BY MR. GOTTO:
     5       A. 20.                                       5       Q. Okay. And the same for
     6       Q. Okay.                                     6   Walmart?
     7       A. 25.                                       7            MR. DAVISON: Objection.
     8       Q. Okay. And did you take steps              8            THE WITNESS: Yes, sir.
     9   to become familiar with the business of the      9   QUESTIONS BY MR. GOTTO:
    10   20 or 25 accounts that you had at any given     10       Q. Okay. Did you have accounts
    11   time?                                           11   from time to time who resold product to
    12           MR. DAVISON: Objection to               12   unaffiliated retailers?
    13       form.                                       13            MR. DAVISON: Objection.
    14           THE WITNESS: Yes.                       14            THE WITNESS: I can't answer
    15   QUESTIONS BY MR. GOTTO:                         15       that.
    16       Q. What did you do in that regard?          16   QUESTIONS BY MR. GOTTO:
    17       A. Met with my primary contact to           17       Q. You don't know?
    18   determine their goals and objectives and how    18       A. I don't know.
    19   we could align to meet those goals and          19       Q. Okay. And you didn't know at
    20   objectives.                                     20   the time?
    21       Q. Okay. Did you take steps to              21       A. No, sir.
    22   become familiar with who the customers to       22       Q. Not something that you made an
    23   whom your accounts sold were?                   23   effort to ascertain?
    24           MR. DAVISON: Objection to               24       A. It would fall in an area under
    25       form.                                       25   our suspicious order monitoring people to go
                                               Page 91                                              Page 93
     1            THE WITNESS: No.                        1   to any level other than the headquarter level
     2   QUESTIONS BY MR. GOTTO:                          2   where I was.
     3       Q. And why not?                              3       Q. Okay. In any event, you
     4            MR. DAVISON: Objection.                 4   personally didn't make any effort to
     5            THE WITNESS: It would have              5   ascertain whether any of your accounts resold
     6       been impossible for me to do that            6   Mallinckrodt product to unaffiliated third
     7       personally.                                  7   parties?
     8   QUESTIONS BY MR. GOTTO:                          8            MR. DAVISON: Objection.
     9       Q. And would have been impossible            9   QUESTIONS BY MR. GOTTO:
    10   because -- would they not have responded to     10       Q. For resale, not to customer --
    11   inquiries, your accounts, if you made inquiry   11   end customers.
    12   in that regard?                                 12            MR. DAVISON: Objection.
    13            MR. DAVISON: Objection to              13            THE WITNESS: We had contracts
    14       form.                                       14       that would have covered that, I
    15            THE WITNESS: The amount of             15       believe.
    16       account -- pharmacies, for example,         16   QUESTIONS BY MR. GOTTO:
    17       that Walmart had, approximately 4,000,      17       Q. Okay. I'm just trying to
    18       approximately 2,000 for Kroger,             18   understand what you personally had an
    19       there's no possible way.                    19   understanding of at the time as you were
    20   QUESTIONS BY MR. GOTTO:                         20   doing your day-to-day job.
    21       Q. So your accounts from time to            21            Did you have an understanding
    22   time -- well, let's talk about Kroger, for      22   with respect to each of your accounts as to
    23   example.                                        23   whether they would be reselling Mallinckrodt
    24            So Kroger's pharmacies, actual         24   product to unaffiliated third parties for
    25   retail pharmacies, were they all affiliated     25   resale by those third parties?
   Golkow Litigation Services                                                   Page 24 (90 - 93)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further25Confidentiality
                                                         of 84. PageID #: 242418
                                                                             Review
                                               Page 94                                              Page 96
     1            MR. DAVISON: Objection.                 1           Did your job responsibilities
     2            THE WITNESS: It wasn't                  2   in any way entail any aspect of the
     3       allowed, as I recall.                        3   suspicious order monitoring function at
     4   QUESTIONS BY MR. GOTTO:                          4   Mallinckrodt?
     5       Q. Okay. So did you have any                 5           MR. DAVISON: Objection to
     6   wholesaler clients?                              6       form.
     7       A. Yes.                                      7           THE WITNESS: Yes.
     8       Q. So they were buying for                   8   QUESTIONS BY MR. GOTTO:
     9   purposes of reselling to third parties,          9       Q. And in what way?
    10   right?                                          10       A. If there was something
    11            MR. DAVISON: Objection.                11   suspicious of concern, either they would
    12            THE WITNESS: They were selling         12   contact me based on their system that there
    13       to their customers, yes.                    13   was a concern, and then my obligation was to
    14   QUESTIONS BY MR. GOTTO:                         14   contact the customer, my primary contact, and
    15       Q. Okay. And that was allowed,              15   understand why, for example, the order
    16   right?                                          16   increased amount was there.
    17       A. Yes.                                     17       Q. Okay. And when you said "they"
    18       Q. Okay. And so you understood --           18   in your answer, you're talking about the
    19   to the extent you had wholesaler customers,     19   suspicious order monitoring --
    20   you understood they were buying for the         20       A. Right.
    21   purpose of reselling to someone else,           21       Q. -- folks at Mallinckrodt?
    22   correct?                                        22       A. Right. I reference them as
    23       A. Correct.                                 23   SOMS.
    24       Q. And as compared to, for                  24       Q. Okay.
    25   example, Kroger, that was buying for the        25       A. Okay?
                                               Page 95                                              Page 97
     1   purpose of distributing through their            1       Q. And who do you recall --
     2   affiliated pharmacies, correct?                  2   individuals who would contact you who were
     3       A. Yes. Yes.                                 3   involved in the SOMS process at Mallinckrodt?
     4       Q. And so with respect to the                4       A. Karen Harper was always copied,
     5   wholesaler accounts that you had, did you        5   but it usually was some of her team.
     6   develop any understanding as to who their        6       Q. Okay. And do you recall any
     7   customers were?                                  7   particular circumstances in which you were
     8       A. The wholesalers that I dealt              8   contacted by the SOMS team for -- with a
     9   with, yes, had their buying group or their       9   question or an issue that you then pursued?
    10   particular customers that they sold to.         10       A. It varied. Particular
    11       Q. Okay. And so did you have an             11   customer, Morris Dickson, a wholesaler I had
    12   understanding as to the identity of who any     12   at the time, that's the only one I recall.
    13   of those customers were?                        13       Q. Do you recall any occasion in
    14       A. Minimal.                                 14   which an order from any account that you had
    15       Q. And when you say "minimal,"              15   responsibility for was declined by
    16   what do you mean?                               16   Mallinckrodt on the basis of it being a
    17       A. Depending on the wholesaler,             17   suspicious order?
    18   you know, their customer base could vary, but   18       A. Absolutely.
    19   I knew generally the quantity of their          19       Q. And when can you recall that
    20   customers as far as how many customers they     20   happening?
    21   served, but did not look into the detail of     21       A. It was evaluated on a regular
    22   those customers unless there was a problem.     22   basis through the SOMS team, and whenever
    23       Q. Now, you mentioned earlier a             23   anything suspicious came forward -- I don't
    24   suspicious order monitoring group at            24   remember a specific date or time, but it
    25   Mallinckrodt.                                   25   happened.

   Golkow Litigation Services                                                   Page 25 (94 - 97)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further26Confidentiality
                                                         of 84. PageID #: 242419
                                                                             Review
                                              Page 98                                             Page 100
     1       Q. Do you remember a particular              1   nature of your participation?
     2   account where an account -- where an order       2        A. Meeting with my customers,
     3   was declined?                                    3   discussing any business topics, any new
     4       A. I do not.                                 4   products to the market, et cetera.
     5       Q. Were there marketing materials            5        Q. And I think you indicated, for
     6   that you provided to your -- the accounts you    6   example, Kroger eventually became the case
     7   had responsibility for, particularly with        7   that those trade shows were the principal
     8   respect to Mallinckrodt controlled               8   contact that you had with that account.
     9   substances?                                      9            Was that true with other of
    10            MR. DAVISON: Objection to              10   your accounts as well?
    11       form.                                       11            MR. DAVISON: Objection to
    12            THE WITNESS: What time frame           12        form.
    13       are you speaking of?                        13            THE WITNESS: Restate it,
    14   QUESTIONS BY MR. GOTTO:                         14        please.
    15       Q. Well, at any time.                       15   QUESTIONS BY MR. GOTTO:
    16            MR. DAVISON: Same objection.           16        Q. Sure.
    17            THE WITNESS: Yes.                      17            Well, apart from Kroger,
    18   QUESTIONS BY MR. GOTTO:                         18   just -- were there accounts for whom meeting
    19       Q. What kinds of marketing                  19   at trade shows was your principal
    20   materials can you recall providing to your      20   face-to-face contact with those accounts?
    21   accounts?                                       21        A. Yes.
    22       A. Like I stated earlier, we                22        Q. And did you take orders at
    23   would -- if we had a contract with a            23   those accounts -- or at those conferences
    24   customer, as an aid, based on feedback from     24   or --
    25   their headquarters, they would -- we would do   25        A. No, no.
                                              Page 99                                             Page 101
     1   a sheet that showed the contracted items and     1       Q. And about how many people from
     2   the wholesaler item number that matched that     2   Mallinckrodt would participate in the two
     3   so that they knew what was on contract and       3   main conferences that you referred to?
     4   potentially could be aware.                      4            MR. DAVISON: Objection.
     5        Q. Okay. Were there materials               5            THE WITNESS: It varied from
     6   that contained information with respect to       6       year to year depending on management,
     7   Mallinckrodt's products that you provided to     7       depending on sales budgets, marketing
     8   your accounts?                                   8       budgets. It varied.
     9            MR. DAVISON: Objection to               9   QUESTIONS BY MR. GOTTO:
    10        form.                                      10       Q. Okay. But did you attend those
    11            THE WITNESS: I don't recall.           11   two essentially every year?
    12   QUESTIONS BY MR. GOTTO:                         12       A. There were a couple of years
    13        Q. Did you participate in trade            13   that they cut back and I did not attend.
    14   shows from time to time?                        14       Q. But as a general matter, you
    15        A. Yes, sir.                               15   attended them both?
    16        Q. About how often would you               16       A. Yes. Yes.
    17   participate in a trade show?                    17       Q. Okay. What about the other
    18        A. There were two annual trade             18   national account managers, did they attend
    19   shows generally that I'd participate in,        19   both of those conferences as well?
    20   NACDS and ECRM. There were various ones that    20       A. Yes.
    21   I attended if somebody was sick or left the     21       Q. Now, from the time you became a
    22   company or whatever. It just varied from        22   regional account manager and thereafter, you
    23   year to year.                                   23   understood that Mallinckrodt's opioid
    24        Q. Okay. In terms of the two that          24   products were narcotics, correct?
    25   you regularly participated in, what was the     25       A. Yes, sir.
   Golkow Litigation Services                                                 Page 26 (98 - 101)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further27Confidentiality
                                                         of 84. PageID #: 242420
                                                                             Review
                                              Page 102                                             Page 104
     1       Q. And you understood that they              1            MR. DAVISON: Objection.
     2   were subject to the Controlled Substances        2            THE WITNESS. Actually, that
     3   Act, correct?                                    3       question would be better posed to
     4            MR. DAVISON: Objection to               4       Karen Harper or the manager of the --
     5       form.                                        5       the SOMS team.
     6            THE WITNESS: Yes, sir.                  6   QUESTIONS BY MR. GOTTO:
     7   QUESTIONS BY MR. GOTTO:                          7       Q. Sure. I'm just asking for your
     8       Q. Are you familiar with the term            8   understanding of --
     9   "closed system" under the Controlled             9       A. Yeah. Yeah.
    10   Substances Act?                                 10       Q. You know, just whatever you
    11            MR. DAVISON: Objection to              11   understood the company to be doing.
    12       form.                                       12            You understood diversion was a
    13            THE WITNESS: I am not.                 13   significant consideration with respect to
    14   QUESTIONS BY MR. GOTTO:                         14   narcotics, right?
    15       Q. Okay. Are you familiar with              15       A. Absolutely. Absolutely.
    16   the concept under the Controlled Substances     16       Q. And so I'm just asking for your
    17   Act that controlled substances could only be    17   understanding of what steps the company was
    18   sold by Mallinckrodt to parties who were        18   taking in that regard.
    19   registered with the DEA?                        19       A. We were very, very strict about
    20       A. Yes.                                     20   who we sold to. All licenses were checked,
    21            MR. DAVISON: Objection.                21   many on-site visits, if necessary. We always
    22   QUESTIONS BY MR. GOTTO:                         22   tried to make sure that everything was done
    23       Q. Were you familiar with the term          23   within the rules and regulations of the DEA
    24   "diversion" under the Controlled Substances     24   and that we followed them precisely.
    25   Act?                                            25       Q. And you understood that if, in
                                              Page 103                                             Page 105
     1            MR. DAVISON: Objection.                 1   fact, narcotics were diverted, that created
     2            THE WITNESS: Yes.                       2   the potential for misuse or abuse, correct?
     3   QUESTIONS BY MR. GOTTO:                          3            MR. DAVISON: Objection to
     4       Q. What did you understand                   4       form.
     5   diversion to mean?                               5            THE WITNESS: Yes, sir.
     6       A. Anything that was outside of              6   QUESTIONS BY MR. GOTTO:
     7   selling directly to a DEA account, DEA           7       Q. And that could lead to
     8   authorized account.                              8   overdoses and deaths, correct?
     9       Q. Okay. And did you understand              9            MR. DAVISON: Objection.
    10   that as a manufacturer of controlled            10            THE WITNESS: There is a lot of
    11   substances Mallinckrodt had an obligation to    11       risk associated with it. I don't know
    12   take steps to avoid diversion of its product?   12       all of them, but it's not a good
    13            MR. DAVISON: Objection.                13       thing.
    14            THE WITNESS: Absolutely.               14   QUESTIONS BY MR. GOTTO:
    15   QUESTIONS BY MR. GOTTO:                         15       Q. And you already made reference
    16       Q. And what steps did you                   16   to suspicious order monitoring.
    17   understand Mallinckrodt took in that regard?    17            Did you understand that that
    18       A. All necessary steps that DEA             18   was something that was required by the
    19   required.                                       19   Controlled Substances Act as well?
    20       Q. Okay. Do you have -- do you              20            MR. DAVISON: Objection.
    21   have any particular procedures or policies in   21            THE WITNESS: I know that we
    22   mind that Mallinckrodt had in place during      22       always had it, and I know that we did
    23   your time as a regional or national account     23       it. I don't know that I knew it was a
    24   manager or director aimed at reducing or        24       requirement.
    25   avoiding diversion?                             25


   Golkow Litigation Services                                                Page 27 (102 - 105)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further28Confidentiality
                                                         of 84. PageID #: 242421
                                                                             Review
                                             Page 106                                               Page 108
     1   QUESTIONS BY MR. GOTTO:                          1       A. My understanding, it was an
     2       Q. Okay. Did you ever receive any            2   algorithm and a system that flagged
     3   training with respect to Mallinckrodt's          3   suspicious orders.
     4   suspicious order monitoring program?             4       Q. And how did you gain that
     5       A. Yes.                                      5   understanding?
     6       Q. What's the nature of the                  6       A. They would call me and tell me
     7   training you can recall?                         7   that this particular customer, you know, was
     8       A. I'm sure there was group                  8   ordering a quantity that wasn't
     9   training, and we had several online classes      9   understandable and they needed to know why.
    10   that we took.                                   10       Q. Okay. Did you have an
    11       Q. Okay. And again, were these              11   understanding as to whether the algorithm
    12   in-house presentations?                         12   that was employed to identify potentially
    13       A. To my knowledge.                         13   suspicious orders changed over time?
    14       Q. Okay. And do you recall who              14       A. I'm sure it was constantly
    15   conducted those presentations?                  15   changing, but you'd have to ask that team.
    16       A. I do not know.                           16       Q. Okay. You didn't know the
    17       Q. Do you recall approximate                17   details of it?
    18   frequency of those presentations?               18       A. No.
    19       A. I do not recall.                         19       Q. Did you have an understanding
    20       Q. What can you recall learning             20   as to whether the accounts for which -- for
    21   from those presentations with respect to the    21   whom you had responsibility maintained their
    22   components of Mallinckrodt's suspicious order   22   own suspicious order monitoring programs?
    23   monitoring program?                             23            MR. DAVISON: Objection to
    24       A. That we only sold to customers           24       form.
    25   who were licensed and that, you know, we        25            THE WITNESS: Yes.
                                             Page 107                                               Page 109
     1   never were able to make a decision to sell to    1   QUESTIONS BY MR. GOTTO:
     2   somebody on our own. It was a group effort.      2       Q. And how did you gain that
     3   Everything had to be vetted.                     3   understanding?
     4       Q. Okay. And did you                         4       A. Just in conversation. We had a
     5   understand -- did you have an understanding      5   responsibility and they had a responsibility,
     6   as to whether each order for a controlled        6   so we did the best we could.
     7   substance was evaluated by Mallinckrodt to       7       Q. Okay. So you understood that
     8   determine if it was a suspicious order?          8   your accounts had their own independent
     9           MR. DAVISON: Objection.                  9   suspicious order monitoring responsibility,
    10           THE WITNESS: Suspicious order           10   correct?
    11       monitoring team monitored them. I           11       A. It varied by account.
    12       don't know any of the details of that       12       Q. In terms of what their program
    13       monitoring.                                 13   consisted of?
    14   QUESTIONS BY MR. GOTTO:                         14       A. Right.
    15       Q. And you've already testified             15       Q. But you understood they all had
    16   that from time to time someone from the SOM     16   some responsibility in that regard?
    17   team might contact you to get some further      17       A. I understood that.
    18   information when an order had been identified   18       Q. And did you make an effort to
    19   as potentially suspicious, correct?             19   ascertain with respect to each account what
    20       A. Yes, sir.                                20   their suspicious order monitoring program
    21       Q. Did you have an understanding            21   consisted of?
    22   during the time you were regional or national   22       A. No.
    23   account manager or director as to the basis     23       Q. Do you know if anyone else at
    24   on which the SOM team would identify an order   24   Mallinckrodt did that?
    25   as potentially suspicious?                      25       A. I know that the suspicious
   Golkow Litigation Services                                                Page 28 (106 - 109)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further29Confidentiality
                                                         of 84. PageID #: 242422
                                                                             Review
                                              Page 110                                             Page 112
     1   order monitoring team met with customers         1   regarding opioid distribution in the state of
     2   periodically.                                    2   Florida?
     3       Q. Do you know if they met with              3            MR. DAVISON: Objection.
     4   each of your accounts?                           4            THE WITNESS: I did not have
     5       A. I don't.                                  5       any customers in the state of Florida.
     6       Q. Do you recall any occasion on             6   QUESTIONS BY MR. GOTTO:
     7   which anyone from the suspicious order           7       Q. Okay. And so since -- apart
     8   monitoring team at Mallinckrodt contacted you    8   from whether you had any customers in the
     9   and raised any concerns regarding the            9   state of Florida, do you recall becoming
    10   suspicious order monitoring program of any of   10   aware of any concerns at any point regarding
    11   your accounts?                                  11   opioid distribution in Florida?
    12       A. It happened, yes.                        12       A. What was in the press.
    13       Q. Can you recall any specifics?            13       Q. Okay. Do you recall anyone at
    14       A. No, sir. Other than I                    14   Mallinckrodt ever raising with you any issues
    15   mentioned Morris & Dickson earlier.             15   regarding your accounts that pertained to
    16       Q. And so with Morris & Dickson,            16   the -- pertained to concerns regarding opioid
    17   that was an issue regarding Morris &            17   distribution in Florida?
    18   Dickson's suspicious order monitoring           18            MR. DAVISON: Objection.
    19   program?                                        19            THE WITNESS: No, sir.
    20       A. No. It was a suspicious order.           20   QUESTIONS BY MR. GOTTO:
    21       Q. Sure.                                    21       Q. Do you recall ever engaging in
    22           Okay. Let me rephrase my                22   any steps to evaluate whether any of your
    23   question. Maybe it wasn't clear.                23   accounts were reselling Mallinckrodt opioid
    24           I'd like to know if there               24   products into the state of Florida?
    25   were -- are there any occasions you can         25            MR. DAVISON: Objection.
                                              Page 111                                             Page 113
     1   recall someone on the SOM team at                1            THE WITNESS: No, sir.
     2   Mallinckrodt contacting you and saying           2   QUESTIONS BY MR. GOTTO:
     3   there's an issue with respect to the             3       Q. Do you recall anyone at
     4   suspicious order monitoring program that --      4   Mallinckrodt ever requesting you to engage in
     5   at one of your accounts that we'd like you to    5   any such analysis?
     6   get some information on?                         6       A. No, sir.
     7            MR. DAVISON: Objection.                 7       Q. If there had been a concern
     8            THE WITNESS: That was outside           8   regarding whether -- strike that.
     9       of my area of responsibility.                9            If Mallinckrodt had wished to
    10   QUESTIONS BY MR. GOTTO:                         10   obtain information regarding the extent to
    11       Q. Okay. So you don't recall that           11   which any of your accounts were reselling
    12   ever happening?                                 12   Mallinckrodt opioid product into the state of
    13       A. No, sir.                                 13   Florida, would you have been the best person
    14       Q. Okay. Do you recall there ever           14   to come to to get that information?
    15   being an occasion which anyone from the SOM     15            MR. DAVISON: Objection to
    16   team at Mallinckrodt contacted you and          16       form.
    17   expressed any concern that one of your          17            THE WITNESS: No, sir.
    18   accounts was engaged in practices that          18   QUESTIONS BY MR. GOTTO:
    19   created a risk for diversion?                   19       Q. Who would have been?
    20            MR. DAVISON: Objection.                20       A. I believe it would have been
    21            THE WITNESS: I do not recall a         21   the SOMS team.
    22       situation like that.                        22       Q. The SOMS team would have been
    23   QUESTIONS BY MR. GOTTO:                         23   in a better position to get the information
    24       Q. Do you recall becoming aware at          24   regarding the activities of your accounts?
    25   any point of any particular concerns            25       A. Because they had the data, the
   Golkow Litigation Services                                                Page 29 (110 - 113)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further30Confidentiality
                                                         of 84. PageID #: 242423
                                                                             Review
                                              Page 114                                            Page 116
     1   algorithm, the program.                          1   QUESTIONS BY MR. GOTTO:
     2       Q. Okay. So if I was at                      2       Q. Okay. In any event, no one
     3   Mallinckrodt and I was trying to ascertain       3   ever made that sort of request of you --
     4   the extent to which one of your wholesaler       4       A. No.
     5   accounts was reselling into the state of         5       Q. -- back in 2010 or --
     6   Florida, if I came to you and said, "Can you     6       A. Not -- not that I recall.
     7   get that information for me," would you have     7       Q. Or at any time; is that
     8   been in a position to get that?                  8   correct?
     9            MR. DAVISON: Objection to               9       A. Not that I recall.
    10       form.                                       10       Q. Do you recall -- from time to
    11            THE WITNESS: I probably would          11   time you made mention to press reports --
    12       have turned to one of the analyst to        12       A. Right.
    13       pull that data.                             13       Q. -- regarding concerns about --
    14   QUESTIONS BY MR. GOTTO:                         14   about Florida.
    15       Q. When you say "the analyst," who          15            Do you recall reviewing any
    16   would they be?                                  16   such press reports when they were current?
    17       A. Generally they were under the            17            MR. DAVISON: Objection.
    18   marketing department, and they had access to    18            THE WITNESS: No.
    19   more data for analysis. I could get the         19   QUESTIONS BY MR. GOTTO:
    20   data, but I didn't have the time to do it, so   20       Q. Okay. What can you recall in
    21   an analyst would pull that information.         21   that regard?
    22       Q. Okay. And so that analyst,               22       A. Whatever was relevant at the
    23   they would be looking at Mallinckrodt           23   time, if I had time, I would read it.
    24   internal information, correct?                  24            (Mallinckrodt-New Exhibit 3
    25            MR. DAVISON: Objection.                25       marked for identification.)
                                              Page 115                                            Page 117
     1            THE WITNESS: I don't know what          1   QUESTIONS BY MR. GOTTO:
     2       they looked at, to be honest.                2        Q. Let me hand you what we've
     3   QUESTIONS BY MR. GOTTO:                          3   marked as Exhibit 3, which is a two-page
     4       Q. Okay.                                     4   document beginning at Bates
     5       A. I don't know what their program           5   MNK-T1_0000264194. It appears to be an
     6   gave them access to.                             6   e-mail from Karen Harper to a number of
     7       Q. Okay. So if, for example, in              7   persons, including yourself, forwarding a
     8   2010 someone at Mallinckrodt had come to you     8   November 20, 2009 press account bearing the
     9   and said -- trying to evaluate the extent to     9   headline "Grand Jury Wants to Crack Down on
    10   which your wholesaler accounts are reselling    10   Pill Mills."
    11   into the state of Florida, what would you       11             Take a minute to look at that
    12   have done to respond to that request?           12   document, if you would, and tell me if you
    13            MR. DAVISON: Objection to              13   recognize.
    14       form.                                       14        A. Is there a particular section
    15            THE WITNESS: I would have              15   that you want me to read or...
    16       probably gone to the marketing manager      16        Q. I have some questions for you
    17       and asked him which analyst he would        17   on two or three of the paragraphs, but you
    18       recommend and what they were looking        18   can just tell me if you recognize it
    19       for and had them pull that data.            19   initially, that would be a good starting
    20   QUESTIONS BY MR. GOTTO:                         20   place.
    21       Q. Okay. Would it have been                 21        A. I don't recall this specific
    22   possible for you to go to your contact at the   22   document, but I'm sure I was copied at the
    23   account to request that information?            23   time.
    24            MR. DAVISON: Objection.                24        Q. Okay. And so if -- in this
    25            THE WITNESS: I don't know.             25   time frame, 2009, if you received an e-mail

   Golkow Litigation Services                                               Page 30 (114 - 117)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further31Confidentiality
                                                         of 84. PageID #: 242424
                                                                             Review
                                              Page 118                                             Page 120
     1   like this from Karen Harper forwarding a         1   units of oxycodone in our community every six
     2   press account, would you have read it?           2   months. Although the pain clinics originated
     3            MR. DAVISON: Objection.                 3   in Broward County, they have spread north
     4            THE WITNESS: I would have done          4   quickly throughout the rest of Florida,
     5        my best to read it.                         5   particularly in the major metropolitan
     6   QUESTIONS BY MR. GOTTO:                          6   areas."
     7        Q. Okay. And Ms. Harper's role at           7            Did I read that correctly?
     8   Mallinckrodt at this time was what, to your      8       A. Yes, sir.
     9   knowledge?                                       9       Q. And do you recall being aware
    10        A. It's not on this document.              10   of that circumstance back in 2009, namely the
    11   She's always been in the compliance             11   increase in the number of pain clinics in
    12   department, but I don't know her title.         12   south Florida and spreading throughout the
    13        Q. Okay. So the article, the               13   state of Florida?
    14   first paragraph of it says, "Broward County     14            MR. DAVISON: Objection.
    15   has become known as the pill mill capital of    15            THE WITNESS: I remember it in
    16   the United States."                             16       general. I don't remember the
    17            Do you recall back in this time        17       specifics.
    18   frame, 2009, hearing this term "pill mill"?     18   QUESTIONS BY MR. GOTTO:
    19        A. Yes.                                    19       Q. Okay. And so this article is
    20        Q. And what did you understand a           20   dated in November of 2009.
    21   pill mill to be?                                21            Do you recall being aware
    22        A. It was a place distributing             22   generally of the subject matter that's
    23   product in a way that wasn't maybe in           23   addressed in this article, namely the pill
    24   compliance with the DEA.                        24   mill phenomenon in Florida and the expansion
    25        Q. Okay. And if you look at the            25   in opioid distribution in Florida prior to
                                              Page 119                                             Page 121
     1   last paragraph on the first page of              1   this article in late 2009?
     2   Exhibit 3, it says, "Oftentimes people come      2            MR. DAVISON: Objection to
     3   from outside Florida to pain clinics because     3       form.
     4   it's so easy to obtain prescription drugs.       4            THE WITNESS: Yes, I'm familiar
     5   Those people then take the pills back to         5       with it, but not with all the details.
     6   their home states and sell the drugs for         6   QUESTIONS BY MR. GOTTO:
     7   inflated sums on the black market."              7       Q. Sure.
     8             Do you see that?                       8            Did you have an understanding
     9        A. Yes, sir.                                9   back in 2009 as to whether the opioids that
    10        Q. And do you recall being                 10   were distributed through pill mills in
    11   familiar with that circumstance back in 2009?   11   Florida included any opioids that were
    12             MR. DAVISON: Objection.               12   manufactured by Mallinckrodt?
    13             THE WITNESS: Yes, sir.                13            MR. DAVISON: Objection.
    14   QUESTIONS BY MR. GOTTO:                         14            THE WITNESS: I don't recall.
    15        Q. And on the next page of the             15   QUESTIONS BY MR. GOTTO:
    16   exhibit, the third paragraph down from the      16       Q. Okay. Do you recall in 2009 --
    17   top that begins with "according to the          17   well, strike that.
    18   report," do you see that?                       18            So Ms. Harper forwarded this
    19        A. It begins where?                        19   article to a number of folks. Let's take a
    20        Q. "According to the report."              20   look at who they were. John Adams, I think
    21        A. Yes.                                    21   you indicated, may have been the person you
    22        Q. Okay. It says, "According to            22   reported to at this time, correct?
    23   the report, in the past two years the number    23       A. Correct.
    24   of pain clinics in south Florida mushroomed     24       Q. Robert Lesnak, do you recall
    25   from four to 176, dumping 9 million dose        25   who he was?
   Golkow Litigation Services                                                Page 31 (118 - 121)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further32Confidentiality
                                                         of 84. PageID #: 242425
                                                                             Review
                                              Page 122                                            Page 124
     1       A. He was in charge of the                   1   QUESTIONS BY MR. GOTTO:
     2   addiction treatment group.                       2       Q. And relevant to what aspect of
     3       Q. Okay. Tim Berry, do you recall            3   your job?
     4   who he was?                                      4       A. It was to create awareness so
     5       A. He was an account manager. Not            5   that we knew what was going on.
     6   sure of the title.                               6       Q. So in this time frame of late
     7       Q. Okay. Yourself.                           7   2009, were there any steps you took in your
     8            Dave Irwin?                             8   day-to-day job as a national account manager
     9       A. Yes.                                      9   that were influenced in any way by your
    10       Q. Do you recall who he was?                10   knowledge of the circumstances of opioid
    11       A. Account manager.                         11   distribution in Florida that are described in
    12       Q. Okay. Steven Becker, he was              12   this article?
    13   national account manager, correct?              13            MR. DAVISON: Objection to
    14       A. Right.                                   14       form.
    15       Q. As was Victor Borelli, correct?          15            THE WITNESS: Due diligence.
    16       A. Correct.                                 16       Just make sure your account is
    17       Q. Do you have an understanding as          17       diligent and in compliance --
    18   to why Ms. Harper forwarded this article to     18   QUESTIONS BY MR. GOTTO:
    19   this group?                                     19       Q. Okay.
    20            MR. DAVISON: Objection.                20       A. -- with the law.
    21            THE WITNESS: I guess you'd             21       Q. Okay. And so what did you do
    22       have to ask her that question.              22   in regards to due diligence in that -- in
    23   QUESTIONS BY MR. GOTTO:                         23   this time frame?
    24       Q. Okay. So when you would have             24       A. I knew my accounts, I was aware
    25   received this back in November of 2009, would   25   of my accounts, and I had no concerns. And
                                              Page 123                                            Page 125
     1   you have had an understanding as to whether      1   if I did, I brought them to upper
     2   reviewing this article and being familiar        2   management's attention.
     3   with the circumstances that are described in     3        Q. Okay. So in this time frame --
     4   this article were part of your job               4   and when I say "this time frame," I mean late
     5   responsibility?                                  5   2009.
     6             MR. DAVISON: Objection to              6        A. Right.
     7       form.                                        7        Q. Were there any accounts that
     8             THE WITNESS: I needed to be            8   you had as to whom you had any concerns
     9       aware of what was going in the market,       9   regarding Florida opioid distribution that
    10       and I'm sure she -- for that -- it was      10   you brought to upper management?
    11       relevant, and she sent it for that          11        A. No.
    12       reason.                                     12        Q. Okay. In this late 2009 time
    13   QUESTIONS BY MR. GOTTO:                         13   frame, were there any steps you took to
    14       Q. Okay. So being aware of what             14   attempt to ascertain whether any of your
    15   was going in the market in the context of the   15   accounts were reselling Mallinckrodt opioid
    16   circumstances that are described in this        16   products into the state of Florida?
    17   article --                                      17             MR. DAVISON: Objection to
    18       A. Right.                                   18        form.
    19       Q. -- why did you need to be aware          19             THE WITNESS: I didn't have
    20   of that for your job as a national account      20        access to that data to know that.
    21   manager?                                        21   QUESTIONS BY MR. GOTTO:
    22             MR. DAVISON: Objection.               22        Q. Okay. So you didn't take any
    23             THE WITNESS: Because it was           23   steps to ascertain whether any of your
    24       relevant at the time.                       24   accounts were selling Mallinckrodt --
    25                                                   25        A. I do not recall if I did or did
   Golkow Litigation Services                                                Page 32 (122 - 125)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further33Confidentiality
                                                         of 84. PageID #: 242426
                                                                             Review
                                             Page 126                                              Page 128
     1   not.                                             1       A. Correct.
     2            (Mallinckrodt-New Exhibit 4             2       Q. What did you mean by that?
     3        marked for identification.)                 3       A. I don't know.
     4   QUESTIONS BY MR. GOTTO:                          4       Q. Okay. Well, in the article
     5        Q. Okay. Ms. New, we just marked            5   itself, the article is talking about a new
     6   as Exhibit 4 a two-page document beginning at    6   form of OxyContin.
     7   Bates MNK-T1_0004888161. It appears to be an     7             Now, OxyContin was not a
     8   e-mail from you dated June 16, 2011,             8   Mallinckrodt product, correct?
     9   forwarding a press article.                      9       A. Correct.
    10            Take a look at that and tell me        10       Q. And the first paragraph
    11   if you recognize that document.                 11   indicates that the reformulated OxyContin
    12        A. Only in the fact that I signed          12   pills are harder to crush, turning into a
    13   it.                                             13   gummy substance that can't easily be snorted,
    14        Q. Okay. So it's an article that           14   injected or chewed, correct?
    15   you forwarded to a number of folks. Let's       15       A. Correct.
    16   look at the folks you sent it to in terms of    16       Q. And then in the one, two,
    17   people we haven't previously talked about       17   three, fourth paragraph, the one that starts
    18   here today.                                     18   with "a powerful narcotic," do you see that?
    19            There's a Lisa Lundergan. Who          19       A. Yes, sir.
    20   is that?                                        20       Q. And that paragraph says, "A
    21        A. Lisa Cardetti.                          21   powerful narcotic meant for cancer patients
    22        Q. Okay.                                   22   and others with pain, OxyContin is designed
    23        A. That was her maiden name.               23   to slowly release its active ingredient,
    24        Q. Okay. And Ginger Collier was            24   oxycodone, over 12 hours. But after it was
    25   the marketing director for generics, correct?   25   introduced in 1996, drug abusers quickly
                                             Page 127                                              Page 129
     1       A. Correct.                                  1   discovered that chewing an OxyContin tablet
     2       Q. How about Penny Myers? Who was            2   or crushing one and snorting the powder or
     3   that?                                            3   injecting it with a needle produced an
     4       A. Penny Myers was in marketing.             4   instant high as powerful as heroin."
     5       Q. Okay. How about Natalie                   5             Did I read that correctly?
     6   Kayich?                                          6        A. Yes, sir.
     7       A. She also was marketing.                   7        Q. Okay. The next paragraph
     8       Q. And how about Jennifer                    8   states that, "Purdue Pharma, the maker of
     9   Bullerdick?                                      9   OxyContin, may have succeeded in reducing
    10       A. She was marketing product                10   illicit demand for its reformulated drug, but
    11   manager.                                        11   in several dozen interviews over the last few
    12       Q. And copied to Michael Gunning.           12   months, drug abuse experts, law enforcement
    13   Who was he?                                     13   officials and addicts said the reformulation
    14       A. He was the general manager. He           14   had only driven up interest for other
    15   probably had another title, but...              15   narcotics."
    16       Q. Okay. And the article is from            16             Did I read that correctly?
    17   the St. Louis Post Dispatch entitled "New       17        A. Yes, sir.
    18   OxyContin Form is Said to Curb Abuse,"          18        Q. And then the next paragraph
    19   correct?                                        19   says, "Demand appears especially high for
    20       A. Correct.                                 20   pure oxycodone that come in 30-milligram
    21       Q. And in the body of your e-mail           21   pills."
    22   you say, "Interesting read. I think it          22             Now, Mallinckrodt manufactured
    23   supports our suspicions in regard to the        23   pure oxycodone in 30-milligram pills at this
    24   increased usage of the oxy 30-milligram,"       24   time, correct?
    25   correct?                                        25        A. Yes, sir.
   Golkow Litigation Services                                                Page 33 (126 - 129)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further34Confidentiality
                                                         of 84. PageID #: 242427
                                                                             Review
                                              Page 130                                             Page 132
     1            MR. DAVISON: Objection to               1            MR. DAVISON: Objection.
     2       form.                                        2            THE WITNESS: It could be based
     3   QUESTIONS BY MR. GOTTO:                          3       on a meeting or a conversation that
     4       Q. It goes on to say, "Opana, a              4       was relevant at that time.
     5   time-release painkiller similar to OxyContin,    5   QUESTIONS BY MR. GOTTO:
     6   that's been on market for five years is          6       Q. Now, you didn't copy anyone in
     7   showing up increasingly in police reports and    7   the compliance department on your e-mail,
     8   has been blamed for a rash of overdose           8   correct?
     9   deaths, and heroin use has jumped sharply in     9       A. That's correct.
    10   many regions."                                  10       Q. Is there a reason for that?
    11            Did I read that correctly?             11            MR. DAVISON: Objection.
    12       A. Yes, sir.                                12            THE WITNESS: I don't know. I
    13       Q. So in your cover e-mail, when            13       could have also sent it in another
    14   you make reference to "I think it supports      14       e-mail. I don't know.
    15   our suspicions in regards to increased usage    15   QUESTIONS BY MR. GOTTO:
    16   of the oxy 30-milligram," were you referring    16       Q. Okay. Do you recall --
    17   to the sentence in the article that I read a    17   independent of this e-mail and article, do
    18   moment ago regarding "demand appears            18   you recall any discussions, either personal
    19   especially high for pure oxycodone that come    19   discussions or e-mail exchanges, at
    20   in 30-milligram pills"?                         20   Mallinckrodt that you were a party to in the
    21            MR. DAVISON: Objection to              21   mid-2011 time frame or before that discussed
    22       form.                                       22   increased usage of oxy 30-milligram tablets
    23            THE WITNESS: I can't answer            23   and any potential explanations for that?
    24       that question. I don't recall.              24            MR. DAVISON: Objection.
    25                                                   25            THE WITNESS: I cannot recall
                                              Page 131                                             Page 133
     1   QUESTIONS BY MR. GOTTO:                          1       anything specific about this.
     2       Q. You don't recall. Okay.                   2   QUESTIONS BY MR. GOTTO:
     3            Do you recall in this time              3       Q. Okay. Do you recall at any
     4   frame of mid-2011 that there was an increased    4   time providing any information to any of your
     5   usage in oxy 30 milligrams?                      5   accounts that you're responsible for with
     6       A. I can't answer that either.               6   respect to -- well, strike that.
     7       Q. Okay.                                     7            Do you recall if you forwarded
     8       A. I don't know.                             8   this article that's included in Exhibit 4 to
     9       Q. It appears to be what you're              9   any of the accounts you had responsibility
    10   referring to in your e-mail, correct?           10   for?
    11            MR. DAVISON: Objection to              11       A. I cannot recall that.
    12       form.                                       12       Q. Okay. Do you recall at any
    13            THE WITNESS: Yes.                      13   time communicating with any of your accounts
    14   QUESTIONS BY MR. GOTTO:                         14   in any regard with -- in the mid-2011 or
    15       Q. Okay. And in your e-mail, you            15   previous time frame with respect to increased
    16   make reference to "supports our suspicions."    16   usage of oxy 30 milligrams and any potential
    17            Do you recall what those               17   explanations for that?
    18   suspicions were?                                18            MR. DAVISON: Objection.
    19            MR. DAVISON: Objection to              19            THE WITNESS: I cannot recall
    20       form. Misstates her --                      20       any specific conversations.
    21            THE WITNESS: I do not.                 21   QUESTIONS BY MR. GOTTO:
    22   QUESTIONS BY MR. GOTTO:                         22       Q. Do you recall receiving any
    23       Q. Do you recall, when you used             23   response from any of the folks you sent this
    24   the plural pronoun "our" in that sentence,      24   e-mail to with respect to the subject matter?
    25   who you were referring to?                      25       A. No, sir.

   Golkow Litigation Services                                                Page 34 (130 - 133)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further35Confidentiality
                                                         of 84. PageID #: 242428
                                                                             Review
                                             Page 134                                             Page 136
     1       Q. Do you recall participating in            1        Q. Okay. And he was apparently at
     2   any meeting among any of the folks that you      2   Apotex.
     3   received -- that you sent this e-mail to and     3             What was Apotex, if you know?
     4   yourself at which the subject of this article    4        A. One of our competitors.
     5   was addressed?                                   5        Q. Okay. And he forwarded the
     6       A. No, sir.                                  6   press clipping saying, "I thought that you
     7       Q. Okay. You can set that aside.             7   guys might be interested in the first story."
     8             MR. DAVISON: We've been going          8             And in addition to yourself and
     9       a little over an hour. Do you want to        9   Mr. Borelli and Mr. Becker, he forwarded it
    10       take a quick break?                         10   to Peter Romer.
    11             MR. GOTTO: Sure.                      11             Who was Mr. Romer?
    12             VIDEOGRAPHER: We're going off         12        A. Romer -- Pete Romer was also a
    13       the record at 11:49 a.m.                    13   national account manager at one time.
    14        (Off the record at 11:49 a.m.)             14        Q. Okay. For Mallinckrodt?
    15             VIDEOGRAPHER: We are back on          15        A. Correct.
    16       the record at 12:04 p.m.                    16        Q. Yeah.
    17             (Mallinckrodt-New Exhibit 5           17             And so the first article, the
    18       marked for identification.)                 18   first story that he's talking about, is the
    19   QUESTIONS BY MR. GOTTO:                         19   Albany, New York, dateline that's at the
    20       Q. Ms. New, we've marked as                 20   bottom of page 1 that says, "Following fatal
    21   Exhibit 5 a multipage document beginning at     21   shootings in two New York pharmacy robberies,
    22   Bates MNK-T1_0006283056. It appears to be an    22   a US Senator is warning that a new batch of
    23   e-mail thread forwarding certain press          23   super painkillers now under review could
    24   accounts.                                       24   force repeats of various violent robberies
    25             Would you take a minute to look       25   that left six people dead."
                                             Page 135                                             Page 137
     1   at that document and tell me if you recognize    1             Do you see that?
     2   it.                                              2        A. Yes, sir.
     3            And while it attaches a series          3        Q. And if you turn to the second
     4   of press accounts, I have questions for you      4   page of the exhibit, from the top of that
     5   only on the first one, the one that's at the     5   second page if you go down one, two, three,
     6   bottom of the first page of Exhibit 5            6   four, five, six lines, there's a line that
     7   carrying over to the top of the second page      7   starts with "experts say."
     8   of Exhibit 5.                                    8             Do you see that?
     9       A. Are you speaking specifically             9        A. Yes.
    10   to where "United States and industry news" --   10        Q. And it says, "Experts say
    11   there?                                          11   painkiller addiction has been driven partly
    12       Q. Yes. Yes. The Albany,                    12   by a loophole in the 1970 Controlled
    13   New York, dateline.                             13   Substances Act that classified pure
    14       A. Okay.                                    14   hydrocodone, a super painkiller, as a
    15       Q. That one particular clipping.            15   strictly controlled Schedule II drug. But
    16       A. Okay.                                    16   the law put combination products such as
    17       Q. Okay. Do you recognize those             17   pills containing hydrocodone and
    18   e-mails or that press clipping?                 18   acetaminophen into the less strict
    19       A. No.                                      19   Schedule III."
    20       Q. Okay. So the -- in the middle            20             Did I read that correctly?
    21   of the first page of Exhibit 5, there's an      21        A. Yes, sir.
    22   e-mail from a Timothy Berry.                    22        Q. And you recall being familiar
    23            Do you know who he is?                 23   with that circumstance as described in those
    24       A. He was a former Mallinckrodt             24   sentences at this time regarding hydrocodone
    25   account manager.                                25   and hydrocodone combination drugs?
   Golkow Litigation Services                                                Page 35 (134 - 137)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further36Confidentiality
                                                         of 84. PageID #: 242429
                                                                             Review
                                              Page 138                                             Page 140
     1            MR. DAVISON: Objection to the           1       Q. And you said, "Keeps us on our
     2       form.                                        2   toes, doesn't it?" What did you mean by that
     3            THE WITNESS: I do not --                3   in this context?
     4   QUESTIONS BY MR. GOTTO:                          4       A. I don't know.
     5       Q. Okay.                                     5       Q. Okay. You can set that aside.
     6       A. -- recall this.                           6             (Mallinckrodt-New Exhibit 6
     7       Q. Do you recall at any time being           7        marked for identification.)
     8   aware of initiatives to reschedule               8   QUESTIONS BY MR. GOTTO:
     9   hydrocodone combination products as              9       Q. We've marked as Exhibit 6 a
    10   Schedule II?                                    10   multipage document beginning at Bates
    11       A. Yes, sir.                                11   MNK-T1_0004878533. It's a series of e-mails
    12       Q. And what do you recall in that           12   forwarding an article regarding Cardinal
    13   regard?                                         13   Health.
    14       A. That it was reclassified in              14             If you'd take a moment to look
    15   October, November time frame of a year.         15   at that, the e-mail and the article, tell me
    16       Q. Okay.                                    16   if you recognize those.
    17       A. And it was changed from a                17       A. I do not.
    18   Class II drug to a class -- from a Class III    18       Q. Okay. And at this time, which
    19   to a Class II drug.                             19   is May of 2012, was Cardinal an account of
    20       Q. Okay. And do you recall                  20   yours?
    21   Mallinckrodt resisting those proposed changes   21       A. No, sir.
    22   when they were made?                            22       Q. Okay. Do you know who -- whose
    23            MR. DAVISON: Objection to the          23   account it was?
    24       form.                                       24       A. I'm not for sure.
    25            THE WITNESS: I do not recall           25       Q. Okay. If you -- so the
                                              Page 139                                             Page 141
     1        that.                                       1   Exhibit 6 begins with an e-mail from -- well,
     2   QUESTIONS BY MR. GOTTO:                          2   the top of the page is an e-mail from Jane
     3        Q. Okay. If you turn back to the            3   Williams to a number of folks, including
     4   first page of Exhibit 5, your e-mail at the      4   yourself. Looks like the national account
     5   top of the first page, second paragraph says,    5   managers, correct?
     6   "They keep talking about this, but if things     6       A. Yes, sir.
     7   continue as they are with all the bad press,     7       Q. And she says, "FYI, interesting
     8   we may see the category change to C-II.          8   read." Correct?
     9   Keeps us on our toes, doesn't it?"               9       A. Correct.
    10             And so the category change to         10       Q. And she's forwarding an e-mail
    11   C-II, that's the schedule under the             11   from Stephen Littlejohn.
    12   Controlled Substances Act, correct?             12             Do you know who that -- who
    13             MR. DAVISON: Objection.               13   Stephen Littlejohn was?
    14             THE WITNESS: Right.                   14       A. I do not.
    15   QUESTIONS BY MR. GOTTO:                         15       Q. Okay. Do you know if he was a
    16        Q. And do you recall what you were         16   Mallinckrodt person?
    17   referring to there that may be recategorized    17       A. I do not know that.
    18   as a C-II?                                      18       Q. Okay. In any event, the
    19        A. There was talk in the industry          19   article is an article concerning -- well, the
    20   of this change for several years. That's all    20   headline is "Cardinal Health set for DEA
    21   I recall.                                       21   showdown over pain pill sales," correct?
    22        Q. I see.                                  22       A. Correct.
    23             Of the hydrocodone combination        23       Q. And dated May 10th of 2012.
    24   drugs?                                          24             If you look at the one, two,
    25        A. Right.                                  25   three, four, fifth paragraph, that begins
   Golkow Litigation Services                                                Page 36 (138 - 141)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further37Confidentiality
                                                         of 84. PageID #: 242430
                                                                             Review
                                              Page 142                                            Page 144
     1   with "In February."                              1   $34 million fine in settlement with the DEA
     2            Do you see that?                        2   in 2008?
     3       A. Yes, sir.                                 3            MS. FIX MEYER: Objection.
     4       Q. And it says, "In February, the            4       Form. Foundation.
     5   DEA suspended Cardinal's license to ship         5            THE WITNESS: I can't say that
     6   controlled substances from the Lakeland,         6       I did.
     7   Florida facility, which supplies 2,500           7   QUESTIONS BY MR. GOTTO:
     8   pharmacies. The agency allowed" -- I'm           8       Q. Okay. If you look toward the
     9   sorry, "The agency alleged the company hadn't    9   bottom of the second page of the exhibit,
    10   made sure the drugs went only to legitimate     10   there's a heading "Epicenter of Abuse."
    11   patients and ordered Cardinal to explain why    11            Do you see that? About nine
    12   the suspension shouldn't be made permanent."    12   lines up from the bottom.
    13            Did I read that correctly?             13       A. At -- restate that, please.
    14       A. Yes, sir.                                14       Q. The heading is "Epicenter of
    15       Q. Do you recall being aware of             15   Abuse."
    16   this circumstance, namely the suspension of     16       A. Am I on the right page?
    17   Cardinal back in May of 2012?                   17            MR. DAVISON: Yeah, it's three
    18            MR. DAVISON: Objection to              18       paragraphs up. Right there.
    19       form.                                       19            THE WITNESS: Oh, yes.
    20            THE WITNESS: I'm not sure.             20   QUESTIONS BY MR. GOTTO:
    21   QUESTIONS BY MR. GOTTO:                         21       Q. Okay. So under that heading --
    22       Q. Okay. If you turn to the                 22       A. I'm sorry.
    23   second page of the exhibit, the second          23       Q. -- the text reads, "In Florida,
    24   paragraph that begins "In the DEA's view."      24   identified by the DEA as the epicenter of
    25            Do you see that?                       25   illegal use of painkillers, more than 4,000
                                              Page 143                                            Page 145
     1       A. Yes, sir.                                 1   people died in 2010 from overdoses associated
     2       Q. The second sentence of that               2   with oxycodone, methadone, hydrocodone,
     3   paragraph says, "It was also a recidivist.       3   morphine and benzodiazepines, according to
     4   Cardinal settled similar allegations in 2008     4   data from the Florida Medical Examiner's
     5   for $34 million" --                              5   Office cited in court documents. The same
     6       A. Wait a minute. I lost you.                6   year Florida's Surgeon General reported that
     7   Sorry.                                           7   98 of the 100 doctors dispensing the most
     8       Q. I'm sorry. Sure. The --                   8   oxycodone in the US were located in this
     9       A. It's "In the DEA's view"?                 9   state."
    10       Q. Yes, the second --                       10            Do you see that?
    11       A. Okay.                                    11       A. Yes, sir.
    12       Q. Second line over toward the              12       Q. Do you recall being aware of
    13   right. "It was also a recidivist."              13   the circumstance described in the last
    14            Do you see that?                       14   sentence of that paragraph, namely the 98 of
    15       A. I'm not seeing it.                       15   the 100 doctors identified by the Florida
    16       Q. Second line of that paragraph.           16   Surgeon General back in 2012?
    17       A. Oh, okay. Yes.                           17            MR. DAVISON: Objection to
    18       Q. "It was also a recidivist.               18       form.
    19   Cardinal settled similar allegations in 2008    19            THE WITNESS: I don't recall
    20   for $34 million, then the largest fine under    20       the specific details or numbers.
    21   the Controlled Substances Act."                 21   QUESTIONS BY MR. GOTTO:
    22            Do you see that?                       22       Q. Okay. The next paragraph
    23       A. Yes, sir.                                23   states that "a prescription of 180 pills of
    24       Q. Do you recall being aware in             24   30 milligrams of oxycodone without health
    25   2012 or before that Cardinal had paid a         25   insurance retails for about $260. On the

   Golkow Litigation Services                                                Page 37 (142 - 145)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further38Confidentiality
                                                         of 84. PageID #: 242431
                                                                             Review
                                              Page 146                                            Page 148
     1   street, each pill fetches as much as $30,        1            MR. DAVISON: Objection.
     2   according to the DEA. Pills bought in            2            THE WITNESS: No idea.
     3   Florida are illegally sold along the East        3   QUESTIONS BY MR. GOTTO:
     4   Coast and in the Midwest, the DEA reports."      4       Q. Of the accounts that you had
     5            Do you see that?                        5   responsibility for in the 2012 time frame,
     6       A. Yes, sir.                                 6   did all of those accounts purchase oxycodone
     7       Q. Do you recall being aware in              7   30-milligram tablets from Mallinckrodt?
     8   2012 of the circumstance described in the        8            MR. DAVISON: Objection.
     9   last sentence of that paragraph, namely that     9            THE WITNESS: I don't recall.
    10   pills bought in Florida were illegally sold     10   QUESTIONS BY MR. GOTTO:
    11   along the East Coast and in the Midwest?        11       Q. Do you recall any accounts that
    12            MR. DAVISON: Objection to              12   did not?
    13       form.                                       13       A. No.
    14            THE WITNESS: I cannot                  14            MR. DAVISON: Objection.
    15       specifically remember that, no.             15            THE WITNESS: I do not.
    16   QUESTIONS BY MR. GOTTO:                         16   QUESTIONS BY MR. GOTTO:
    17       Q. Do you recall becoming aware of          17       Q. Okay. And without confining it
    18   that circumstance at some point?                18   to the 2012 time frame, at any point that you
    19            MR. DAVISON: Objection.                19   were regional or national account manager or
    20            THE WITNESS: Yes, sir.                 20   director, do you recall any of the accounts
    21   QUESTIONS BY MR. GOTTO:                         21   that you had responsibility for not
    22       Q. You don't know when though?              22   purchasing oxycodone 30-milligram tablets
    23       A. No, sir.                                 23   from Mallinckrodt?
    24       Q. Do you recall -- apart from              24            MR. DAVISON: Objection.
    25   this article and the other press clippings      25            THE WITNESS: I can't say yes
                                              Page 147                                            Page 149
     1   we've looked at here today, do you recall        1       or no. I don't know. I don't recall.
     2   receiving from anyone else at Mallinckrodt in    2   QUESTIONS BY MR. GOTTO:
     3   the 2012 or prior time frame any                 3       Q. Okay. In the 2012 time frame,
     4   communications regarding the phenomenon that     4   again, among the accounts that you had
     5   pills sold in Florida were illegally sold        5   responsibility for, where would oxycodone
     6   outside of the state of Florida, or resold       6   30-milligram tablets rank in terms of sales
     7   outside the state of Florida?                    7   volume from Mallinckrodt to your accounts as
     8            MR. DAVISON: Objection.                 8   compared to other Mallinckrodt products?
     9            THE WITNESS: I cannot recall            9            MR. DAVISON: Objection.
    10       specifically, sir.                          10            THE WITNESS: I can't speak to
    11   QUESTIONS BY MR. GOTTO:                         11       that, sir. It varied.
    12       Q. Now, the paragraph that we were          12   QUESTIONS BY MR. GOTTO:
    13   just looking at at the bottom of the second     13       Q. Do you know if there were other
    14   page of Exhibit 6, it says that "a              14   Mallinckrodt products that outsold oxy 30
    15   prescription of 180 pills of 30 milligrams of   15   milligram to any of the accounts for which
    16   oxycodone without health insurance retails      16   you had responsibility in 2012?
    17   for about $260," correct?                       17            MR. DAVISON: Objection.
    18       A. Yes, sir.                                18            THE WITNESS: I don't know the
    19       Q. And that was a product that              19       answer to that.
    20   Mallinckrodt sold, right, oxycodone             20   QUESTIONS BY MR. GOTTO:
    21   30-milligram tablets?                           21       Q. Is that something that -- well,
    22       A. Yes, sir.                                22   strike that.
    23       Q. Do you recall the approximate            23            In the 2012 time frame -- well,
    24   price that Mallinckrodt at this time was        24   strike that.
    25   selling oxycodone 30-milligram tablets for?     25            At any time as a national

   Golkow Litigation Services                                                Page 38 (146 - 149)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further39Confidentiality
                                                         of 84. PageID #: 242432
                                                                             Review
                                             Page 150                                             Page 152
     1   account manager, did you have a practice of      1       specifically. It depended on
     2   evaluating in any way the relative volume of     2       contracts and customer.
     3   different Mallinckrodt products that were        3   QUESTIONS BY MR. GOTTO:
     4   purchased by your accounts?                      4       Q. Okay. Is it possible that for
     5            MR. DAVISON: Objection.                 5   given customers it would have been oxycodone
     6            THE WITNESS: Restate that.              6   30-milligram tablets?
     7   QUESTIONS BY MR. GOTTO:                          7             MR. DAVISON: Objection.
     8       Q. Sure.                                     8             THE WITNESS: I can't answer
     9            So as a national account                9       that.
    10   manager, did you have a practice of             10   QUESTIONS BY MR. GOTTO:
    11   evaluating the relative volume of different     11       Q. So as you sit here today, you
    12   Mallinckrodt products that were purchased by    12   don't -- you don't -- you can't rule that
    13   your various accounts?                          13   out?
    14            MR. DAVISON: Objection.                14             MR. DAVISON: Objection.
    15            THE WITNESS: In doing contract         15             THE WITNESS: I can't answer
    16       compliance, I would measure their           16       it, truthfully.
    17       compliance to the contract based on         17   QUESTIONS BY MR. GOTTO:
    18       the volumes that they provided.             18       Q. Okay. You can set that one
    19   QUESTIONS BY MR. GOTTO:                         19   aside.
    20       Q. Okay. So in a contract with a            20             (Mallinckrodt-New Exhibit 7
    21   given account, there would be a projected       21       marked for identification.)
    22   volume of the various Mallinckrodt products     22   QUESTIONS BY MR. GOTTO:
    23   that they would be buying, correct?             23       Q. We've marked as Exhibit 7 a
    24       A. Correct.                                 24   two-page document beginning at Bates
    25       Q. And then you monitored that              25   MNK-T1_0004155440. It appears to be an
                                             Page 151                                             Page 153
     1   over time in an effort to, I think, drive        1   e-mail from Ms. Williams to yourself and
     2   compliance, was the term I saw earlier today.    2   others forwarding a Bloomberg Businessweek
     3       A. Right.                                    3   press account.
     4       Q. So among your various                     4            Take a moment to look at that
     5   accounts -- let's talk about Kroger, for         5   and tell me if you recognize that document.
     6   example, just as an example.                     6        A. Yes, sir.
     7           Oxycodone 30-milligram tablets,          7        Q. Do you recognize the document?
     8   in terms of their projected demand, where did    8        A. No.
     9   that product rank relative to the other          9        Q. Okay. So Ms. Williams' e-mail
    10   products that they projected demand from        10   is to the national account managers, plus a
    11   Mallinckrodt?                                   11   carbon copy to Ms. Cardetti, correct?
    12           MR. DAVISON: Objection to               12        A. Correct.
    13       form.                                       13        Q. And she's forwarding an e-mail
    14           THE WITNESS: I cannot speak to          14   from Stephen Littlejohn to a large number of
    15       ranking specific products because           15   persons.
    16       contracts changed continuously.             16            I think you already testified
    17   QUESTIONS BY MR. GOTTO:                         17   you don't know who Mr. Littlejohn was,
    18       Q. Do you recall in general what            18   correct?
    19   you viewed to be the highest volume products    19        A. No.
    20   that Mallinckrodt -- the highest volume         20        Q. Could you look at the persons
    21   controlled substance products that              21   to whom Mr. Littlejohn's e-mail is sent.
    22   Mallinckrodt was selling to your accounts?      22   Tell me if you -- if you recognize any of
    23           MR. DAVISON: Objection to               23   those names as being any part of
    24       form.                                       24   Mallinckrodt's compliance department.
    25           THE WITNESS: Again, not                 25        A. Yes.
   Golkow Litigation Services                                                Page 39 (150 - 153)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further40Confidentiality
                                                         of 84. PageID #: 242433
                                                                             Review
                                             Page 154                                             Page 156
     1       Q. Who do you recognize?                     1   survey on drug use and health."
     2       A. John Gillies, Donald Lohman,              2            Do you see that?
     3   likely Brian Elsbernd, Stu Kim potentially.      3       A. Yes, sir.
     4       Q. Okay.                                     4       Q. Do you recall being aware of
     5       A. Everybody's positions moved               5   that circumstance back in 2012 or before?
     6   around sometimes, so...                          6            MR. DAVISON: Objection to
     7       Q. Okay. So the article is a                 7       form.
     8   Bloomberg Businessweek piece that reports on     8            THE WITNESS: No, sir, I do
     9   two CVS stores being barred from selling         9       not.
    10   controlled substances, correct?                 10   QUESTIONS BY MR. GOTTO:
    11       A. Correct.                                 11       Q. Okay. And so oxycodone, of
    12       Q. Do you have an understanding as          12   course, that was a product that Mallinckrodt
    13   to why Ms. Williams forwarded this article to   13   manufactured, correct?
    14   yourself and the other account managers?        14       A. That's correct.
    15       A. No.                                      15            MR. DAVISON: Objection.
    16       Q. Okay. CVS wasn't an account of           16   QUESTIONS BY MR. GOTTO:
    17   yours at this time, correct?                    17       Q. As was hydrocodone, correct?
    18       A. That is correct.                         18       A. Correct.
    19       Q. Do you know whose account it             19       Q. How about oxymorphone?
    20   was?                                            20       A. It was a product in our
    21       A. No, I don't recall.                      21   portfolio. I do not remember the time frame.
    22       Q. Okay. And if you look at the             22       Q. Okay. Do you recall back in
    23   second page of the exhibit, the third           23   2012 or before having any concerns personally
    24   paragraph -- well, let's see.                   24   with respect to which -- with respect to the
    25           So do you see that in the               25   extent to which Americans were using
                                             Page 155                                             Page 157
     1   middle of the text, the words "eight times"?     1   painkillers such as oxycodone, hydrocodone or
     2       A. Yes, sir.                                 2   oxymorphone for nonmedical purposes?
     3       Q. Okay. So right below that it              3            MR. DAVISON: Objection.
     4   says, "Cardinal, based in Dublin, Ohio, last     4            THE WITNESS: Can you please
     5   week" -- I'm sorry -- "last year shipped         5       restate that question?
     6   enough oxycodone to the two CVS pharmacies in    6   QUESTIONS BY MR. GOTTO:
     7   Sanford to supply a population eight times       7       Q. Yes.
     8   the city's size, according to the US. The        8       A. It was confusing.
     9   DEA alleged in court filings that Cardinal       9       Q. Sure.
    10   didn't question the orders or heed warnings     10            Do you recall in this time
    11   to conduct on-site audits."                     11   frame, 2012 or before, having any personal
    12            Do you see that?                       12   concerns regarding the extent to which
    13       A. Yes, sir.                                13   Americans were using painkillers such as
    14       Q. Do you recall being aware of             14   oxycodone, hydrocodone and oxymorphone for
    15   that circumstance back in 2012 that's           15   nonmedical purposes?
    16   reported in this article?                       16            MR. DAVISON: Objection.
    17            MR. DAVISON: Objection to              17            THE WITNESS: No.
    18       form.                                       18   QUESTIONS BY MR. GOTTO:
    19            THE WITNESS: Not specifically.         19       Q. The next paragraph in the
    20   QUESTIONS BY MR. GOTTO:                         20   article says, "A baby is born every hour in
    21       Q. Okay. The following paragraph            21   the US addicted to prescription painkillers,
    22   says, "About 5 million Americans use            22   according to a study published April 30 in
    23   painkillers such as oxycodone, hydrocodone      23   the Journal of the American Medical
    24   and oxymorphone for nonmedical purposes,        24   Association."
    25   according to the Government's 2010 national     25            Do you recall being aware of

   Golkow Litigation Services                                                Page 40 (154 - 157)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further41Confidentiality
                                                         of 84. PageID #: 242434
                                                                             Review
                                              Page 158                                             Page 160
     1   that statistic back in 2012 regarding            1       Q. And in what context -- in terms
     2   painkiller-addicted babies?                      2   of your own accounts, in what context would
     3            MR. DAVISON: Objection.                 3   you expect her to periodically be
     4            THE WITNESS: No, sir.                   4   communicating directly with your accounts?
     5   QUESTIONS BY MR. GOTTO:                          5            MR. DAVISON: Objection to
     6       Q. Okay. You can set that aside.             6       form.
     7            (Mallinckrodt-New Exhibit 8             7            THE WITNESS: Karen was in
     8       marked for identification.)                  8       charge of the SOMS program, and I did
     9   QUESTIONS BY MR. GOTTO:                          9       not dictate who she could communicate
    10       Q. We've marked as Exhibit 8 a              10       with or not communicate with.
    11   multipage document beginning at Bates           11   QUESTIONS BY MR. GOTTO:
    12   MNK-T1_0001140522. Appears to be an e-mail      12       Q. Okay. So the article -- the
    13   from Karen Harper to a number of folks,         13   headline is "DEA Aims Big in Cardinal Health
    14   including yourself, or at least you're copied   14   Painkiller Case."
    15   on it, forwarding a press account regarding     15            Do you see that?
    16   Cardinal Health.                                16       A. Yes.
    17            Take a moment to look at that          17       Q. And if you turn to the second
    18   and tell me if you recognize it.                18   page of Exhibit 8, up from the bottom, one,
    19       A. I don't recall the document,             19   two, three, four paragraphs, there's a
    20   no, sir.                                        20   paragraph that begins "More than 5 million
    21       Q. Okay. So Ms. Harper sent the             21   people."
    22   e-mail to Tanya Johnson at Thrifty White.       22            Do you see that?
    23            Who was Tanya Johnson?                 23       A. Yes, sir.
    24       A. My primary contact.                      24       Q. And similar to the article we
    25       Q. Okay. And that was one of your           25   just looked at indicates "More than 5 million
                                              Page 159                                             Page 161
     1   accounts, right?                                 1   people in the USA abuse narcotic painkillers.
     2       A. Yes, sir.                                 2   The Centers for Disease Control and
     3       Q. Okay.                                     3   Prevention classifies prescription drug abuse
     4       A. Now, this account changed. I              4   as an epidemic."
     5   assume it was mine in 2013.                      5            Do you recall being aware in
     6       Q. Okay. So Ms. Harper copied you            6   2013 that the Centers for Disease Control and
     7   on the e-mail as well as John Gillies.           7   Prevention had classified prescription drug
     8             Who was John Gillies?                  8   abuse as an epidemic?
     9       A. Security.                                 9       A. I don't recall specific time
    10       Q. Okay. And do you know -- did             10   frame.
    11   you have an understanding at this time as to    11       Q. You recall becoming aware of
    12   why Ms. Harper was e-mailing something          12   that at some point?
    13   directly to one of your accounts?               13       A. Yes, sir.
    14             MR. DAVISON: Objection.               14       Q. And the article goes on to say,
    15             THE WITNESS: I haven't read           15   "More than 27,000 died from prescription drug
    16       the article. I don't know what's in         16   overdoses in 2007, a fivefold increase since
    17       it, so, no, I do not.                       17   1990, which parallels a tenfold increase in
    18   QUESTIONS BY MR. GOTTO:                         18   the medical use of painkillers such as
    19       Q. Is that something that you can           19   oxycodone and hydrocodone, the CDC reports."
    20   recall happening on other occasions, where      20            Do you see that?
    21   Ms. Harper would be communicating directly      21       A. Yes, sir.
    22   with one of your accounts?                      22       Q. And do you recall in 2013 or
    23       A. I don't recall specifically,             23   before being aware of the increase in
    24   but it would not be out of the norm for her     24   prescription drug overdose deaths from 1990
    25   to communicate with an account.                 25   to 2007 that's reported in that sentence?

   Golkow Litigation Services                                                Page 41 (158 - 161)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further42Confidentiality
                                                         of 84. PageID #: 242435
                                                                             Review
                                             Page 162                                             Page 164
     1            MR. DAVISON: Objection.                1            (Mallinckrodt-New Exhibit 9
     2            THE WITNESS: No, sir, I don't          2       marked for identification.)
     3       recall the details.                         3   QUESTIONS BY MR. GOTTO:
     4   QUESTIONS BY MR. GOTTO:                         4       Q. We've marked as Exhibit 9 a
     5       Q. The sentence also indicates              5   two-page document, MNK-T1_0004903077, an
     6   that from 1990 to 2007 there was a tenfold      6   e-mail from Mr. Adams to yourself and others
     7   increase in the medical use of painkillers      7   forwarding a PR Newswire piece from
     8   such as oxycodone and hydrocodone, according    8   December 1 of 2007.
     9   to the CDC.                                     9            Take a moment to look at that
    10            In terms of your experience as        10   e-mail and the -- and the attached article
    11   a national -- as either a regional or          11   and tell me if you recognize them.
    12   national account manager or director, was it   12       A. Yes, sir.
    13   your -- was your experience with respect to    13       Q. Do you recognize those
    14   the levels of oxycodone and hydrocodone sold   14   e-mails --
    15   by Mallinckrodt to your accounts consistent    15       A. No, sir.
    16   with the tenfold increase that's reported in   16       Q. -- or the article?
    17   this paragraph?                                17            Okay. So Mr. Adams sent the
    18            MR. DAVISON: Objection to             18   e-mail to yourself, Mr. Becker, Mr. Borelli,
    19       form.                                      19   also Tim Berry.
    20            THE WITNESS: I don't have             20            Who was that?
    21       enough data to base a reply just on        21            MR. DAVISON: Objection.
    22       that sentence.                             22            THE WITNESS: Tim Berry was a
    23   QUESTIONS BY MR. GOTTO:                        23       national account manager.
    24       Q. If you turn to the next to last         24   QUESTIONS BY MR. GOTTO:
    25   page of the exhibit, in the middle of that     25       Q. Okay. And how about Toby Bane?
                                             Page 163                                             Page 165
     1   next to last page there's a paragraph that      1       A. A national account manager.
     2   has bolded "CVS Number 5195" at the heading.    2       Q. Okay. And the attached article
     3            Do you see that?                       3   talks about an order that Cardinal Health had
     4       A. Yes, sir.                                4   received to cease distribution of controlled
     5       Q. And the last sentence of that            5   substances from an Auburn, Washington
     6   paragraph says, "Although Cardinal's            6   facility, correct?
     7   electronic system for monitoring suspicious     7       A. Yes, sir.
     8   orders flagged the CVS orders 22 times for      8       Q. Do you recall being aware of
     9   further investigation, Cardinal never held a    9   this circumstance in 2007?
    10   shipment, notified the DEA or sent an          10             MR. DAVISON: Objection.
    11   investigator to visit the store, the DEA       11             MS. FIX MEYER: Objection.
    12   said."                                         12       Form. Foundation.
    13            Do you see that?                      13             THE WITNESS: No, sir, I do
    14       A. Yes, sir.                               14       not.
    15       Q. Do you recall being aware of            15   QUESTIONS BY MR. GOTTO:
    16   that circumstance, as reported in that         16       Q. And was Cardinal your account
    17   paragraph, in 2013?                            17   at that time?
    18            MR. DAVISON: Objection to             18       A. No, sir, it was not.
    19       form.                                      19       Q. And do you know whose account
    20            MS. FIX MEYER: Objection.             20   it was?
    21       Foundation.                                21       A. No, I'm not certain.
    22            THE WITNESS: No, sir.                 22             MR. GOTTO: All right. Why
    23   QUESTIONS BY MR. GOTTO:                        23       don't we go off the record.
    24       Q. You can set that document               24             VIDEOGRAPHER: We are going off
    25   aside.                                         25       the record at 12:41 p.m.

   Golkow Litigation Services                                               Page 42 (162 - 165)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further43Confidentiality
                                                         of 84. PageID #: 242436
                                                                             Review
                                             Page 166                                              Page 168
     1        (Off the record at 12:41 p.m.)              1            Do you know what she means by
     2            VIDEOGRAPHER: We are back on            2   chargebacks in this context?
     3       the record at 1:20 p.m.                      3            MR. DAVISON: Objection to
     4            (Mallinckrodt-New Exhibit 10            4       form.
     5       marked for identification.)                  5            THE WITNESS: A standard
     6   QUESTIONS BY MR. GOTTO:                          6       chargeback, I assume.
     7       Q. Ms. New, we've marked as                  7   QUESTIONS BY MR. GOTTO:
     8   Exhibit 10 a single-page document bearing        8       Q. And what are standard
     9   Bates MNK-T1_0000368650, an e-mail from Jane     9   chargebacks?
    10   Williams to yourself and Mr. Borelli and        10       A. The wholesaler acquires a
    11   Mr. Becker, copied to Ginger Collier and Lisa   11   product at a price. A customer purchases at
    12   Lundergan.                                      12   that price. The customer has a contract with
    13            Take a moment to look at that          13   Mallinckrodt and they charge back the data,
    14   document and tell me if you recognize it,       14   and we reimburse the customer for the
    15   please.                                         15   difference between the wholesale price and
    16       A. I don't recall the document              16   their actual contract price.
    17   specifically now.                               17       Q. Okay. And is -- are
    18       Q. Okay. So Ms. Williams mentions           18   chargebacks something that you monitored in
    19   in her e-mail first that -- asked you to take   19   your role as national account manager?
    20   a look at an attachment focusing on the         20       A. No, sir.
    21   15-milligram product where she says, "We are    21       Q. Okay. Did you ever have
    22   trending poorly on that SKU. Our demand is      22   occasion to review chargeback information
    23   off by 20 percent pre-November."                23   with respect to any of your accounts?
    24            And I take it if you look at           24       A. No, not specifically. There
    25   the subject line it's oxy IR 15 milligram       25   was a team of folks that did the chargebacks
                                             Page 167                                              Page 169
     1   that she's talking about.                        1   and managed that part of the system.
     2            Do you recall in 2011 this              2       Q. What team was that?
     3   being an issue, of demand being off for oxy      3       A. I called it the chargeback
     4   IR 15 milligrams?                                4   team.
     5            MR. DAVISON: Objection to               5       Q. Okay.
     6       form.                                        6       A. If they had a proper title, I'm
     7            THE WITNESS: Not specifically,          7   not familiar.
     8       no.                                          8       Q. Okay. Is that CDIG? Is that
     9   QUESTIONS BY MR. GOTTO:                          9   an acronym that means anything in this
    10       Q. Ms. Williams says the market             10   context?
    11   appears to continue to grow. She asked for      11       A. There's CDIG and PDIG, and I --
    12   ideas as to what's happening.                   12   they were probably part of that group, but
    13            Do you recall taking any steps         13   the distinction between the two -- it was an
    14   to evaluate what was happening in the market    14   acronym.
    15   in mid-2011 with respect to oxy 15 milligram?   15       Q. Okay. In that second
    16            MR. DAVISON: Objection to              16   paragraph, at the very end Ms. Williams says,
    17       form.                                       17   "Our customers are approaching safety stock
    18            THE WITNESS: I cannot speak to         18   levels, question mark?"
    19       the specific situation, no.                 19            Do you know what that phrase
    20   QUESTIONS BY MR. GOTTO:                         20   means, "safety stock"?
    21       Q. Okay. Next paragraph she says,           21            MR. DAVISON: Objection to
    22   "I'm also concerned with the drop in            22       form.
    23   chargebacks on the 30 milligram. They are       23   QUESTIONS BY MR. GOTTO:
    24   9 percent lower than our ship rate in the       24       Q. Or "safety stock levels"?
    25   past six months."                               25            MR. DAVISON: Same objection.
   Golkow Litigation Services                                                Page 43 (166 - 169)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further44Confidentiality
                                                         of 84. PageID #: 242437
                                                                             Review
                                              Page 170                                             Page 172
     1            THE WITNESS: I'm not sure               1   that anyway?" And there's several bullet
     2       about that comment.                          2   items. Just take a moment to read that slide
     3            (Mallinckrodt-New Exhibit 11            3   to yourself.
     4       marked for identification.)                  4       A. Okay.
     5   QUESTIONS BY MR. GOTTO:                          5       Q. Is that a fair summary of the
     6       Q. The next document is                      6   role of a national account manager?
     7   Exhibit 11. We'll actually display on the        7            MR. DAVISON: Objection to
     8   screen. It was produced in native at             8       form.
     9   MNK-T1_0001531370.                               9            THE WITNESS: During the
    10            MR. DAVISON: Do we have a copy         10       Covidien time frame and that
    11       of it? Native?                              11       management, yes.
    12            MR. GOTTO: I don't have a              12   QUESTIONS BY MR. GOTTO:
    13       printout of it. We have only that.          13       Q. Okay. Do you recall if you had
    14            MR. DAVISON: I'm going to              14   any involvement in the preparation of this
    15       object to it then.                          15   summary?
    16            MR. GOTTO: Okay.                       16       A. No, and I don't know if it's a
    17   QUESTIONS BY MR. GOTTO:                         17   final document or a draft.
    18       Q. And so if we look up on the              18       Q. The very last bullet item,
    19   screen, Ms. New, this appears to be a           19   "Responsible for the customer P&L." What
    20   customer review, Mallinckrodt retail            20   does that phrase mean in this context?
    21   generics, Hobart management team and generic    21            MR. DAVISON: Objection.
    22   training {sic} from September 15th of 2011.     22            THE WITNESS: Making sure that
    23            And my first question for you          23       the customer is compliant to their
    24   is whether you recognize that document just     24       contract and following the terms of
    25   based on its cover or first slide.              25       their agreement.
                                              Page 171                                             Page 173
     1            MR. DAVISON: Objection.                 1   QUESTIONS BY MR. GOTTO:
     2            THE WITNESS: No.                        2       Q. Okay. Next slide, please.
     3            MR. DAVISON: Can I just get a           3   Next slide.
     4       standing objection to the document           4            And actually if you just jump
     5       without having --                            5   to the pie chart at the end.
     6            MR. GOTTO: Sure.                        6            This is a pie chart, all
     7            MR DAVISON: -- so I'm not               7   generics 2011 year-to-date net sales by
     8       interrupting you?                            8   product family.
     9            Thanks.                                 9            I don't know, can you read it
    10            THE WITNESS: I don't recall            10   from over there?
    11       this specific document, no.                 11       A. Yeah, somewhat.
    12   QUESTIONS BY MR. GOTTO:                         12       Q. Okay. And I can just tell you,
    13       Q. Okay. Why don't we go to the             13   in the upper right it's hydrocodone,
    14   second slide, please.                           14   26 percent; then oxycodone, 19 percent; and
    15            And the second slide says,             15   then oxycodone/APAP, 14 percent; and then
    16   "Meet the retail team," lists five              16   various other products with smaller
    17   individuals, including yourself.                17   percentages on the left.
    18            Do you recall that group being         18            Is that consistent with your
    19   referred to as the retail team at               19   recollection of approximate relative sales
    20   Mallinckrodt from time to time?                 20   levels in 2011 of hydrocodone being
    21       A. Correct.                                 21   approximately 26 percent, oxycodone
    22       Q. Let's go to the next slide,              22   approximately 19 percent, oxycodone/APAP
    23   please.                                         23   approximately 14 percent?
    24            The next slide, "Retail                24       A. I can't speak to that
    25   national account manager, what kind of job is   25   specifically. I don't recall the product
   Golkow Litigation Services                                                Page 44 (170 - 173)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further45Confidentiality
                                                         of 84. PageID #: 242438
                                                                             Review
                                              Page 174                                             Page 176
     1   family percentages.                              1   QUESTIONS BY MR. GOTTO:
     2       Q. Okay. Let's go to the prior               2       Q. Okay. What would be the
     3   slide, please.                                   3   generic sales that are not included among
     4            And this slide is a                     4   retail generics that would account for the
     5   year-to-date net sales performance for           5   other approximate 30 percent?
     6   various products, and it shows hydrocodone,      6            MR. DAVISON: Objection to
     7   93.4 million; oxycodone, 67.2 million;           7       form.
     8   oxycodone/APAP, 50.8 million; and then data      8            THE WITNESS: It doesn't
     9   on the budget and the variance.                  9       include the addiction treatment
    10            Are those figures consistent           10       business, and I don't -- because I
    11   with your recollection of approximate dollar    11       don't have access to the data or any
    12   volumes of those products in 2011?              12       information, I can't really confirm or
    13            MR. DAVISON: Objection to              13       deny any of it, basically, as far as
    14       form.                                       14       percentages.
    15            THE WITNESS: I can't speak to          15   QUESTIONS BY MR. GOTTO:
    16       that specifically.                          16       Q. Okay. All right. We can go to
    17            VIDEOGRAPHER: Can I go off the         17   the next document.
    18       record for a moment?                        18            (Mallinckrodt-New Exhibit 12
    19            MR. GOTTO: Sure.                       19       marked for identification.)
    20            VIDEOGRAPHER: We are going off         20   QUESTIONS BY MR. GOTTO:
    21       the record at 1:29 p.m.                     21       Q. Next document is Exhibit 12,
    22        (Off the record at 1:29 p.m.)              22   also produced in native MNK-T1_0002714634.
    23            VIDEOGRAPHER: We are back on           23   And we also just had --
    24       the record at 1:30 p.m.                     24            MR. DAVISON: Do you have
    25                                                   25       copies of this?
                                              Page 175                                             Page 177
     1   QUESTIONS BY MR. GOTTO:                          1            MR. GOTTO: No, I'm sorry, I
     2       Q. Okay. In any event, you don't             2       don't have any copies of that.
     3   have any reason to doubt the accuracy of         3            MR. DAVISON: Can we go off the
     4   these figures, do you?                           4       record?
     5             MR. DAVISON: Objection to              5            VIDEOGRAPHER: We are going off
     6       form.                                        6       the record at 1:31 p.m.
     7             THE WITNESS: I can't speak to          7        (Off the record at 1:31 p.m.)
     8       it either way.                               8            VIDEOGRAPHER: We are back on
     9   QUESTIONS BY MR. GOTTO:                          9       the record at 1:32 p.m.
    10       Q. Okay. Go to the retail                   10            MR. DAVISON: And I'm just
    11   business segment, please.                       11       going to lodge a standing objection
    12             And so this slide is                  12       against the use of this document
    13   encaptioned "Retail Business Segment." It       13       without having copies as required by
    14   says, "Retail generics drive over 70 percent    14       the deposition protocol.
    15   of the total generic sales budget for           15            MR. GOTTO: Okay. Understood.
    16   Mallinckrodt."                                  16   QUESTIONS BY MR. GOTTO:
    17             Do you see that?                      17       Q. Ms. New, this is a spreadsheet
    18       A. Yes, sir.                                18   that -- could you scroll over to the left,
    19       Q. Is that consistent with your             19   please? A retail F '12 budget document. And
    20   recollection from 2011?                         20   maybe you could shrink it down a little bit
    21             MR. DAVISON: Objection to             21   to see more of the document.
    22       form.                                       22            Is this a document that's
    23             THE WITNESS: I don't know that        23   familiar to you, this retail ledger document?
    24       for certain.                                24            And can you just make it bigger
    25                                                   25   to see from over there.

   Golkow Litigation Services                                                Page 45 (174 - 177)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further46Confidentiality
                                                         of 84. PageID #: 242439
                                                                             Review
                                              Page 178                                             Page 180
     1       A. I have no idea where the data             1   e-mail in the middle of that page provides
     2   came from or specifically if it's accurately     2   some background to Ms. Williams about the
     3   or not.                                          3   requests that you're making here for Thrifty
     4       Q. Okay. I'm just going to show              4   White, correct?
     5   you what's on the different tabs to see if       5       A. Correct.
     6   that sparks anything in your mind.               6       Q. And indicates they're asking
     7            This is a tab called quota              7   for 30 days' extra dating while they test --
     8   retail NAM which appears to have a series of     8   or their request for 30 days' extra dating
     9   data regarding different products with a         9   while they test is to allow them time to have
    10   series of columns as you can see.               10   the inventory, but they don't think they will
    11            Is this a document, a format,          11   be able to actually ship until mid-February,
    12   that's familiar to you at all?                  12   correct?
    13       A. I'm not sure what this is.               13       A. Correct.
    14       Q. Okay. This isn't a report that           14       Q. So the extra 30 days that
    15   you used regularly in your -- in your duties    15   you're talking about here, an extra 30 days
    16   as a national account manager?                  16   for what purpose?
    17            MR. DAVISON: Objection to              17       A. To stock their warehouse and
    18       form.                                       18   test their system, like it says.
    19            THE WITNESS: And time frame            19       Q. And it would be an extra
    20       is?                                         20   30 days compared to -- what would be the
    21   QUESTIONS BY MR. GOTTO:                         21   normal time period that they would be allowed
    22       Q. I believe it's 2012.                     22   for that purpose?
    23       A. Yeah, I don't recall. The                23       A. This is a nonscheduled product,
    24   process has changed over time.                  24   naltrexone, so it is dependent on the
    25       Q. Okay. All right. We can go               25   individual customer and their needs.
                                              Page 179                                             Page 181
     1   on.                                              1        Q. Okay. And if you turn to the
     2             (Mallinckrodt-New Exhibit 13           2   first page of the exhibit, the e-mail from
     3        marked for identification.)                 3   you at the top, you say, "I talked to Thrifty
     4   QUESTIONS BY MR. GOTTO:                          4   White. We're only talking naltrexone, so we
     5        Q. We've marked as Exhibit 13 a             5   agreed we would not pursue the additional
     6   multipage document beginning at Bates            6   30 days' dating, but we will give them the
     7   MNK-T1_0005539361, a series of e-mails.          7   5 percent allowance."
     8             If you'd take a moment to look         8            Do you know what the 5 percent
     9   at those e-mails and tell me if you recognize    9   allowance is that you're discussing?
    10   them.                                           10        A. The 5 percent on the naltrexone
    11        A. Do you want me to read it               11   would have given them time to test their
    12   first?                                          12   system before they could sell it out to their
    13        Q. Yeah.                                   13   pharmacies.
    14        A. All the way through?                    14        Q. Okay. And was that allowance
    15        Q. Well, whatever you need to do           15   given to them?
    16   to familiarize yourself with it, just to see    16        A. Excuse me?
    17   if it's familiar to you.                        17        Q. Was that allowance given to
    18        A. Okay.                                   18   them; do you recall?
    19        Q. Do you recognize those e-mails?         19        A. I'm sorry, say one more --
    20        A. Somewhat.                               20        Q. Was that allowance given to
    21        Q. Okay. They concern the Thrifty          21   them; do you recall?
    22   White account from 2011, correct?               22        A. I can't answer that.
    23        A. Correct.                                23            (Mallinckrodt-New Exhibit 14
    24        Q. And I think your -- if you look         24        marked for identification.)
    25   on the second page of the exhibit, your         25


   Golkow Litigation Services                                                Page 46 (178 - 181)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further47Confidentiality
                                                         of 84. PageID #: 242440
                                                                             Review
                                              Page 182                                            Page 184
     1   QUESTIONS BY MR. GOTTO:                          1       Q.   Okay. Okay. You can set that
     2       Q. Okay. Let's go to the next                2   aside.
     3   one.                                             3            (Mallinckrodt-New Exhibit 15
     4            The next document is a document         4        marked for identification.)
     5   that was produced in native                      5   QUESTIONS BY MR. GOTTO:
     6   MNK-T1_0004292574. It's a spreadsheet. You       6       Q. We've marked as Exhibit 15 a
     7   have two pages in front of you printed out       7   multipage document beginning at Bates
     8   from the spreadsheet.                            8   MNK-T1_0002737439. It appears to be an
     9            Is this spreadsheet in a format         9   e-mail from Ms. Williams attaching a
    10   that you're familiar with?                      10   spreadsheet.
    11       A. This data was ran by one of our          11            You can take a moment to look
    12   analysts, I believe.                            12   at those materials and tell me if you
    13       Q. And what causes you to think             13   recognize them, please.
    14   that?                                           14       A. Okay.
    15       A. The format.                              15       Q. Do you recognize the e-mails or
    16       Q. Okay. Do you know what the               16   the attachment?
    17   purpose would be for the analyst running this   17       A. Not this specific e-mail.
    18   data?                                           18       Q. And how about the attachment
    19            MR. DAVISON: Objection. Form.          19   and its format, is that something you
    20            THE WITNESS: It could be               20   recognize?
    21       varied.                                     21       A. Again, not this specific one,
    22   QUESTIONS BY MR. GOTTO:                         22   but similar ones.
    23       Q. Do you recall seeing either              23       Q. Okay. And so this
    24   this report or other reports in this format?    24   attachment -- two tables. One says oxy
    25       A. Yes.                                     25   15-milligram end purchaser sale trends; the
                                              Page 183                                            Page 185
     1       Q. And for what purposes did you             1   other is oxy 30-milligram end purchaser sales
     2   use such reports?                                2   trend. Correct?
     3       A. I took the higher-level                   3       A. Correct.
     4   information from the analyst. I didn't dig       4       Q. And so the -- do you have an
     5   down into these kind of details, so I had an     5   understanding as to who the end purchasers --
     6   overall view.                                    6   what's meant by the phrase "end purchaser" on
     7       Q. Okay. So what sort of                     7   these tables?
     8   higher-level information would you get from      8            MR. DAVISON: Objection.
     9   the analyst on a report like this?               9            THE WITNESS: I don't know
    10       A. Basically the comments would be          10       specifically what they meant by "end
    11   reviewed.                                       11       purchaser."
    12       Q. The comments column?                     12   QUESTIONS BY MR. GOTTO:
    13       A. Yes.                                     13       Q. Okay. If you look at the
    14       Q. Okay. And this particular                14   parties identified in the customer columns on
    15   report appears to deal with Walmart.            15   those tables --
    16            Was Walmart your account at            16       A. Right.
    17   this time?                                      17       Q. -- do those appear to you to be
    18       A. Did I see the time frame on              18   Mallinckrodt customers?
    19   this?                                           19       A. Yes.
    20       Q. Well, there's a promise ship             20       Q. Okay. And so this appears to
    21   date and a ship date column that have dates     21   track orders over the past three months, past
    22   in them.                                        22   six months, past 12 months, and compare the
    23       A. Time frame? I cannot be                  23   past three-month average to the past 12-month
    24   certain that it was the time frame that I had   24   average, correct?
    25   the Walmart account.                            25       A. Correct.

   Golkow Litigation Services                                                Page 47 (182 - 185)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further48Confidentiality
                                                         of 84. PageID #: 242441
                                                                             Review
                                              Page 186                                            Page 188
     1        Q. And so is that data that you             1        A. Just -- perhaps my buyer would
     2   would -- of the sort that you would regularly    2   tell me. Various sources.
     3   look at in your role as a national account       3        Q. Okay. So apart from the buyer,
     4   manager?                                         4   who would be some of the -- I understand how
     5        A. Depending on the market.                 5   the buyer would be in a position to tell you
     6        Q. So this data was forwarded to            6   that.
     7   you by Ms. Williams.                             7            Who else would be in a position
     8             Is the sales trend data of the         8   to give you that information?
     9   type that's summarized in the attachment, is     9        A. An analyst. One of our
    10   that something you would sometimes look at on   10   analysts.
    11   your own initiative, or would you only look     11        Q. And do you know what
    12   at it when provided to you, for example, by     12   information the Mallinckrodt analyst would
    13   Ms. Williams?                                   13   access to answer that kind of question?
    14             MR. DAVISON: Objection to             14            MR. DAVISON: Objection.
    15        form.                                      15            THE WITNESS: Yeah, they had
    16             THE WITNESS: If it was                16        various tools that they used.
    17        provided to me, I would look at it,        17   QUESTIONS BY MR. GOTTO:
    18        but it's not something I would pull        18        Q. Okay. And how about
    19        myself.                                    19   Ms. Williams' point about how have the
    20   QUESTIONS BY MR. GOTTO:                         20   wholesalers adjusted the price on their
    21        Q. Okay. Did you have access to            21   program, do you have an understanding as to
    22   the data such that you could pull this          22   what she's asking there?
    23   information yourself if you chose to?           23            MR. DAVISON: Objection to
    24        A. I probably did, but I can't say         24        form.
    25   that specifically.                              25            THE WITNESS: Not specifically.
                                              Page 187                                            Page 189
     1       Q. Okay. In her cover e-mail,                1   QUESTIONS BY MR. GOTTO:
     2   Ms. Williams, in the next to last paragraph      2       Q. Do you have a general
     3   says, "Also, when wholesale -- when              3   understanding?
     4   wholesaler programs are down, please do your     4            MR. DAVISON: Objection.
     5   best to verify who is picking up the sales       5            THE WITNESS: It depends on
     6   and how have the wholesalers adjusted the        6       what's going on in the market. I
     7   price on their program."                         7       can't make any assumptions on this.
     8            Do you see that language?               8   QUESTIONS BY MR. GOTTO:
     9       A. Yes.                                      9       Q. So Ms. Williams references that
    10       Q. So how would you go about                10   today Steve indicated that Cardinal was
    11   following through on what Ms. Williams is       11   stocking Actavis 30 milligram. Source price
    12   asking for there, namely doing your best to     12   for them is 39-16 and for us is 39-44.
    13   verify who is picking up the sales and how      13            Do you know -- so the
    14   have the wholesalers adjusted the price on      14   competitive price that's cited in that -- in
    15   their program?                                  15   that sentence, do you know how Mallinckrodt
    16            MR. DAVISON: Objection.                16   would gain that information?
    17            THE WITNESS: Generally I would         17            MR. DAVISON: Objection to
    18       know that from knowing my account. If       18       form.
    19       I lost business to a competitor, I          19            THE WITNESS: Because Cardinal
    20       generally knew who that competitor          20       was not my account, I can't speak for
    21       was.                                        21       Steve. I don't know how he found out.
    22   QUESTIONS BY MR. GOTTO:                         22   QUESTIONS BY MR. GOTTO:
    23       Q. And how did you learn that?              23       Q. Okay. You can set that aside.
    24       A. Competitive intel.                       24            (Mallinckrodt-New Exhibit 16
    25       Q. Where would that come from?              25       marked for identification.)
   Golkow Litigation Services                                                Page 48 (186 - 189)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further49Confidentiality
                                                         of 84. PageID #: 242442
                                                                             Review
                                              Page 190                                             Page 192
     1   QUESTIONS BY MR. GOTTO:                          1   formula based on products and their cost.
     2       Q. Exhibit 16 was produced in                2        Q. Okay. So more -- the term
     3   native MNK-T1_0001455032.                        3   "margin" in this context is what one would
     4            Just take a look at the                 4   typically associate with a concept of margin
     5   attached spreadsheet and tell me if that's a     5   in business?
     6   document whose format is familiar to you.        6              MR. DAVISON: Objection to
     7       A. Yes.                                      7        form.
     8       Q. And so what is that document?             8              THE WITNESS: I would
     9       A. I'm not sure where the data               9        understand it's pretty technical.
    10   came from.                                      10        It's not a simple formula, but...
    11       Q. Okay. Is the format of the               11   QUESTIONS BY MR. GOTTO:
    12   document familiar to you?                       12        Q. Sure.
    13       A. Yes, sir.                                13              The next column is pricing
    14       Q. Okay. And so have you seen               14   quantity. Is that how the -- how the unit is
    15   either this report or other similar reports     15   priced -- well, what does pricing quantity
    16   in this format?                                 16   mean?
    17       A. Sure.                                    17        A. I'm not sure, based on the fact
    18       Q. And for what purpose have                18   that I don't know where this data was pulled
    19   you -- when you were national account manager   19   and the time frame. I have no idea what it
    20   or director, for what purpose did you use       20   is referring to.
    21   reports that were in this format?               21        Q. Okay. And the next column, net
    22       A. I do not recall.                         22   sales dollar rank, is that ranking the
    23       Q. Okay. The format has --                  23   various customers by net sales for that
    24   there's a sales rep name, is the far left       24   product family?
    25   column, which has your name in it, correct?     25              MR. DAVISON: Objection to
                                              Page 191                                             Page 193
     1       A. Correct.                                  1       form.
     2       Q. Then there's a series of                  2            THE WITNESS: I don't know the
     3   product families in the next column?             3       answer to that.
     4       A. Yes, sir.                                 4   QUESTIONS BY MR. GOTTO:
     5       Q. And reporting parent                      5       Q. Okay. So, for example, if we
     6   name/number is the next column.                  6   look at the APAP codeine product family, the
     7            Is that the Mallinckrodt                7   second one --
     8   customer?                                        8       A. Yeah.
     9       A. Yes, probably based on DEA                9       Q. -- and we see Harvard Drug has
    10   number.                                         10   the highest net sales dollar entry in that
    11       Q. Okay. And then there's a net             11   column and is also ranked next -- net sales
    12   sales column. Would that be net sales from      12   dollar rank is 1, correct?
    13   Mallinckrodt to that customer of whatever the   13       A. Yeah. That's what it says,
    14   particular product family is?                   14   yes.
    15       A. Right, but no time period's              15       Q. Okay. And that pattern seems
    16   defined.                                        16   to obtain at least in APAP codeine, correct,
    17       Q. Okay. And then there's a sales           17   that the ranking is consistent with the
    18   and marketing net margin.                       18   dollar amount of the net sales?
    19            Do you know how that -- well,          19            MR. DAVISON: Objection. Form.
    20   do you have an understanding of what that       20            THE WITNESS: That appears to
    21   means, sales and marketing net margin?          21       be correct.
    22       A. Yes.                                     22   QUESTIONS BY MR. GOTTO:
    23       Q. What is it?                              23       Q. Okay. If you look toward the
    24       A. I don't feel confident in                24   bottom of the second page of the -- of the
    25   trying to explain it. It's a -- it's a          25   spreadsheet, product family hydrocodone?
   Golkow Litigation Services                                                Page 49 (190 - 193)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further50Confidentiality
                                                         of 84. PageID #: 242443
                                                                             Review
                                              Page 194                                             Page 196
     1       A. Yes.                                      1             MR. DAVISON: Objection.
     2       Q. Indicates Walmart, a net sales            2             THE WITNESS: That was part of
     3   number of just slightly under 20 million,        3       the compliance checking on contracts,
     4   correct?                                         4       so, yes.
     5       A. That's what it says, yes, sir.            5   QUESTIONS BY MR. GOTTO:
     6       Q. And then the next largest entry           6       Q. Okay. And if -- if an
     7   in that product family appears to be Econdisc    7   account -- when you ran such an analysis, if
     8   with just under 3.8 million, correct?            8   an account was running below its compliance
     9       A. Correct.                                  9   level with its contract, what steps would you
    10       Q. Is that consistent with your             10   take to deal with that situation?
    11   recollection of the approximate magnitude of    11       A. First of all, understand if
    12   hydrocodone purchases by Walmart relative to    12   there's something going on in the market to
    13   other Mallinckrodt family -- Mallinckrodt       13   affect it. There's many variables. Talk to
    14   customers?                                      14   my contact and find out what's going on. And
    15             MR. DAVISON: Objection to             15   then the results were always different.
    16       form.                                       16   Nothing standard.
    17             MS. CONWAY: Objection. Form.          17       Q. So I think we've seen today,
    18             THE WITNESS: Again, there's no        18   and I think I've seen in some other
    19       time period. I have no idea -- excuse       19   documents, the phrase "drive compliance."
    20       me, I have no idea. I can't say if          20             What were some of the things
    21       it's accurate or not.                       21   you would do to try to drive compliance?
    22   QUESTIONS BY MR. GOTTO:                         22       A. Just work with the buyer or the
    23       Q. Understanding that you can't             23   person that I -- my primary contact, again,
    24   verify the data as you sit here today, from     24   to find tools that would help them with their
    25   your recollection, the approximate comparison   25   pharmacies, and just work with them in
                                              Page 195                                             Page 197
     1   of Walmart at a roughly $20 million number       1   relationship to helping them improve
     2   with, say, the next largest customer being at    2   compliance.
     3   a slightly under $4 million number, is that      3       Q. So what sort of tools could
     4   consistent with your recollection of relative    4   help them with their pharmacies?
     5   magnitude of Walmart as a hydrocodone            5            MR. DAVISON: Objection. Form.
     6   customer?                                        6            THE WITNESS: I mentioned
     7            MR. DAVISON: Objection.                 7       earlier, if you have products on
     8            THE WITNESS: I can't                    8       contract or we added new products to a
     9       truthfully speak to that. I don't            9       contract, we would provide a sheet
    10       know.                                       10       that showed the product and the item
    11   QUESTIONS BY MR. GOTTO:                         11       number for the wholesaler. That was
    12       Q. Okay. Doesn't strike you as              12        basically it.
    13   out of line as we sit here?                     13   QUESTIONS BY MR. GOTTO:
    14            MS. CONWAY: Objection. Form.           14       Q. Okay. You can set that aside.
    15            MR. DAVISON: Objection. Form.          15            (Mallinckrodt-New Exhibit 17
    16            THE WITNESS: Again, can't              16        marked for identification.)
    17       answer it.                                  17   QUESTIONS BY MR. GOTTO:
    18   QUESTIONS BY MR. GOTTO:                         18       Q. Exhibit 17 is a multipage
    19       Q. Okay. So do you recall                   19   document beginning at Bates
    20   generally, during the time you were national    20   MNK-T1_0001373610. Appears to be an e-mail
    21   account manager or director, tracking the       21   thread from November of 2012.
    22   levels of purchases of the accounts for which   22            Would you take a moment to look
    23   you had responsibility by product family, of    23   at those e-mails and tell me if you recognize
    24   the types of product families that are set      24   them?
    25   forth on this exhibit?                          25       A. I recognize this type of

   Golkow Litigation Services                                                Page 50 (194 - 197)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further51Confidentiality
                                                         of 84. PageID #: 242444
                                                                             Review
                                             Page 198                                              Page 200
     1   document. I do not recognize this                1   e-mail directly above that.
     2   specifically.                                    2            Do you see that?
     3       Q. Okay. So if you look down                 3       A. Yes.
     4   toward the bottom of the first page, there's     4       Q. And then the next e-mail is
     5   an e-mail from you to Jennifer Buist at          5   from Ms. Buist to you saying, "The short
     6   October 31 of 2012.                              6   story is everything is okay. Right order
     7            Do you see that?                        7   shipped. I'm still working through what
     8       A. Right.                                    8   showed on my report and will keep you posted,
     9       Q. And who was Jennifer Buist?               9   but for now all is well. Enjoy your day."
    10       A. She was in the SOMS                      10            Do you see that?
    11   committee -- or team.                           11       A. Yes, sir.
    12       Q. Okay. And in your e-mail                 12       Q. Do you recall what happened
    13   you're explaining to Ms. Buist that you         13   there? I mean, it seems like -- just judging
    14   believe "it is due to stocking their            14   from the e-mails, you say you will call the
    15   warehouse. They just started shipping via       15   customer in the morning, and then the next
    16   CSOS to their pharmacies. If we continue to     16   e-mail is Ms. Buist saying -- apparently
    17   see it higher, I can call to verify, but        17   saying everything has been resolved. But
    18   they'd be carrying additional inventory to      18   there's -- it seems like there's an
    19   start."                                         19   explanation in between here that isn't
    20            Do you see that?                       20   reflected in these e-mails.
    21       A. Correct.                                 21            Do you recall what the
    22       Q. And do you recall this                   22   explanation was?
    23   circumstance back in October, November 2012?    23            MR. DAVISON: Objection.
    24            MR. DAVISON: Objection.                24            THE WITNESS: I have no idea.
    25            THE WITNESS: Not specifically,         25

                                             Page 199                                              Page 201
     1       but -- yeah, not -- not specifically.        1   QUESTIONS BY MR. GOTTO:
     2   QUESTIONS BY MR. GOTTO:                          2        Q. Do you recall issues with
     3       Q. Okay. Ms. Buist responds to               3   Thrifty White order levels, you know, apart
     4   you, "We're having a hard time understanding     4   from this series of e-mails?
     5   this amount based on the amount ordered in       5            MR. DAVISON: Objection to
     6   anticipated annual volume. This would take       6        form.
     7   them to four years' worth of inventory. We       7            THE WITNESS: I do not recall
     8   need some additional information, please.        8        anything specific, no, sir.
     9   Thank you."                                      9   QUESTIONS BY MR. GOTTO:
    10            Do you see that?                       10        Q. You can set that aside.
    11       A. I'm trying to find it.                   11            (Mallinckrodt-New Exhibit 18
    12       Q. It's just above the October 31           12        marked for identification.)
    13   e-mail.                                         13   QUESTIONS BY MR. GOTTO:
    14       A. Oh, it's on the first page.              14        Q. Exhibit 18 is a multipage
    15   That's why I can't find it. Sorry.              15   document beginning at Bates -- I'm having a
    16       Q. It's the one where she's                 16   hard time reading the number because it's --
    17   talking about four years' worth of inventory.   17   it's --
    18       A. Yeah, I got to find it.                  18            MR. GOTTO: Do we have the
    19            Okay.                                  19        number there? Is it on the folder?
    20       Q. Does that refresh your                   20   QUESTIONS BY MR. GOTTO:
    21   recollection in any way, reading that e-mail,   21        Q. Okay. It's Bates
    22   regarding this circumstance?                    22   MNK-T1_0002159713.
    23       A. No.                                      23            If you -- it's a pain
    24       Q. Okay. You respond to Ms. Buist           24   management pocket card set.
    25   that you will call them in the morning, that    25            Would you please take a moment
   Golkow Litigation Services                                                Page 51 (198 - 201)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further52Confidentiality
                                                         of 84. PageID #: 242445
                                                                             Review
                                              Page 202                                             Page 204
     1   to look through that and tell me if that's a     1   QUESTIONS BY MR. GOTTO:
     2   document you're familiar with?                   2       Q. Were there other similar
     3       A. Yes. This is -- I am familiar             3   materials that you used that related to
     4   with this.                                       4   Mallinckrodt products?
     5       Q. Okay. And so what do you                  5       A. There was also a pocket set for
     6   recognize it to be?                              6   ADHD --
     7       A. Restate that, please?                     7       Q. Okay.
     8       Q. What do you recognize this                8       A. -- that we used.
     9   document to be?                                  9       Q. Okay. In terms of opioid
    10       A. It's -- it was a set of four             10   products, though, was there a -- were there
    11   cards that we used for education in working     11   any similar materials other than Exhibit 18?
    12   with pharmacists.                               12       A. We had another cardboard -- or
    13       Q. Okay. And so did you                     13   another paper copy that was used on occasion
    14   personally use these cards?                     14   over time.
    15       A. Yes.                                     15       Q. Okay. Was it -- the substance
    16       Q. And in what settings would you           16   of that similar to what's on this pocket card
    17   personally use them?                            17   set?
    18       A. When we would be at trade                18       A. I don't recall.
    19   shows, pharmacy -- retail pharmacy meetings,    19       Q. Any other materials of that
    20   we would use them.                              20   nature that you can recall?
    21       Q. Okay.                                    21       A. No.
    22       A. I would.                                 22            It wasn't developed by
    23       Q. And trade shows, I think I               23   Mallinckrodt, as it states on the bottom.
    24   understand, those are the kind of conferences   24       Q. Uh-huh.
    25   we talked about earlier today, right?           25            So in a presentation, say, at
                                              Page 203                                             Page 205
     1       A. It could be used there, yes.              1   one of the Kroger meetings --
     2       Q. And when you say "retail                  2       A. Right.
     3   pharmacy meetings," what are you referring       3       Q. -- how would you use this
     4   to?                                              4   pocket card set?
     5       A. The Kroger meetings, for                  5       A. It would be on the table and
     6   example, where I would go to their different     6   "here's a pocket card set. If you're
     7   divisions and meet with them and support         7   interested, help yourself."
     8   their shows.                                     8       Q. Okay.
     9       Q. Okay. And so did you                      9       A. Basically that's it.
    10   participate in the preparation of this pocket   10       Q. And as far as representatives
    11   card set?                                       11   from Mallinckrodt, for example, at the Kroger
    12       A. No, sir.                                 12   meeting, would it be just you, or would there
    13       Q. And so who would you have                13   be other Mallinckrodt people at such a
    14   received it from?                               14   meeting?
    15       A. Our marketing, our marketing             15       A. At that particular meeting, it
    16   team or -- at one time it was called PARC.      16   would be myself.
    17       Q. Okay.                                    17       Q. And for this pocket card set,
    18       A. And I don't know what that               18   would you make it available for -- to whom
    19   stands for at this time.                        19   would you make this pocket card set
    20       Q. Okay. And so was this -- this            20   available?
    21   pocket card set, was this something you used    21            MR. DAVISON: Objection.
    22   regularly?                                      22            THE WITNESS: Anybody that
    23            MR. DAVISON: Objection.                23       walked by the table.
    24            THE WITNESS: Yes.                      24   QUESTIONS BY MR. GOTTO:
    25                                                   25       Q. And what was your expectation
   Golkow Litigation Services                                                Page 52 (202 - 205)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further53Confidentiality
                                                         of 84. PageID #: 242446
                                                                             Review
                                              Page 206                                             Page 208
     1   as to who would walk by the table in terms of    1       A. Correct. Correct.
     2   were they licensed pharmacists? Were they        2       Q. Would you use this pocket card
     3   other Kroger employees?                          3   set there?
     4        A. Be a combina --                          4       A. I don't recall having this
     5            MR. DAVISON: Objection.                 5   particular pocket card at that meeting.
     6            THE WITNESS: Combination.               6       Q. Okay.
     7            MR. DAVISON: Objection to               7       A. But I don't know for sure.
     8        form.                                       8       Q. Okay. And so when you used the
     9   QUESTIONS BY MR. GOTTO:                          9   term "trade show" earlier in the context of
    10        Q. Okay. Would you expect them             10   the pocket card set, did you mean visiting
    11   all to be Kroger personnel, for example, if     11   accounts for the retail pharmacy meeting?
    12   you're at a Kroger meeting?                     12            MR. DAVISON: Objection. Form.
    13        A. Not necessarily.                        13            THE WITNESS: I mean when they
    14        Q. And so who else would you               14       had their pharmacy meeting and we were
    15   expect to be there?                             15       invited to support them, we would take
    16        A. Sometimes there were students,          16        these as an educational material for
    17   interns, that would attend.                     17       their use.
    18        Q. Okay. And so you indicated you          18   QUESTIONS BY MR. GOTTO:
    19   used these at Kroger meetings.                  19       Q. Okay. Do you know if the other
    20            Were there other account --            20   national account managers similarly used this
    21   other accounts that you visited personally      21   pocket card set?
    22   where you used this pocket card set?            22       A. I can't speak to them.
    23        A. Yes. Thrifty White had                  23       Q. Did you ever have any
    24   pharmacy meetings. Giant Eagle had pharmacy     24   discussion with whoever your direct report
    25   meetings. It varied depending on the            25   was from time to time about using this pocket
                                              Page 207                                             Page 209
     1   account, depending on the year.                  1   card set in the ways that you used it?
     2        Q. Okay. So there may have been             2            MR. DAVISON: Objection.
     3   others as well?                                  3            THE WITNESS: I never had a
     4        A. Right.                                   4       direct report.
     5        Q. And at any of those pharmacy             5            Is that what you just said?
     6   meetings, do you ever recall any questions       6   QUESTIONS BY MR. GOTTO:
     7   that you received with respect to any of the     7       Q. Whoever you reported to.
     8   information in this pocket card set?             8       A. Oh.
     9        A. No.                                      9            MR. DAVISON: Same objection.
    10        Q. Do you recall any discussion            10            THE WITNESS: Restate the
    11   beyond what was contained in the text of the    11       question.
    12   pocket card set?                                12   QUESTIONS BY MR. GOTTO:
    13        A. No.                                     13       Q. Yes.
    14        Q. You also mentioned at trade             14            Did you ever have a discussion
    15   shows you'd use this pocket card set,           15   with the person that you were reporting to?
    16   correct?                                        16   And it -- from time to time I understand that
    17        A. Yeah.                                   17   changed over time.
    18        Q. And in what way would you use           18       A. Right.
    19   it at the trade show?                           19       Q. But whoever it was at any given
    20        A. Trade show in my head is                20   time, did you ever have a discussion with
    21   comparable to pharmacy meeting.                 21   that person about your use of this pocket
    22   Interchangeable terminology.                    22   card set?
    23        Q. Okay. So you mentioned earlier          23            MR. DAVISON: Objection to
    24   today the two annual conferences that you       24       form.
    25   would generally attend.                         25            THE WITNESS: Don't recall.
   Golkow Litigation Services                                                Page 53 (206 - 209)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further54Confidentiality
                                                         of 84. PageID #: 242447
                                                                             Review
                                             Page 210                                                   Page 212
     1   QUESTIONS BY MR. GOTTO:                          1   more product?
     2        Q. Okay. You can set that aside.            2           MR. DAVISON: Objection to
     3             (Mallinckrodt-New Exhibit 19           3       form.
     4        marked for identification.)                 4           MS. CONWAY: Objection.
     5   QUESTIONS BY MR. GOTTO:                          5           THE WITNESS: Because we're
     6        Q. We've marked as Exhibit 19 a             6       making sure that we have inventory.
     7   two-page document beginning at                   7       And if they're not taking the
     8   MNK-T1_0005764398, an e-mail thread from         8       inventory, then we need to understand
     9   September of 2015.                               9       why and then take action accordingly.
    10             Please take a look at those           10   QUESTIONS BY MR. GOTTO:
    11   e-mails. Tell me if you recognize them.         11       Q. So this would be a situation
    12        A. Not specifically.                       12   where in your view Walmart was ordering at a
    13        Q. Okay. Your June --                      13   level below their contractual relationship
    14   September 30, 2015 e-mail to Jennifer Block     14   with Mallinckrodt?
    15   and others at the top of the first page --      15           MR. DAVISON: Objection to
    16   first of all, who is Jennifer Terp?             16       form.
    17        A. She was one of our analysts.            17           THE WITNESS: Honestly, I don't
    18        Q. Okay. And in your e-mail you            18       know. I don't know.
    19   state, "In addition, there is a focus on SOM    19   QUESTIONS BY MR. GOTTO:
    20   from the Walmart SOM team per Linda, so she     20       Q. Okay. If you look at Jennifer
    21   is reluctant to overstock."                     21   Block's e-mail in the bottom half of the
    22             Do you know who the Linda is          22   page, the first sentence says, "Walmart
    23   that you're referring to in that sentence?      23   remains consistently low on HB-APAP."
    24        A. She was one of my primary               24           What is HB-APAP?
    25   contacts.                                       25       A. Hydrocodone APAP.
                                             Page 211                                                    Page 213
     1       Q. At Walmart?                               1       Q. Do you recall that circumstance
     2       A. Yes.                                      2   back in September of 2015?
     3       Q. Okay. And do you recall what              3            MR. DAVISON: Objection to
     4   the focus on SM -- I'm sorry, the focus on       4       form.
     5   SOM from the Walmart SOM team was that you're    5            THE WITNESS: No, sir.
     6   referring to in that sentence?                   6   QUESTIONS BY MR. GOTTO:
     7            MR. DAVISON: Objection to               7       Q. Okay. You can set that aside.
     8       form.                                        8            (Mallinckrodt-New Exhibit 20
     9            THE WITNESS: I can't speak to           9       marked for identification.)
    10       it specifically, no.                        10   QUESTIONS BY MR. GOTTO:
    11   QUESTIONS BY MR. GOTTO:                         11       Q. Exhibit 20 is a two-page
    12       Q. Okay. You go on to say, "We              12   document, MNK-T1_0005762756, an e-mail thread
    13   have asked numerous times about ordering more   13   from January of 2016.
    14   product. There is always pushback on why        14            Take a moment to look at those
    15   they will not increase inventory."              15   e-mails and tell me if you recognize them.
    16            Do you recall that circumstance        16       A. I recognize this format, not
    17   from 2015?                                      17   this specific document.
    18            MR. DAVISON: Objection.                18       Q. Okay. The e-mail that's at the
    19            THE WITNESS: Not specifically.         19   top of the first page from Randy Meisner?
    20   QUESTIONS BY MR. GOTTO:                         20       A. Yes.
    21       Q. Okay. So in a setting like               21       Q. Who was Randy Meisner?
    22   this where you're -- when you say you asked     22       A. He was an analyst.
    23   numerous times about ordering more product,     23       Q. Okay. And Mr. Meisner says in
    24   what would be the context in which you would    24   the second line of his e-mail, "I know you
    25   ask an account like Walmart about ordering      25   will keep them very compliant as long as we

   Golkow Litigation Services                                                  Page 54 (210 - 213)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further55Confidentiality
                                                         of 84. PageID #: 242448
                                                                             Review
                                             Page 214                                              Page 216
     1   have supply."                                    1   is?
     2            Do you have an understanding as         2       A. I don't recall her.
     3   to what he meant by the phrase "keep them        3       Q. Okay. Well, this appears to be
     4   very compliant"?                                 4   an internal Kroger e-mail attaching a photo.
     5            MR. DAVISON: Objection to               5            And then if you turn to the
     6       form.                                        6   next e-mail in time from Douglas Cullet. Do
     7            THE WITNESS: Gets back to               7   you know who Douglas Cullet is?
     8       measuring compliance on their                8       A. I do not.
     9       contract.                                    9       Q. Okay. Or Stacy Doyle?
    10   QUESTIONS BY MR. GOTTO:                         10       A. I do not.
    11       Q. Okay. And in order for you to            11       Q. Okay. Well, the substance of
    12   keep them very compliant, would those be the    12   the e-mail, which is at the top of the last
    13   kinds of steps you talked about here earlier    13   page of that exhibit, says, "Stacy, another
    14   today?                                          14   Mallinckrodt issue, 99 and one-half tabs on
    15            MR. DAVISON: Objection.                15   the bottle. I have yet to hear from them on
    16   QUESTIONS BY MR. GOTTO:                         16   the big fiasco at 677. Is it time to call
    17       Q. What sorts of steps would you            17   the DEA, question mark?"
    18   take to keep them very compliant?               18            Do you see that?
    19            MR. DAVISON: Objection.                19       A. Yes, sir.
    20            THE WITNESS: Monitor their             20       Q. Do you know what he's referring
    21       numbers and talk to them if there was       21   to as "the big fiasco at 677"?
    22       a problem or concern and take action        22            MR. DAVISON: Objection to
    23       accordingly.                                23       form.
    24   QUESTIONS BY MR. GOTTO:                         24            THE WITNESS: I have no idea.
    25       Q. Okay. You can set that aside.            25

                                             Page 215                                              Page 217
     1             (Mallinckrodt-New Exhibit 21           1   QUESTIONS BY MR. GOTTO:
     2        marked for identification.)                 2       Q. Okay. Well, let's continue
     3   QUESTIONS BY MR. GOTTO:                          3   back on the next to last page of the exhibit.
     4        Q. Exhibit 21 is a multipage                4            The next e-mail above
     5   document beginning at Bates                      5   Mr. Cullet's e-mail from Stacy Doyle to Britt
     6   MNK-T1_0004779439. It appears to be an           6   Turner and Bob Breetz on March 10th says, "We
     7   e-mail thread from March of 2016 concerning      7   continue to have issues with Mallinckrodt. I
     8   Kroger.                                          8   sent a couple other examples a while back.
     9             If you'd take a moment to look         9   This has" --
    10   at those e-mails and tell me if you recognize   10       A. Can you wait just a second?
    11   them.                                           11   I'm --
    12        A. I don't remember this document.         12       Q. Oh, sure. Sure, sure, sure.
    13        Q. Okay. It appears to be an               13       A. I need to catch up with you.
    14   e-mail thread that concerns some product        14       Q. Yeah. Let me know when you're
    15   issues that Kroger is reporting to              15   ready.
    16   Mallinckrodt, correct?                          16       A. Tell me again where you're at.
    17             MR. DAVISON: Objection to             17       Q. I was on the next to last page.
    18        form.                                      18       A. This page.
    19             THE WITNESS: I don't know that        19       Q. The Thursday, March 10 e-mail
    20        for sure.                                  20   that's kind of in the middle of the page from
    21   QUESTIONS BY MR. GOTTO:                         21   Stacy Doyle.
    22        Q. Okay. Well, if you turn to the          22       A. Okay.
    23   first e-mail in the thread, there's an e-mail   23       Q. Okay. And she says, "We
    24   from a Robyn Bodine at Kroger.                  24   continue to have issues with Mallinckrodt. I
    25             Do you know who Robyn Bodine          25   sent a couple other examples a while back.

   Golkow Litigation Services                                                Page 55 (214 - 217)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further56Confidentiality
                                                         of 84. PageID #: 242449
                                                                             Review
                                             Page 218                                            Page 220
     1   This has become such a regular occurrence it    1   referred to in the earlier e-mail, right?
     2   is the norm. Can we do anything about this?"    2            MR. DAVISON: Objection.
     3             Do you see that?                      3            THE WITNESS: Right. Right.
     4        A. Correct. Yes.                           4       That's an assumption. That's what it
     5        Q. Okay. And then above that we            5       says.
     6   have an e-mail from Britt Turner to you         6   QUESTIONS BY MR. GOTTO:
     7   for -- do you know who Britt Turner is?         7       Q. Okay. So you don't
     8        A. She was one of the contacts at          8   independently recall whatever that pharmacy
     9   Kroger.                                         9   677 situation was?
    10        Q. Okay. And so she says to you,          10       A. I do not.
    11   "Hope vacation was relaxing. Please see        11       Q. Okay. And the next e-mail
    12   below. Are you having many complaints of       12   in -- above yours, there's a Kian Kazemi.
    13   broken tabs? Picture attached shows            13            Is that how it's pronounced?
    14   bottle/lot/expiration. Our central division,   14       A. What was the question?
    15   which is out of Indianapolis, is having        15       Q. Just how to pronounce --
    16   numerous complaints."                          16       A. Oh, Kian Kazemi.
    17             Do you see that?                     17       Q. Kian Kazemi. I got them both
    18        A. Yes.                                   18   wrong.
    19        Q. Does that refresh your                 19            Dated March 10 of 2016 to the
    20   recollection about this circumstance at all?   20   product monitoring team: "Do you have any
    21             MR. DAVISON: Objection.              21   details that can be provided to Bonnie and I
    22             THE WITNESS: Not this                22   regarding the past complaint from Kroger
    23        particular situation, but broken          23   Store Number 677 that is referenced in the
    24        tablets in a manufacturing plant          24   e-mail string below?"
    25        happen.                                   25            Then Kian's next e-mail to you
                                             Page 219                                            Page 221
     1   QUESTIONS BY MR. GOTTO:                         1   and PM Quality follows up and notes that
     2       Q. Okay. Do you recall receiving            2   Mr. Cullet was the same person who filed the
     3   complaints or -- strike complaints -- just      3   earlier complaint, correct?
     4   communications from your accounts regarding     4        A. Correct. That's what it says.
     5   broken tablets?                                 5        Q. And then ultimately on the
     6       A. Yes.                                     6   first page of the exhibit we have Angela
     7       Q. Apart from Kroger?                       7   Clark's March 10th e-mail which says, "We
     8       A. Yes.                                     8   have prepared the response letter. I will be
     9       Q. Okay. With any -- can you give           9   mailing it this afternoon."
    10   me any idea of the frequency that you can      10            And it goes on to say, "I have
    11   recall that occurred?                          11   also attached a data search for missing
    12       A. I cannot.                               12   and/or broken complaints received from Kroger
    13       Q. Okay. So the next e-mail on             13   in the past six months. I ran a pivot table
    14   the thread is from you to PM quality.          14   by reporting city so you can see which
    15            What is PM quality?                   15   locations have reported the most."
    16       A. Corporate product monitoring.           16            And then the table is included.
    17       Q. Okay. And you say, "Please see          17   Do you see that?
    18   the below complaint and know there must be a   18        A. Yes, sir.
    19   pending complaint regarding pharmacy 677,"     19        Q. Any of that refresh your
    20   right?                                         20   recollection on the circumstance with Kroger
    21       A. "And note there must be a               21   back in March of 2016?
    22   pending complaint regarding pharmacy 677."     22        A. Not specifically, no.
    23       Q. I'm sorry, thank you.                   23        Q. Okay. All right. You can set
    24            And you're referring there to         24   that aside.
    25   the -- whatever the big fiasco was that's      25            (Mallinckrodt-New Exhibit 22

   Golkow Litigation Services                                               Page 56 (218 - 221)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further57Confidentiality
                                                         of 84. PageID #: 242450
                                                                             Review
                                             Page 222                                              Page 224
     1       marked for identification.)                  1   Jane Williams and yourself.
     2   QUESTIONS BY MR. GOTTO:                          2            Do you see that?
     3       Q. Exhibit 22 is a two-page                  3       A. Correct.
     4   document MNK-T1_0000460028. It appears to be     4       Q. And who was Tiffany Kilper?
     5   a script for pharmacy calls draft version        5       A. I'm not sure of her title. She
     6   11/28/11.                                        6   was an analyst or in customer service.
     7            Just take a moment and look at          7       Q. Okay. And so she says in her
     8   that document and tell me if you're familiar     8   e-mail, "Advantage Logistics is set up as a
     9   with it.                                         9   ship to for SuperValu, and we have always
    10       A. I'm not familiar with this               10   shipped to them at SuperValu prices under the
    11   specific document.                              11   assumption that this is their legitimate
    12       Q. Do you have any understanding            12   distribution center."
    13   as to the purpose that a script for pharmacy    13            Do you see that?
    14   calls would be created and maintained at        14       A. Yes.
    15   Mallinckrodt?                                   15       Q. And SuperValu was one of your
    16            MR. DAVISON: Objection. Form.          16   accounts at this time?
    17            THE WITNESS: I'm not sure of           17       A. I can't say for sure this time
    18       the circumstances on this document at       18   frame, but it was my account at one time.
    19       all.                                        19       Q. Okay. And is Advantage
    20   QUESTIONS BY MR. GOTTO:                         20   Logistics a name that's familiar to you?
    21       Q. Okay. Do you have any                    21       A. Yes.
    22   understanding as to the personnel at            22       Q. And what did you understand
    23   Mallinckrodt who would -- who would use this    23   Advantage Logistics to be?
    24   script for -- in connection with pharmacy       24       A. It was a distribution center
    25   calls?                                          25   for our SuperValu.
                                             Page 223                                              Page 225
     1            MR. DAVISON: Objection.                 1       Q. Okay. In the next paragraph
     2            THE WITNESS: I have no idea.            2   she says, "If you read Laura's e-mail below,
     3            MR. GOTTO: Okay. You can set            3   parens, Laura is in customer data integrity,
     4       that aside.                                  4   close parens, she indicates they're
     5            We can go off the record.               5   warehousing for other retail chains as well
     6            VIDEOGRAPHER: We are going off          6   as SuperValu, which entails they are a true
     7       the record at 2:25 p.m.                      7   distributor. This concerns me since we ship
     8        (Off the record at 2:25 p.m.)               8   to them at SuperValu prices. Is there any
     9            VIDEOGRAPHER: We are back on            9   concern about gray market activity if they
    10       the record at 2:44 p.m.                     10   really are a distributor?"
    11            (Mallinckrodt-New Exhibit 23           11            Do you see that language?
    12       marked for identification.)                 12       A. Uh-huh.
    13   QUESTIONS BY MR. GOTTO:                         13       Q. Do you recall this concern
    14       Q. Ms. New, Exhibit 23 is a                 14   being raised by Ms. Kilper back in 2010?
    15   multipage document beginning at Bates           15            MR. DAVISON: Objection.
    16   MNK-T1_0000455771. Please take a moment to      16            THE WITNESS: No.
    17   look at that document and tell me if you        17   QUESTIONS BY MR. GOTTO:
    18   recognize any of those e-mails.                 18       Q. Do you recall at any time
    19       A. I don't recognize this specific          19   anyone raising a question as to whether there
    20   e-mail.                                         20   was a concern about gray market activity
    21       Q. Okay. If you'd turn to the               21   associated with SuperValu?
    22   next to last page in the exhibit.               22            MR. DAVISON: Objection.
    23       A. Okay.                                    23            THE WITNESS: I do not.
    24       Q. Down toward the bottom of that           24   QUESTIONS BY MR. GOTTO:
    25   page there's an e-mail from Tiffany Kilper to   25       Q. Okay. Ms. Kilper goes on to
   Golkow Litigation Services                                                Page 57 (222 - 225)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further58Confidentiality
                                                         of 84. PageID #: 242451
                                                                             Review
                                              Page 226                                            Page 228
     1   say, "We made the decision in pharma to bill     1   e-mail. "I'm curious. When a change is made
     2   all distributors at invoice price/WAC some       2   that has such a significant impact, is anyone
     3   time ago so that we would have visibility in     3   contacted to make sure the change is valid
     4   chargebacks to know what our product is          4   before it's done?"
     5   going" -- I'm sorry -- "to know where our        5            Do you see that?
     6   product is going and eliminate the potential     6       A. Yes.
     7   for gray market activity."                       7       Q. Do you know what change you're
     8             Do you see that?                       8   referring to there that has such a
     9       A. Where are you, sir? I'm sorry.            9   significant impact?
    10       Q. I'm sorry. It's that same                10       A. The change that she referenced
    11   paragraph that began with "If you read          11   in her e-mail. "We made the decision in
    12   Laura's e-mail."                                12   pharma to bill all distributors at
    13       A. Okay.                                    13   invoice/WAC some time ago so that we would
    14       Q. It was toward the end of that.           14   have visibility to chargebacks to know where
    15       A. Okay.                                    15   our product is going and eliminate the
    16       Q. Are you familiar with the                16   potential for gray market activity."
    17   decision on billing all distributors at         17       Q. Okay. So had you not been
    18   invoice price/WAC that Ms. Kilper is            18   aware of that change until you received
    19   referring to in that sentence?                  19   Ms. Kilper's e-mail?
    20             MR. DAVISON: Objection.               20            MR. DAVISON: Objection.
    21             THE WITNESS: Only based on            21            THE WITNESS: I -- I can't
    22       what it says here.                          22       speak to that. I don't know for sure
    23   QUESTIONS BY MR. GOTTO:                         23       what I was aware of at that point.
    24       Q. Do you know what WAC is?                 24   QUESTIONS BY MR. GOTTO:
    25       A. Wholesaler acquisition cost.             25       Q. Okay. Okay. You can set that
                                              Page 227                                            Page 229
     1         Q. Okay. And do you know how               1   aside.
     2   billing all distributors at invoice price/WAC    2           (Mallinckrodt-New Exhibit 24
     3   would give Mallinckrodt visibility in            3       marked for identification.)
     4   chargebacks to know where its product is         4   QUESTIONS BY MR. GOTTO:
     5   going?                                           5       Q. Exhibit 24 is a multipage
     6         A. It would give us information            6   document beginning at Bates
     7   for some accounts. It wouldn't give us           7   MNK-T1_0000447932, a letter from the US
     8   information for all accounts.                    8   Department of Justice Drug Enforcement
     9         Q. And why would that be?                  9   Administration dated September 27, 2006.
    10         A. Because not every customer does        10           Can you take a look at that
    11   chargeback data.                                11   document and tell me if you're familiar with
    12         Q. Okay. So it would give                 12   it?
    13   information for any customer that asserts a     13       A. I'm not familiar with this
    14   chargeback?                                     14   particular document, no.
    15              MR. DAVISON: Objection. Form.        15       Q. Okay. Do you -- it's signed by
    16              THE WITNESS: Correct.                16   Joseph T. Rannazzisi.
    17   QUESTIONS BY MR. GOTTO:                         17           Do you know who he is?
    18         Q. Okay. And then if you turn to          18       A. Only based on what it says.
    19   the prior page on that exhibit, there's an      19   He's from the Office of Diversion Control.
    20   e-mail from you dated Wednesday, November 17.   20       Q. Okay. Do you recall at any
    21              Do you see that? Kind of in          21   time during your employment at Mallinckrodt
    22   the middle of the page.                         22   reviewing any correspondence from
    23         A. Yes, sir.                              23   Mr. Rannazzisi?
    24         Q. And you say, "Tiffany" -- and          24       A. I do not.
    25   I'll just jump to the last paragraph of your    25       Q. Okay. You can set that aside.
   Golkow Litigation Services                                                Page 58 (226 - 229)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further59Confidentiality
                                                         of 84. PageID #: 242452
                                                                             Review
                                              Page 230                                            Page 232
     1            (Mallinckrodt-New Exhibit 25            1   repackaging the controlled substances in
     2       marked for identification.)                  2   units -- in unit of use or unit dose for sale
     3   QUESTIONS BY MR. GOTTO:                          3   to doctors, clinics, et cetera. The
     4       Q. Exhibit 25 is a document that             4   consultants advised that the customer type
     5   was produced in native at MNK-T1_0008001114.     5   described in the scenario should be
     6   Appears to be a PowerPoint presentation          6   registered by DEA as a manufacturer and
     7   entitled "Mallinckrodt DEA controlled            7   obtain procurement quota for the purchase of
     8   substance compliance training for distributor    8   the C-II material if C-IIs are being
     9   registrants, prepared for commercial             9   purchased."
    10   group 3/23/11."                                 10             Do you see that?
    11            Can you take a look at that            11        A. Yes, sir.
    12   presentation and tell me if you recognize it?   12        Q. Do you recall learning from
    13       A. I don't recall this specific             13   Ms. Harper, whether from this e-mail or
    14   document, no, sir.                              14   otherwise, of this mock DEA audit back in
    15       Q. Okay. Do you recall                      15   2012?
    16   participating in a training for the             16             MR. DAVISON: Objection to
    17   commercial group regarding DEA compliance in    17        form.
    18   March of 2011?                                  18             THE WITNESS: I don't recall
    19            MR. DAVISON: Objection.                19        it.
    20            THE WITNESS: I have                    20   QUESTIONS BY MR. GOTTO:
    21       participated in training. I don't           21        Q. Okay. Well, if you turn to the
    22       recall the 3/23/11 session.                 22   first page of the exhibit, toward the bottom
    23   QUESTIONS BY MR. GOTTO:                         23   of the page there's an e-mail from you to
    24       Q. Okay. And you don't recognize            24   Karen Harper, June 20, 2012.
    25   any of the slides from this presentation?       25             Do you see that?
                                              Page 231                                            Page 233
     1       A.   No.                                     1        A. Right.
     2       Q.   Okay. Okay. You can set that            2        Q. And in the second paragraph you
     3   aside.                                           3   say, "Your below e-mail is going to be
     4             (Mallinckrodt-New Exhibit 26           4   difficult to explain since I do not believe
     5        marked for identification.)                 5   any other manufacturer is asking them to do
     6   QUESTIONS BY MR. GOTTO:                          6   this. I know that they purchase from
     7        Q. Exhibit 26 is a two-page                 7   wholesalers, too. They have never mentioned
     8   document beginning at MNK-T1_0007729353.         8   anything to me. I believe we have others who
     9   It's an e-mail thread from September of 2012.    9   repack product. Will we implement this with
    10             Just take a moment to look at         10   all customers, question mark?"
    11   those e-mails and tell me if you recognize      11            Do you see that?
    12   them.                                           12        A. Yes.
    13        A. I don't recall this specific            13        Q. And do you recall if -- if this
    14   document.                                       14   was implemented with all customers?
    15        Q. Okay. If you look on the                15            MR. DAVISON: Objection to
    16   second page of the exhibit, there's an e-mail   16        form.
    17   from Karen Harper to you copied -- copying      17            THE WITNESS: I can't -- I
    18   Jim Rausch and Eileen Spaulding in which she    18        don't know.
    19   says, "During a recent mock DEA audit           19   QUESTIONS BY MR. GOTTO:
    20   conducted by consultants, the Drug and          20        Q. And the implementation that
    21   Chemical Advisory Group, we presented a         21   you're referring to there, is that a
    22   general scenario that described a customer      22   requirement that a repacking -- a customer
    23   business model of purchasing Mallinckrodt       23   who purchases and repacks would need to have
    24   generic dosage forms, parens, using a DEA       24   a DEA manufacturer license?
    25   distributor license, close parens, and then     25        A. I'm not sure.

   Golkow Litigation Services                                                Page 59 (230 - 233)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further60Confidentiality
                                                         of 84. PageID #: 242453
                                                                             Review
                                              Page 234                                            Page 236
     1        Q. It appears to be what                    1       Q. And what was your purpose for
     2   Ms. Harper is referring to in her e-mail,        2   providing it to your accounts?
     3   isn't it?                                        3       A. To create awareness of
     4             MR. DAVISON: Objection to              4   potential red flags.
     5        form.                                       5       Q. Okay. Ever get any feedback
     6             THE WITNESS: That's what she's         6   from any of your accounts about the video?
     7        referring to, but I don't know what         7       A. They liked the video.
     8        the results of this was.                    8       Q. Okay. You can set that aside.
     9   QUESTIONS BY MR. GOTTO:                          9            (Mallinckrodt-New Exhibit 28
    10        Q. Okay. And in the top e-mail on          10       marked for identification.)
    11   the first page from Ms. Harper -- well, I       11   QUESTIONS BY MR. GOTTO:
    12   guess it's from Ms. Harper to Ms. Harper --     12       Q. Exhibit 28 is a two-page e-mail
    13   it says, "Lake Erie d/b/a Quality Care          13   thread beginning at Bates MNK-T1_0007076152.
    14   Products purchases C-II under a DEA             14            Please take a look at those
    15   manufacturing license."                         15   e-mails and tell me if you recognize them.
    16             Do you see that?                      16       A. I don't recognize this specific
    17        A. Yes, sir.                               17   e-mail, but it goes back to broken tablets.
    18        Q. And Lake Erie, was that one of          18       Q. Okay. Yeah, this is --
    19   your accounts?                                  19       A. Quality concerns.
    20        A. Yes, sir.                               20       Q. Sure.
    21        Q. Okay. And is that consistent            21            So the e-mail toward the bottom
    22   with your recollection, that they purchased     22   of the first page from Lynn Popson -- do you
    23   Schedule II narcotics under a DEA               23   know who Lynn Popson is?
    24   manufacturing license?                          24       A. She was a contact that I had at
    25             MR. DAVISON: Objection.               25   Hy-Vee.
                                              Page 235                                            Page 237
     1            THE WITNESS: I don't recall.            1       Q. And what sort of customer was
     2   QUESTIONS BY MR. GOTTO:                          2   Hy-Vee?
     3        Q. Okay. You can set that aside.            3       A. We did not do direct business
     4            (Mallinckrodt-New Exhibit 27            4   with Hy-Vee. They purchased our product
     5        marked for identification.)                 5   through their wholesaler.
     6   QUESTIONS BY MR. GOTTO:                          6       Q. Okay. And so in that setting
     7        Q. Exhibit 27 is a multipage                7   where someone is purchasing through a
     8   e-mail thread beginning at MNK-T1_0005911712.    8   wholesaler, what would be the type of
     9   Take a moment and look at those e-mails and      9   interaction you would have with that
    10   tell me if you recognize them.                  10   person -- with that type of indirect
    11        A. I don't remember the specific           11   customer?
    12   e-mail, but I do remember the red flags         12       A. This customer would attend ECRM
    13   video.                                          13   meetings and NACDS meetings and just meet
    14        Q. Okay. You've seen that video?           14   with us to touch base. They were using our
    15        A. Yes.                                    15   product, but they were using it through a
    16        Q. Okay. In what context do you            16   wholesaler and not directly from us on
    17   remember seeing it?                             17   contract.
    18        A. I believe they e-mailed it to           18       Q. So apart from meeting at the
    19   us for our personal review.                     19   conferences of the type you described --
    20        Q. Okay. Did you ever provide              20       A. Right.
    21   that video to any of your accounts?             21       Q. -- would it be -- would you
    22        A. Yes, I believe I did.                   22   periodically get direct communication,
    23        Q. And did you ever view it with           23   whether e-mail or phone call, from this sort
    24   any of your accounts?                           24   of indirect customer?
    25        A. No.                                     25            MR. DAVISON: Objection. Form.
   Golkow Litigation Services                                                Page 60 (234 - 237)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further61Confidentiality
                                                         of 84. PageID #: 242454
                                                                             Review
                                              Page 238                                             Page 240
     1            THE WITNESS: Yes.                       1   30-milligram bottles ordered during 2010."
     2   QUESTIONS BY MR. GOTTO:                          2            Do you see that?
     3       Q. And what typically -- what                3        A. Yes, sir.
     4   would be the types of things they would call     4        Q. Apart from recalling the name
     5   or e-mail you about?                             5   of this particular doctor, do you recall any
     6       A. Problems.                                 6   other circumstances where Karen Harper
     7       Q. Okay.                                     7   notified you that there was a review of any
     8       A. I became a primary contact for            8   particular doctor based on their ordering
     9   her because I took her problems and tried to     9   history of oxycodone 15 or 30?
    10   get them resolved for her.                      10            MR. DAVISON: Objection to
    11       Q. Okay. And is this an example             11        form.
    12   of such a communication?                        12            THE WITNESS: I do not recall
    13       A. Yes.                                     13        any -- anything in regard to that, no.
    14       Q. Okay. Do you recall this                 14   QUESTIONS BY MR. GOTTO:
    15   particular circumstance?                        15        Q. Okay. In the top e-mail on the
    16       A. No, I do not.                            16   first page of this exhibit, it's from you to
    17       Q. Any idea how it was ultimately           17   Mike Gunning -- and I'm sorry, who was
    18   resolved?                                       18   Mr. Gunning again?
    19            MR. DAVISON: Objection to              19        A. General manager.
    20       form.                                       20        Q. Okay. So was he someone that
    21            THE WITNESS: I can't answer            21   you indirect -- was an indirect report for
    22       that.                                       22   you?
    23   QUESTIONS BY MR. GOTTO:                         23        A. During different times, he was
    24       Q. Okay. All right. You can put             24   in charge of sales off and on.
    25   that aside.                                     25        Q. Okay. And you say, "Mike, I
                                              Page 239                                             Page 241
     1            (Mallinckrodt-New Exhibit 29            1   should have said this is one of the doctors
     2       marked for identification.)                  2   on the Lake Erie d/b/a Quality Care Products
     3   QUESTIONS BY MR. GOTTO:                          3   list that Natalie ran for me."
     4       Q. Exhibit 29 is a multipage                 4              Do you see that?
     5   e-mail thread beginning at MNK-T1_0008001120.    5        A. Yes, sir.
     6            Please take a look at those             6        Q. Do you know who you mean by
     7   e-mails and tell me if you recognize them.       7   "Natalie" in that sentence?
     8       A. I don't remember this specific            8        A. That's Natalie Kayich.
     9   e-mail.                                          9        Q. Okay. And do you recall why
    10       Q. Okay. So on the first page of            10   you had Natalie run for you doctors on the
    11   the exhibit, in the middle of the page          11   Lake Erie d/b/a Quality Care Products list?
    12   there's Karen Harper's e-mail to you dated      12        A. She was the analyst, but why I
    13   September 9, 2010.                              13   asked for that information, I do not recall.
    14            Do you see that?                       14        Q. Okay. Do you have any
    15       A. Yes, sir.                                15   recollection as to whether there was ever any
    16       Q. And it's concerning a                    16   DEA action taken with respect to
    17   Dr. Balasubramanian.                            17   Dr. Balasubramanian?
    18            Do you remember any issues             18              MR. DAVISON: Objection to
    19   regarding Dr. Balasubramanian at any time?      19        form.
    20       A. No, sir, I do not.                       20              THE WITNESS: Based on what
    21       Q. Okay. In the first paragraph             21        this says, his name did not appear in
    22   of her e-mail, Ms. Harper -- the last           22        any of the publications, nor is he
    23   sentence of that paragraph says, "We chose      23        listed as a registrant with pending
    24   Dr. Balasubramanian for review due to the       24        action on the DEA website. So that's
    25   number of oxycodone 15-milligram and            25        all I know based on that.
   Golkow Litigation Services                                                Page 61 (238 - 241)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further62Confidentiality
                                                         of 84. PageID #: 242455
                                                                             Review
                                             Page 242                                             Page 244
     1   QUESTIONS BY MR. GOTTO:                          1   account does not do chargebacks due to the
     2       Q. Okay. Do you have any                     2   nature of their business."
     3   recollection as to whether there was any         3             So let me start with that. Why
     4   action taken subsequent to these e-mails with    4   would the nature of this account's business
     5   respect to Dr. Balasubramanian?                  5   mean that they do not do chargebacks?
     6       A. No, sir.                                  6             MR. DAVISON: Objection.
     7       Q. Okay. You can set that aside.             7             THE WITNESS: Because they were
     8            (Mallinckrodt-New Exhibit 30            8        selling to doctors, clinics and
     9       marked for identification.)                  9        various hospitals.
    10   QUESTIONS BY MR. GOTTO:                         10   QUESTIONS BY MR. GOTTO:
    11       Q. Exhibit 30 is a single-page              11        Q. As compared to pharmacies, for
    12   e-mail thread, MNK-T1_00000491217.              12   example?
    13            Please take a look at those            13        A. Correct.
    14   e-mails and let me know if you recognize        14        Q. Okay. In the first paragraph,
    15   them.                                           15   at the end you say, "We want to see all of
    16       A. I don't recall this specific             16   their customers' sales for our products."
    17   document.                                       17             Do you recall why you wanted to
    18       Q. Okay. So the e-mail in the               18   see those sales?
    19   middle of the page from you to Sandi Ivan --    19        A. I don't know the sequence of
    20   Ivancho?                                        20   time, but this goes back to the other e-mail
    21       A. Ivancho.                                 21   that we just looked at.
    22       Q. Ivancho.                                 22        Q. The one concerning Dr. B with
    23            -- dated March 29, 2011. Who           23   the long name?
    24   was Sandi Ivancho?                              24        A. Well, that, and the other one
    25       A. She was one of the -- well,              25   that was in regard to their licensing and who
                                             Page 243                                             Page 245
     1   yeah, she -- she was an analyst, based on        1   they were selling to.
     2   this.                                            2       Q. Whether it was a distributor
     3        Q. Okay. And the subject matter             3   versus manufacturer license?
     4   is Lake Erie Medical d/b/a Quality Care          4       A. Yes.
     5   Products, the same group we talked about in      5       Q. Okay. When you -- when you
     6   the earlier e-mail, correct?                     6   asked Sandi to run an owner report, what is
     7        A. Right.                                   7   an owner report in this setting?
     8        Q. And so you say, "Sandi,                  8            MR. DAVISON: Objection.
     9   attached is a spreadsheet with the customers     9            THE WITNESS: She was in charge
    10   that the above account services. They are       10       of the sales tools and reporting. I
    11   a -- they are a repackager of product and       11       believe at that time it was a system
    12   sell to doctors, clinic and various             12       called Cognos, and that's where she
    13   hospitals. Can you please run an owner          13       pulled her data from.
    14   report using these DEA numbers? We want to      14   QUESTIONS BY MR. GOTTO:
    15   see all of their customer sales for our         15       Q. And so what would that -- what
    16   products."                                      16   were you -- what information were you hoping
    17            Do you see that?                       17   to get from that owner report that you were
    18        A. Yes.                                    18   asking her to run?
    19        Q. Okay. Do you recall sending             19            MR. DAVISON: Objection.
    20   this e-mail?                                    20            THE WITNESS: Exactly what I
    21        A. No, sir.                                21       asked for, the list of end purchasers
    22        Q. No reason to doubt you sent it,         22       who they were selling to.
    23   do you?                                         23   QUESTIONS BY MR. GOTTO:
    24        A. No reason to doubt.                     24       Q. Okay. So at least in the case
    25        Q. Okay. You go on to say, "The            25   of Lake Erie Medical d/b/a Quality Care

   Golkow Litigation Services                                                Page 62 (242 - 245)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further63Confidentiality
                                                         of 84. PageID #: 242456
                                                                             Review
                                              Page 246                                            Page 248
     1   Products, Mallinckrodt had in its records        1            Correct?
     2   information that allowed it to identify who      2       A. That's what it says.
     3   the end customer of Lake Erie Medical d/b/a      3       Q. So she appears to have been
     4   Quality Care Products was?                       4   able to run a report that showed total end
     5            MR. DAVISON: Objection to               5   purchaser sales for the DEA number, correct?
     6       form.                                        6            MR. DAVISON: Objection.
     7            THE WITNESS: I cannot speak to          7            THE WITNESS: That's what she
     8       that directly. They had access to a          8       says. That's what it says.
     9       lot of information that I don't know         9   QUESTIONS BY MR. GOTTO:
    10       how they ran the reports and did the        10       Q. Do you recall what you did with
    11       reports.                                    11   that information once you received it?
    12   QUESTIONS BY MR. GOTTO:                         12            MR. DAVISON: Objection.
    13       Q. Okay. In any event,                      13            THE WITNESS: I do not.
    14   Mallinckrodt had the ability to run a report    14   QUESTIONS BY MR. GOTTO:
    15   that would provide it with the identity of      15       Q. Do you recall other
    16   who the customers of Lake Erie Medical d/b/a    16   circumstances where you requested someone at
    17   Quality Care Products was; is that right?       17   Mallinckrodt to run an owner report of the
    18            MR. DAVISON: Objection.                18   type that you requested of Ms. Ivancho?
    19            THE WITNESS: I can't say that          19       A. I do not.
    20       for sure.                                   20       Q. Okay. You can set that aside.
    21   QUESTIONS BY MR. GOTTO:                         21            (Mallinckrodt-New Exhibit 31
    22       Q. Okay. Well, did I                        22       marked for identification.)
    23   misunderstand you? I thought that's what the    23   QUESTIONS BY MR. GOTTO:
    24   owner report that you were asking for, you      24       Q. Exhibit 31 is a multipage
    25   were expecting it to show you.                  25   e-mail thread beginning with
                                              Page 247                                            Page 249
     1            MR. DAVISON: Objection.                 1   MNK-T1_0006258783. The e-mail is from
     2            THE WITNESS: But I don't know           2   October of 2012.
     3       the circumstances on all customers. I        3             Please take a look at those
     4       don't know who -- I only know what           4   e-mails and tell me if you recognize them.
     5       applied to this request.                     5       A. I don't remember this specific
     6   QUESTIONS BY MR. GOTTO:                          6   e-mail.
     7       Q. Okay. But at least as to this             7       Q. Okay. The e-mail thread
     8   particular customer, Lake Erie Medical d/b/a     8   concerns the level of certain Walmart orders
     9   Quality Care Products, Mallinckrodt had the      9   back in October of 2012, correct?
    10   ability to run a report that showed who that    10             MR. DAVISON: Objection.
    11   entity's customers were, correct?               11             THE WITNESS: Correct.
    12            MR. DAVISON: Objection.                12   QUESTIONS BY MR. GOTTO:
    13            THE WITNESS: I don't know that         13       Q. And the very first e-mail on
    14       I got a report from her. If I read          14   the first page, from Heather Dodson to you,
    15       this correctly, we -- it's the middle       15   asks whether you have any insight on why
    16       of an e-mail chain or the end. I            16   Walmart is ordering so much 063705. They're
    17       don't which -- which.                       17   over the 60 days OH amount now.
    18   QUESTIONS BY MR. GOTTO:                         18             First of all, who's Heather
    19       Q. Well, if you look above your             19   Dodson?
    20   e-mail, there's a letter -- there's an e-mail   20       A. Heather Dodson was an analyst.
    21   from Sandi Ivancho to you two or three days     21       Q. Okay. And when she makes
    22   after your March 29th e-mail saying, "I took    22   reference to 60 days OH amount, what is OH in
    23   another stab at this report. This represents    23   that setting?
    24   total end purchaser sales for the DEA number.   24       A. On-hand.
    25   Does this look like what you need?"             25       Q. Okay. And do you recall

   Golkow Litigation Services                                                Page 63 (246 - 249)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further64Confidentiality
                                                         of 84. PageID #: 242457
                                                                             Review
                                              Page 250                                           Page 252
     1   getting back to her with any response on this    1            Do you see that?
     2   question she's posing?                           2       A. Yes, sir.
     3       A. No. I did not completely read             3       Q. Do you know what she meant by
     4   this e-mail but --                               4   "chargeback restricted" in this setting?
     5       Q. Well, go ahead. Take your                 5            MR. DAVISON: Objection to
     6   time.                                            6       form.
     7       A. Your question again, please?              7            THE WITNESS: That was action
     8       Q. Do you recall if you got back             8       taken to not honor chargebacks for
     9   to Ms. Dodson with an answer on the question     9       that particular account, and we
    10   she poses in her October 29 e-mail?             10       notified whoever was selling to them.
    11       A. No, sir, I do not.                       11   QUESTIONS BY MR. GOTTO:
    12       Q. Okay. You can set that aside.            12       Q. Okay. So did you receive
    13           (Mallinckrodt-New Exhibit 32            13   notification from someone else at
    14       marked for identification.)                 14   Mallinckrodt when a pharmacy was chargeback
    15   QUESTIONS BY MR. GOTTO:                         15   restricted?
    16       Q. Exhibit 32 is a multipage                16       A. The SOMS team, Karen Harper's
    17   e-mail thread beginning at MNK-T1_0007721020.   17   team, would notify us if a customer was on
    18           Please take a moment to look            18   chargeback restriction.
    19   through those e-mails and tell me if you        19       Q. Okay. And what would you then
    20   recognize them.                                 20   do with that information?
    21       A. Is there a specific section you          21       A. We would send it to customers
    22   want me to look at or --                        22   that it was meaningful to.
    23       Q. Yes. Actually on the second              23       Q. So in other words, the
    24   page there's an e-mail from Jennifer Buist to   24   customers that resold to that
    25   you, and then -- which is following up on an    25   chargeback-restricted pharmacy?
                                              Page 251                                           Page 253
     1   e-mail from you to her. Those in particular.     1       A. Right. Right.
     2       A. Okay.                                     2       Q. And the chargeback restriction,
     3       Q. So in your -- in your e-mail of           3   what was the effect of that chargeback
     4   November 5, 2014, you make reference to a        4   restriction?
     5   Curascript program.                              5            MR. DAVISON: Objection. Form.
     6            What was that program?                  6            THE WITNESS: You would have to
     7       A. Curascript was a customer that            7       ask them. I have -- I don't know the
     8   was a distributor, I believe.                    8       effectiveness of it.
     9       Q. So in your e-mail you say,                9   QUESTIONS BY MR. GOTTO:
    10   "Attached is a list of customers on the         10       Q. Okay. You can set that aside.
    11   Curascript program."                            11            (Mallinckrodt-New Exhibit 33
    12            So were there customers who            12       marked for identification.)
    13   were on such a program that you can recall?     13   QUESTIONS BY MR. GOTTO:
    14            MR. DAVISON: Objection.                14       Q. Exhibit 33 is a multipage
    15            THE WITNESS: I can't tell you          15   e-mail thread beginning at Bates
    16       that for certain.                           16   MNK-T1_0007984606.
    17   QUESTIONS BY MR. GOTTO:                         17            Please tell me if you recognize
    18       Q. Okay. On Jennifer Buist's                18   those e-mails.
    19   e-mail to you on November 5th at the top of     19       A. Your question?
    20   the second page of that exhibit.                20       Q. Do you recognize any of those
    21       A. Yes.                                     21   e-mails?
    22       Q. In the second paragraph she              22       A. I am familiar with it. I'm not
    23   states, "Amongst the list you provided, two     23   familiar with all the details.
    24   pharmacies are currently chargeback             24       Q. Okay. So these e-mails concern
    25   restricted."                                    25   an apparently suspicious product that
   Golkow Litigation Services                                               Page 64 (250 - 253)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further65Confidentiality
                                                         of 84. PageID #: 242458
                                                                             Review
                                               Page 254                                             Page 256
     1   Albertsons discovered?                            1   QUESTIONS BY MR. GOTTO:
     2            MR. DAVISON: Objection to                2       Q. Exhibit 34 is a multipage
     3       form.                                         3   e-mail thread, MNK-T1_0008396040.
     4            THE WITNESS: The key word is             4            Please take a look at those
     5       "potential." It was a picture that as         5   e-mails and tell me if you recognize those.
     6       far as our corporate product                  6       A. Again, I don't recognize this
     7       monitoring group was -- apparently            7   particular e-mail.
     8       they -- they couldn't see the                 8       Q. Okay. So this concerns a new
     9       difference.                                   9   customer, Hometown Pharmacy; is that correct?
    10   QUESTIONS BY MR. GOTTO:                          10       A. Yes, sir.
    11       Q. Okay. And so ultimately you               11       Q. Okay. And if you look at the
    12   know what the -- the resolution of this -- of    12   top of the -- of the second page of the
    13   this situation was?                              13   exhibit, there's an e-mail from you to
    14            MR. DAVISON: Objection.                 14   Heather McKenzie dated August 3rd of 2016.
    15   QUESTIONS BY MR. GOTTO:                          15            Do you see that?
    16       Q. Well, let me ask the question             16       A. Yes.
    17   differently.                                     17       Q. And who was Heather McKenzie?
    18            Albertsons had an amount of the         18       A. According to this, she was
    19   product in quarantine, correct?                  19   controlled substance senior analyst. So she
    20       A. Correct.                                  20   was in the SOMS team.
    21       Q. And -- because they had some              21       Q. Okay. And you say in your
    22   concerns about it?                               22   e-mail, "This is a new account for MNK. I
    23            MR. DAVISON: Objection to               23   just got" -- I'm sorry. "Just got DEA
    24       form.                                        24   approval on their vault. Karen, Tim and I
    25            THE WITNESS: Correct.                   25   visited this account. I will provide volume
                                               Page 255                                             Page 257
     1   QUESTIONS BY MR. GOTTO:                           1   ASAP. I'm in CA at a meeting away from my
     2       Q. And do you know ultimately what            2   computer."
     3   happened, whether that product was returned       3           Correct?
     4   by Albertsons or released from quarantine or      4       A. Correct.
     5   what happened?                                    5       Q. And so the Karen, Tim -- the
     6       A. I do not recall how it was                 6   Karen and Tim that you visited the account
     7   resolved.                                         7   with, who were they?
     8       Q. Okay. In your e-mail on                    8       A. Karen Harper of our SOMS team,
     9   October 21 in the first page of the               9   and Tim -- I can't think of his last name.
    10   exhibit --                                       10   Tim was from our security team.
    11       A. Yes, sir.                                 11       Q. Okay.
    12       Q. -- when you say, "The pictures            12       A. Heppermann.
    13   came last week when we were at HD Smith. Jen     13       Q. And do you recall where this
    14   and Karen both could not really see any          14   account was located?
    15   difference, but apparently Scott is              15       A. In Ohio.
    16   concerned."                                      16       Q. Do you know where in Ohio?
    17            The Scott you're referring to           17       A. Oh, no, I'm sorry. Strike
    18   there, is that Scott Johnson at Albertsons?      18   that. They're in Wisconsin.
    19       A. Correct.                                  19       Q. Wisconsin?
    20       Q. Okay. And you don't recall the            20       A. Yeah, I'm sorry.
    21   conclusion of that?                              21       Q. In 2016 -- well, were there
    22       A. No, sir.                                  22   other occasions where you visited new
    23       Q. Okay. You can set that aside.             23   customer facilities with Ms. Harper?
    24            (Mallinckrodt-New Exhibit 34            24       A. Yes.
    25       marked for identification.)                  25       Q. About how often can you recall
   Golkow Litigation Services                                                 Page 65 (254 - 257)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further66Confidentiality
                                                         of 84. PageID #: 242459
                                                                             Review
                                             Page 258                                             Page 260
     1   that happening?                                  1       A. Uh-huh.
     2       A. I can't tell you how often it             2       Q. And so in this e-mail, Heather
     3   happened, but anytime there was a new            3   McKenzie is saying the order was released
     4   account, I would ask her to join me.             4   from hold, although it exceeded the
     5       Q. And sometimes she would, and              5   forecasted allocation, correct?
     6   sometimes she wouldn't; is that fair?            6            MR. DAVISON: Objection to
     7            MR. DAVISON: Objection.                 7       form.
     8            THE WITNESS: It -- yes, it              8            THE WITNESS: "There is no
     9       depended on her availability, but it         9       question as to the quantity of this
    10       also depended on the due diligence          10       order. More so we're requesting an
    11       that we were going to be doing.             11       updated forecast."
    12   QUESTIONS BY MR. GOTTO:                         12            So it wasn't necessarily the
    13       Q. Okay. Okay. You can set that             13       12 bottles, based on what I'm reading.
    14   aside.                                          14       It was the fact that they didn't have
    15            (Mallinckrodt-New Exhibit 35           15       a forecast that accounted for these.
    16       marked for identification.)                 16   QUESTIONS BY MR. GOTTO:
    17   QUESTIONS BY MR. GOTTO:                         17       Q. Okay. Okay. You can set that
    18       Q. Exhibit 35 is a two-page e-mail          18   aside.
    19   thread beginning at MNK-T1_0001519326.          19            (Mallinckrodt-New Exhibit 36
    20            Would you please take a look at        20       marked for identification.)
    21   those e-mails and tell me if you recognize      21   QUESTIONS BY MR. GOTTO:
    22   them.                                           22       Q. Exhibit 36 is a two-page e-mail
    23       A. Again, I don't recall this               23   thread beginning at MNK-T1_0008409479.
    24   specific e-mail, but I know it's from me,       24            If you'd take a look at those
    25   started with me.                                25   e-mails and tell me if you recognize them.
                                             Page 259                                             Page 261
     1        Q. Okay.                                    1        A. I do not recognize this
     2        A. Or started with Heather.                 2   specific e-mail.
     3        Q. Okay. So at the bottom of the            3        Q. Okay. So on the bottom of the
     4   first page there's an e-mail from Heather        4   first page we have an e-mail from Heather
     5   McKenzie to you, which carrying over to the      5   McKenzie saying, "Bonnie, Anda
     6   second page says, "HD Smith order," it gives     6   Pharmaceuticals order" -- gives a number and
     7   a number, "was released from U1 hold for         7   a customer PO -- "has been released from U2
     8   oxycodone HCl 15-milligram tablets, USP, 100     8   hold. The order exceeds the 18-month
     9   count. Their quantity ordered exceeds their      9   quantity average star factor; however, it is
    10   monthly forecasted allocation, which includes   10   within their segment."
    11   an additional 10 percent."                      11            Do you see that?
    12            When she uses the expression           12        A. Yes.
    13   "U1 hold," do you know what that means?         13        Q. Do you know what it means in
    14        A. No.                                     14   this context for the order to be within the
    15        Q. Okay.                                   15   customer's segment?
    16        A. Because I thought it was U2             16            MR. DAVISON: Objection.
    17   hold, so I don't know why this says U1.         17            THE WITNESS: I'm not sure what
    18        Q. Okay. And I've seen U2 hold in          18        she meant by that.
    19   some other documents, too.                      19   QUESTIONS BY MR. GOTTO:
    20            What did you understand that           20        Q. Okay. I mean, it appears to be
    21   term to mean?                                   21   the reason that it was released from hold,
    22        A. That they're holding it because         22   correct?
    23   they're questioning the allocation on it.       23            MR. DAVISON: Objection.
    24        Q. Okay. Based on the SOMS team            24            THE WITNESS: I can't say that.
    25   review?                                         25


   Golkow Litigation Services                                                Page 66 (258 - 261)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further67Confidentiality
                                                         of 84. PageID #: 242460
                                                                             Review
                                             Page 262                                            Page 264
     1   QUESTIONS BY MR. GOTTO:                         1   past?
     2        Q. Okay. So you're not familiar            2            MR. DAVISON: Objection.
     3   with that terminology of it being within        3            THE WITNESS: I did not have
     4   their segment?                                  4       any veterinary customers, so I'm not
     5        A. Correct.                                5       familiar with what action was taken
     6            MR. DAVISON: Objection.                6       with them.
     7            THE WITNESS: I'm not sure what         7   QUESTIONS BY MR. GOTTO:
     8        she meant by that.                         8       Q. Okay. So you didn't have an
     9   QUESTIONS BY MR. GOTTO:                         9   understanding one way or the other about
    10        Q. Okay. And your e-mail on the           10   purchases by veterinarians?
    11   first page from January 17 indicates "we are   11       A. Huh-uh, no.
    12   trying to drive compliance. Looks like it      12       Q. And you did not have any
    13   might be working."                             13   accounts that were veterinary purchasers,
    14            What did you mean by that, by         14   correct?
    15   the "looks like it might be working" phrase?   15       A. To my knowledge, no, sir.
    16        A. The previous sentence says, "We        16       Q. And do you know if any of your
    17   received an award on this product line in      17   accounts resold to veterinary purchasers?
    18   October for members of the TBC," which was a   18            MR. DAVISON: Objection.
    19   purchasing group. And so they were buying      19            THE WITNESS: I do not, no.
    20   that product through Anda.                     20   QUESTIONS BY MR. GOTTO:
    21        Q. Okay. Okay. You can set that           21       Q. Okay. Okay. You can set that
    22   aside.                                         22   aside.
    23            (Mallinckrodt-New Exhibit 37          23            (Mallinckrodt-New Exhibit 38
    24        marked for identification.)               24       marked for identification.)
    25                                                  25

                                             Page 263                                            Page 265
     1   QUESTIONS BY MR. GOTTO:                         1   QUESTIONS BY MR. GOTTO:
     2        Q. Exhibit 37 is a multipage               2       Q. Exhibit 38 is a two-page e-mail
     3   e-mail thread beginning at Bates                3   thread MNK-T1_0008409661.
     4   MNK-T1_0007729179.                              4            Please take a look at those
     5            Please take a look at those            5   e-mails and tell me if you recognize them.
     6   e-mails and let me know if you recognize        6       A. I don't recall this specific
     7   them.                                           7   e-mail, but Anda was a secondary supplier for
     8        A. I am not familiar with this             8   Walgreens, so when they couldn't get product
     9   e-mail.                                         9   through their primary supplier, they would go
    10        Q. Okay. Well, on the first page          10   to Anda for secondary purchases.
    11   there's an e-mail from Karen Harper to you     11       Q. Okay. Was Mallinckrodt a
    12   dated August 24, 2017.                         12   primary supplier?
    13            Do you see that?                      13            MR. DAVISON: Objection.
    14        A. Yes.                                   14            THE WITNESS: I don't know how
    15        Q. And she says, "Bonnie, the             15       to answer that.
    16   restriction of fentanyl patch purchases only   16   QUESTIONS BY MR. GOTTO:
    17   is that MW1 is selling to veterinary           17       Q. Okay. Well, in any event, the
    18   customers. MNK has declined to sell other      18   question -- well, on the second page of the
    19   opioids such as oxycodone through to vets in   19   exhibit, your e-mail to Deidre Ashworth --
    20   the past."                                     20   and who was Deidre Ashworth?
    21            Do you see that?                      21       A. She was with Anda generics --
    22        A. Yes, sir.                              22       Q. Okay.
    23        Q. And apart from this e-mail from        23       A. -- in Florida.
    24   Ms. Harper, were you aware of Mallinckrodt     24       Q. And so you're forwarding a
    25   declining to sell oxycodone to vets in the     25   question to her saying the order will not
   Golkow Litigation Services                                               Page 67 (262 - 265)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further68Confidentiality
                                                         of 84. PageID #: 242461
                                                                             Review
                                               Page 266                                             Page 268
     1   ship until we have your reply; is that right?     1       Q. Okay. If you turn to the one,
     2       A. That's correct.                            2   two, three -- the fourth page of the exhibit,
     3       Q. Okay. And then the reply comes             3   there's an e-mail from you to Lisa Cardetti
     4   back that the order is due to the recent          4   and others dated September 19, 2017.
     5   increase in demand from WAGS.                     5            Do you see that?
     6           Do you see that?                          6       A. Right.
     7       A. Walgreens.                                 7       Q. And you say, "I have copied
     8       Q. Okay. "This is a great                     8   Amanda and Eileen on the SOM team so that we
     9   opportunity if you can support, question          9   do not experience any problems regarding U2
    10   mark?"                                           10   holds on these shipments."
    11       A. Right.                                    11            So what did you mean by that,
    12       Q. And then you forwarded that               12   and how did copying Eileen and Amanda avoid
    13   response to Amanda Chase, correct?               13   problems regarding U2 holds?
    14       A. Yes, sir.                                 14            MR. DAVISON: Objection.
    15       Q. And who was Amanda Chase?                 15            THE WITNESS: Amanda and Eileen
    16       A. Amanda was in the controlled              16       are in the SOMS group, and anytime
    17   substances with Karen Harper, per her            17       there's a larger-than-normal order or
    18   signature on the back.                           18       shipment for whatever reason, it was
    19       Q. Okay. And the top e-mail from             19       being proactive and letting them know
    20   Lisa Cardetti to you and others states that      20       that they were coming so it
    21   "Attached is Walgreens' response. Will let       21       wouldn't get stopped in the system.
    22   you know if I hear anything further. Since       22   QUESTIONS BY MR. GOTTO:
    23   Anda's purchases are not made at Walgreens'      23       Q. Okay. And the reason for these
    24   request, this is something to keep an eye on     24   larger-than-normal orders was what?
    25   with a run on our inventory and even             25            MR. DAVISON: Objection.
                                               Page 267                                             Page 269
     1   potential returns."                               1            THE WITNESS: I'm not sure.
     2             Do you see that?                        2            (Mallinckrodt-New Exhibit 40
     3       A. Yes.                                       3       marked for identification.)
     4       Q. Do you know what she meant by              4   QUESTIONS BY MR. GOTTO:
     5   that, to "keep an eye on it with a run on our     5       Q. Okay. Exhibit 40 is a document
     6   inventory and even potential returns"?            6   that was produced in native
     7             MR. DAVISON: Objection to               7   MNK-T1_0007728133.
     8       form.                                         8            Please take a look at that
     9             THE WITNESS: Have to ask Lisa.          9   attachment and tell me if you're familiar
    10   QUESTIONS BY MR. GOTTO:                          10   with this report or at least the format of
    11       Q. Okay. Okay. You can set that              11   this report.
    12   aside.                                           12       A. I am not --
    13             (Mallinckrodt-New Exhibit 39           13       Q. Okay.
    14       marked for identification.)                  14       A. -- familiar with this.
    15   QUESTIONS BY MR. GOTTO:                          15       Q. There's a column headed
    16       Q. Exhibit 39 is a multipage                 16   "Action" toward the right-hand side.
    17   e-mail thread beginning at Bates                 17            Do you see that?
    18   MNK-T1_0004849397.                               18       A. Yes.
    19       A. Yes.                                      19       Q. And for almost all of the
    20       Q. Please take a look at those               20   entries in the report, it indicates closed
    21   e-mails and tell me if you recognize them.       21   account, parens, quote D, close quote.
    22       A. Yes, sir.                                 22            Do you know what that means?
    23       Q. Okay. Do you recognize those              23            MR. DAVISON: Objection.
    24   e-mails?                                         24            THE WITNESS: I don't know.
    25       A. Not this specific e-mail.                 25


   Golkow Litigation Services                                                 Page 68 (266 - 269)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further69Confidentiality
                                                         of 84. PageID #: 242462
                                                                             Review
                                            Page 270                                            Page 272
     1   QUESTIONS BY MR. GOTTO:                        1       A. Yes, sir.
     2       Q. Okay. All right. You can set            2       Q. Okay. And I just want to make
     3   that aside.                                    3   sure that there weren't any other accounts,
     4            MR. GOTTO: Let's go off the           4   and I just want to run through them real
     5       record.                                    5   quick and verify the ones you named.
     6            MR. DAVISON: Before we go off,        6            You named Kroger. That was an
     7       actually, Mallinckrodt is going to         7   account, correct?
     8       claw back Exhibit 22 for privilege         8       A. Correct.
     9       under CMO 2. Just so everyone has the      9       Q. Thrifty White?
    10       Bates number, it's MNK-T1_0000460028.     10       A. Correct.
    11            And we'll send the appropriate       11       Q. Schnucks?
    12       clawback letter to all parties.           12       A. Yes.
    13            VIDEOGRAPHER: We are going off       13       Q. HAB?
    14       the record at 3:46 p.m.                   14       A. HEB.
    15        (Off the record at 3:46 p.m.)            15       Q. HEB, sorry.
    16            VIDEOGRAPHER: We are back on         16            SuperValu?
    17       the record at 4 p.m.                      17       A. Correct.
    18            CROSS-EXAMINATION                    18       Q. And then you also had Walmart?
    19   QUESTIONS BY MR. LENISKI:                     19       A. Yes, sir.
    20       Q. Good afternoon, Ms. New.               20       Q. And Cardinal?
    21       A. Good afternoon.                        21       A. Yes, sir, at the end.
    22       Q. We were introduced earlier. My         22       Q. Okay. Are there any other
    23   name is Joe Leniski. I represent plaintiffs   23   accounts you can think of that you would have
    24   in the state of Tennessee.                    24   been assigned while you worked at
    25            MR. LENISKI: And before we           25   Mallinckrodt?
                                            Page 271                                            Page 273
     1       continue, I've got to state an             1        A. Anda I had for a time. That's
     2       objection that the Tennessee               2   all I can recall right this minute.
     3       plaintiffs have to these depositions       3        Q. Okay. To your recollection,
     4       on the basis that we were not provided     4   did any of your accounts ship Mallinckrodt
     5       adequate notice or sufficient -- or        5   opioids to Tennessee?
     6       provided the documents sufficiently in     6             MR. DAVISON: Objection to
     7       advance of the deposition, in addition     7        form.
     8       to the fact that we believe there are      8             THE WITNESS: I can't answer
     9       different rules which apply, Tennessee     9        that.
    10       rules, to the depositions.                10   QUESTIONS BY MR. LENISKI:
    11            But in the spirit of the             11        Q. Well, that was something you
    12       protocol covering these depositions in    12   probably would have been aware of when you
    13       the MDL, we agree to be here today and    13   worked at Mallinckrodt?
    14       ask you questions.                        14        A. Potentially.
    15            MR. DAVISON: And Mallinckrodt        15             MR. DAVISON: Objection.
    16       disagrees with your characterization      16   QUESTIONS BY MR. LENISKI:
    17       of the facts, and we reserve all          17        Q. And you say "potentially."
    18       rights. We think that this is a           18             Did your role as accounts
    19       properly cross-noticed deposition.        19   director, did that require you to know where
    20            MR. LENISKI: Okay. Thanks.           20   your customers' customers were located
    21   QUESTIONS BY MR. LENISKI:                     21   geographically?
    22       Q. Ms. New, this morning, do you          22        A. No, sir.
    23   recall being asked questions about which      23        Q. Okay. Is that something that
    24   accounts you were assigned while you worked   24   you sought to learn in connection with your
    25   at Mallinckrodt?                              25   responsibilities at Mallinckrodt?
   Golkow Litigation Services                                              Page 69 (270 - 273)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further70Confidentiality
                                                         of 84. PageID #: 242463
                                                                             Review
                                             Page 274                                              Page 276
     1       A. No, sir.                                  1       A. Okay.
     2       Q. Okay. And can you tell me why             2       Q. Are you aware of that?
     3   was the location where your customers'           3       A. I'm not, sir.
     4   customers were obtaining opioids, why was        4       Q. While at Mallinckrodt, were you
     5   that something that you just weren't required    5   ever involved in any discussions, to your
     6   to concern yourself with while you were at       6   knowledge, about Mallinckrodt's shipment or
     7   Mallinckrodt?                                    7   distribution of opioids in Appalachia?
     8            MR. DAVISON: Objection.                 8            MR. DAVISON: Objection.
     9            THE WITNESS: Because there              9            THE WITNESS: No, sir.
    10       were other people that monitored            10   QUESTIONS BY MR. LENISKI:
    11       that in -- that data.                       11       Q. Were you party to any
    12   QUESTIONS BY MR. LENISKI:                       12   discussions about whether or not Mallinckrodt
    13       Q. So as a national accounts                13   should be shipping or distributing opioids to
    14   director then, the relative level of opioid     14   customers in Appalachia?
    15   abuse or overdoses in a particular geographic   15       A. No, sir.
    16   area was not something that you were            16       Q. Would that have been a
    17   responsible for knowing or addressing in any    17   discussion you would have been involved in,
    18   way?                                            18   to your knowledge?
    19            MR. DAVISON: Objection.                19            MR. DAVISON: Objection.
    20            THE WITNESS: I'm not sure I            20            THE WITNESS: Not that I
    21       could say that clearly. I mean, I           21       recall.
    22       can't -- I can't state that as being        22   QUESTIONS BY MR. LENISKI:
    23       true.                                       23       Q. As a national account manager
    24   QUESTIONS BY MR. LENISKI:                       24   at Mallinckrodt, did you treat distributors
    25       Q. While employed at Mallinckrodt,          25   shipping to certain geographic areas -- well,
                                             Page 275                                              Page 277
     1   did you have an awareness of the severity of     1   strike that.
     2   the opioid epidemic in Tennessee?                2             As a national account manager
     3            MR. DAVISON: Objection.                 3   at Mallinckrodt, was it relevant to your job
     4            THE WITNESS: I was not aware            4   duties where your distributors -- where your
     5       of it specific to different states. I        5   customers were distributing your product?
     6       just was aware of it in general.             6             MR. DAVISON: Objection.
     7   QUESTIONS BY MR. LENISKI:                        7             THE WITNESS: I don't know how
     8       Q. You mean across the nation?               8        to answer that.
     9       A. Yes, sir.                                 9   QUESTIONS BY MR. LENISKI:
    10       Q. Okay. While employed at                  10        Q. Well, let me try to ask it this
    11   Mallinckrodt, did you have awareness of the     11   way. As national account director or
    12   severity of the opioid epidemic specifically    12   national account manager -- what's more --
    13   in Appalachia?                                  13   what's proper, national account manager or
    14            MR. DAVISON: Objection.                14   national account director?
    15            THE WITNESS: No, sir.                  15        A. It was -- the director came
    16   QUESTIONS BY MR. LENISKI:                       16   after the national account, so there were
    17       Q. When I say "Appalachia," do you          17   three positions in sales.
    18   know where I'm talking about?                   18        Q. Okay.
    19       A. Not specifically, no. I --               19        A. So I -- I understand what
    20   Florida? I mean, not Florida. Tennessee?        20   you're saying.
    21       Q. Right. I'm talking about                 21        Q. Okay. So in the role of
    22   Appalachia representing the region --           22   national accounts manager, were there any --
    23   generally speaking the states that border the   23   was there any consideration given as to
    24   Appalachian mountains in the eastern United     24   whether or not Mallinckrodt should be selling
    25   States.                                         25   its product to customers in particular
   Golkow Litigation Services                                                Page 70 (274 - 277)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further71Confidentiality
                                                         of 84. PageID #: 242464
                                                                             Review
                                              Page 278                                              Page 280
     1   geographic regions?                              1       SOMS team monitoring that.
     2             MR. DAVISON: Objection.                2   QUESTIONS BY MR. LENISKI:
     3             THE WITNESS: I'm not aware of          3       Q. Okay. So whether or not -- the
     4        that.                                       4   accounts that you were assigned to, whether
     5   QUESTIONS BY MR. LENISKI:                        5   or not Mallinckrodt was selling to those
     6        Q. Do you recall there ever being           6   accounts and in turn those accounts had
     7   any discussion while you were employed at        7   customers located in the state of Florida,
     8   Mallinckrodt about how Mallinckrodt handled      8   that was not something that you understood
     9   its sales of its opioid products in the state    9   was relevant to your job duties in national
    10   of Florida?                                     10   accounts?
    11             MR. DAVISON: Objection.               11            MR. DAVISON: Objection.
    12             THE WITNESS: No, sir.                 12   QUESTIONS BY MR. LENISKI:
    13   QUESTIONS BY MR. LENISKI:                       13       Q. Is that fair?
    14        Q. In other words, are you                 14       A. I'm not sure.
    15   aware -- while you were at Mallinckrodt, were   15       Q. Did overdose rates in
    16   you aware whether Florida was ever treated      16   particular areas of the country, was that a
    17   differently from a national account             17   factor that you had to be aware of in
    18   standpoint?                                     18   connection with your role in national
    19        A. I didn't have Florida                   19   accounts?
    20   customers, so I was not involved in those       20       A. No, sir.
    21   top-line conversations.                         21       Q. What about per capita
    22        Q. And how do you know you didn't          22   prescribing, was that a factor you had to be
    23   have Florida customers?                         23   aware of in connection with your role in
    24        A. That was based on geographic            24   national accounts?
    25   location of my accounts and the people that I   25            MR. DAVISON: Objection.
                                              Page 279                                              Page 281
     1   called on.                                       1           THE WITNESS: No, sir.
     2        Q. So where geographically then             2   QUESTIONS BY MR. LENISKI:
     3   were your accounts located, to your              3       Q. What about dispensing rates,
     4   knowledge?                                       4   was this a factor you had to be aware of in
     5        A. I misspoke. They weren't --              5   connection with your role in national
     6   the accounts were awarded -- our account         6   accounts?
     7   responsibility was not geographical. It was      7           MR. DAVISON: Objection.
     8   based on account by account. And so they         8           THE WITNESS: No, sir.
     9   would move them, they would change them, so      9   QUESTIONS BY MR. LENISKI:
    10   it rotated on a regular basis.                  10       Q. Do you know what neonatal
    11        Q. And it was your recollection            11   abstinence syndrome is?
    12   that none of your accounts to which you were    12       A. Not specifically, no.
    13   assigned were located in Florida?               13       Q. Did reports of law enforcement
    14        A. Not that I can recall, no, sir.         14   actions factor into your responsibilities in
    15        Q. Okay. Did you know whether any          15   national accounts?
    16   of your accounts that you were assigned,        16           MR. DAVISON: Objection.
    17   whether their customers were located in         17           THE WITNESS: Reask that
    18   Florida?                                        18       question again?
    19        A. I can't answer that. I don't            19   QUESTIONS BY MR. LENISKI:
    20   know.                                           20       Q. Did reports of law enforcement
    21        Q. Was that something that you             21   actions factor into your responsibilities in
    22   would have been required to know in your role   22   national accounts?
    23   in national accounts?                           23       A. No, it wasn't my
    24            MR. DAVISON: Objection.                24   responsibility.
    25            THE WITNESS: No. That was our          25       Q. From time to time would you be
   Golkow Litigation Services                                                Page 71 (278 - 281)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further72Confidentiality
                                                         of 84. PageID #: 242465
                                                                             Review
                                              Page 282                                            Page 284
     1   included in communications about law             1   and watch for things, but I didn't have the
     2   enforcement actions affecting customers of       2   detail level that the suspicious order
     3   Mallinckrodt?                                    3   monitoring team had.
     4            MR. DAVISON: Objection.                 4       Q. And who was it that instructed
     5            THE WITNESS: Yes.                       5   you to keep your eyes open and watch for
     6   QUESTIONS BY MR. LENISKI:                        6   things?
     7       Q. And do you know why you were              7       A. I think it was general
     8   included this those communications?              8   knowledge.
     9       A. No, sir.                                  9       Q. So no one specifically, to your
    10       Q. And I guess I'll ask it this             10   knowledge, gave you that instruction at
    11   way. Well, strike that.                         11   Mallinckrodt?
    12            Can you recall an instance             12       A. I would -- Karen Harper did
    13   where you took any action in response to        13   some training with us. I'm sure it came
    14   receiving a report or a news article about a    14   through that avenue of training.
    15   law enforcement action concerning one of        15       Q. And when you say you "needed to
    16   Mallinckrodt's customers?                       16   keep your eyes open and watch for things,"
    17            MR. DAVISON: Objection.                17   what's your understanding of what those
    18            THE WITNESS: No, sir.                  18   "things" were you needed to watch out for?
    19   QUESTIONS BY MR. LENISKI:                       19       A. U2 hold orders would bring to
    20       Q. To your knowledge, did any --            20   our attention quantities that were outside
    21   did you or any other national account           21   the norm.
    22   managers ever express concerns about the        22       Q. And how would a U2 hold order
    23   relative volume of opioids going into a         23   come to your attention?
    24   particular geographic area?                     24       A. It would come from the SOMS
    25       A. No, sir. I can speak for                 25   team asking me about the actual purchase.
                                              Page 283                                            Page 285
     1   myself. I can't speak for others.                1        Q. So when you said "keep your
     2       Q. Well, were you party to any               2   eyes open and watch for things," you meant
     3   communications that you're aware of from         3   that -- look for particular items that the
     4   other national account managers in which they    4   SOMS team would bring to your attention; is
     5   were expressing concern about volumes of         5   that correct?
     6   opioids in a particular geographic area?         6             MR. DAVISON: Objection.
     7       A. I'm not aware of any.                     7             THE WITNESS: That, and various
     8       Q. As a national account manager,            8        other avenues.
     9   were you trained to report patterns or           9   QUESTIONS BY MR. LENISKI:
    10   distributor practices that raised any red       10        Q. Would you come -- would you
    11   flags?                                          11   become aware of any U2 hold order other than
    12            MR. DAVISON: Objection.                12   through the SOMS team at Mallinckrodt?
    13            THE WITNESS: Not specifically.         13        A. No, that was the trigger.
    14   QUESTIONS BY MR. LENISKI:                       14        Q. Okay. Other than U2 hold
    15       Q. To your knowledge, did you ever          15   orders, what other things did you understand
    16   become aware of any red flags that you ever     16   you were supposed to keep your eye out for?
    17   reported to anyone at Mallinckrodt?             17        A. I don't recall specifically.
    18       A. Potentially, but I don't                 18        Q. Do you recall there ever being
    19   recall.                                         19   a list of items that you were supposed to
    20       Q. Nothing specific today?                  20   keep an eye out for?
    21       A. Nothing, no.                             21        A. No, sir.
    22       Q. As a national account manager,           22             (Mallinckrodt-New Exhibit 41
    23   were you instructed to monitor for suspicious   23        marked for identification.)
    24   behavior by distributors?                       24   QUESTIONS BY MR. LENISKI:
    25       A. We needed to keep our eyes open          25        Q. I hand a document identified as

   Golkow Litigation Services                                                Page 72 (282 - 285)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further73Confidentiality
                                                         of 84. PageID #: 242466
                                                                             Review
                                              Page 286                                            Page 288
     1   Exhibit 41 to your deposition. This is a         1       A. Yes, sir.
     2   document which is Bates-stamped                  2       Q. Were you assigned to Morris &
     3   MNK-T1_0006264226.                               3   Dickson?
     4           If you want to look at the               4       A. Yes, sir.
     5   document, I'm going to ask you if you            5       Q. And were you assigned to
     6   recognize the document first.                    6   Thrifty White?
     7       A. Yes.                                      7       A. Yes, sir.
     8       Q. What is this document,                    8       Q. Okay. If you would, please
     9   Exhibit 41?                                      9   turn to page 24 of the PowerPoint.
    10       A. This was presented at our                10       A. It's not numbered.
    11   national sales meeting in October of 2014,      11       Q. You might just have to -- let
    12   according to the cover page.                    12   me see if I can find the Bates number for
    13       Q. And this says, "Take it to the           13   you.
    14   next level, national sales meeting, Bonnie      14            MR. DAVISON: There's no Bates
    15   New - Territory 5000, October 26 through the    15       numbers either because it's -- you
    16   30th, 2014," correct?                           16       just have to give us the title.
    17       A. Correct.                                 17   QUESTIONS BY MR. LENISKI:
    18       Q. Did you put together this                18       Q. So about halfway.
    19   PowerPoint presentation?                        19       A. Okay.
    20       A. I put together the information           20       Q. At the top of the slide it
    21   in the PowerPoint, but the slide deck was       21   reads "Econdisc strategic key objective."
    22   given to us, the format.                        22       A. Okay.
    23       Q. I see.                                   23       Q. "Fiscal year '15."
    24           Territory 5000, what is that?           24       A. Okay. So --
    25       A. The territory that was assigned          25            MR. DAVISON: A little bit
                                              Page 287                                            Page 289
     1   to me.                                           1       further.
     2        Q. If you look at the second page           2            Joe, this one?
     3   of the PowerPoint, under agenda, second          3            MR. LENISKI: That's right.
     4   bullet says, "Key accounts business summary,"    4       Correct.
     5   correct?                                         5            THE WITNESS: Okay.
     6        A. Yes. Yes.                                6   QUESTIONS BY MR. LENISKI:
     7        Q. Those five accounts, were those          7       Q. On this slide, the second
     8   all accounts that you were assigned to around    8   bullet down says, "Increase core business, 15
     9   this time, 2014?                                 9   million plus -- $15 million plus,
    10        A. I don't believe so.                     10   approximately a 42 percent increase."
    11        Q. Okay. Were those accounts in            11            Do you see that?
    12   Territory 5000?                                 12       A. Yes, sir.
    13        A. Yes, sir.                               13       Q. Okay. And the first sub-bullet
    14        Q. Okay. Do you know whether you           14   there says, "Oxycodone IR 15 milligrams,"
    15   were assigned to Walmart around this time in    15   correct?
    16   2014?                                           16       A. Correct.
    17        A. I would say that I was, based           17       Q. And then if you look across
    18   on the slide.                                   18   from that it has $2 million listed there.
    19        Q. Okay. Were you assigned to              19       A. Right.
    20   Econdisc, the second item --                    20       Q. Was it your understanding as of
    21        A. Yes.                                    21   the date of this national sales meeting that
    22        Q. -- or second key account listed         22   the key -- strategic key objective with
    23   there?                                          23   respect to the Econdisc -- I'm sorry,
    24        A. Yes.                                    24   Econdisc at Mallinckrodt was to increase the
    25        Q. Were you assigned to HD Smith?          25   core business with respect to oxycodone IR
   Golkow Litigation Services                                                Page 73 (286 - 289)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further74Confidentiality
                                                         of 84. PageID #: 242467
                                                                             Review
                                             Page 290                                             Page 292
     1   15-milligram product $2 million?                1       A. Right.
     2            MR. DAVISON: Objection.                2       Q. -- a total of $15 million plus,
     3            THE WITNESS: So these were key         3   correct?
     4       objectives for fiscal year '15. There       4       A. Correct.
     5       was a bid process coming up. We knew        5       Q. And my question is: Do you
     6       their volumes for all these products,       6   know who was it at Mallinckrodt that
     7       so we estimated if we won the business      7   formulated that strategic key objective?
     8       what the value would be. That's what        8       A. This was a combination of
     9       that number means.                          9   working with the product manager and myself,
    10   QUESTIONS BY MR. LENISKI:                      10   and these were based on the numbers that
    11       Q. Okay. And then second bullet,           11   Econdisc provided to us as far as their
    12   the strategic key objective for fiscal year    12   volume. This was product that we did not
    13   '15 with respect to oxy/APAP 10 and 325        13   have on contract with them.
    14   strengths would be to increase that core       14            So based on the volume that
    15   business by 13 million, correct?               15   they gave us and the -- what we knew to be
    16       A. Correct.                                16   the market price at the time we were
    17       Q. Were you involved in the bid            17   discussing it, that was the value.
    18   process at Econdisc where Mallinckrodt was     18       Q. Okay. Go to the next slide.
    19   concerned?                                     19       A. Yes, sir.
    20       A. Yes.                                    20       Q. Under the first bullet it says,
    21       Q. And what did that entail?               21   "Invest in their business," and it lists the
    22       A. It included getting the entire          22   ALL IN program.
    23   marketing folks together, upper management,    23            What is that?
    24   and determining what product was available     24       A. The ALL IN program was one that
    25   based on our DEA quota and what we could       25   was established as a communication program.
                                             Page 291                                             Page 293
     1   actually go out and bid. So it was a very       1   It was effective for a year, and I think it
     2   complex process.                                2   just kind of went by the wayside.
     3       Q. And what was your role in the            3       Q. What was your responsibility,
     4   bid process, specifically?                      4   if any, with respect to the ALL IN program?
     5       A. To manage the process. To make           5       A. To communicate it to the
     6   sure that we made our deadlines on the bid      6   customer.
     7   dates and that we submitted documentation in    7       Q. And can you give me more detail
     8   a proper fashion.                               8   than it was a communication program?
     9       Q. And do you know who was it that          9       A. I cannot.
    10   made the forecast or set the goal of           10       Q. Okay. Was it intended to
    11   increasing your core business for both         11   increase sales to this particular customer of
    12   oxycodone and oxy/APAP products at Econdisc    12   Mallinckrodt?
    13   $15 million plus?                              13            MR. DAVISON: Objection. Form.
    14           MR. DAVISON: Objection. Form.          14            THE WITNESS: I don't recall.
    15           THE WITNESS: Can you explain           15   QUESTIONS BY MR. LENISKI:
    16       your question again?                       16       Q. If you flip forward a few
    17   QUESTIONS BY MR. LENISKI:                      17   slides, there is a slide that says, "HD Smith
    18       Q. Sure.                                   18   strategic objectives, fiscal year '15."
    19           There's a strategic key                19       A. Yes, sir.
    20   objective here for fiscal year '15 --          20       Q. First bullet says, "Maintain,
    21       A. Right.                                  21   grow and protect current business"?
    22       Q. -- that references increasing           22       A. Yes, sir.
    23   core business for both the oxycodone IR        23       Q. Okay. And who was it at
    24   15-milligram strength and then the oxy/APAP    24   Mallinckrodt that helped formulate that
    25   10 and 325 strength --                         25   particular strategic objective concerning
   Golkow Litigation Services                                               Page 74 (290 - 293)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further75Confidentiality
                                                         of 84. PageID #: 242468
                                                                             Review
                                             Page 294                                              Page 296
     1   HD Smith for fiscal year '15?                    1   to its customers was?
     2       A. Again, group effort, talking              2        A. I know that it was a piece
     3   with the product team, upper management,         3   developed from our suspicious order
     4   specific goals, et cetera.                       4   monitoring team that needed to be updated
     5       Q. And what did it mean to grow              5   periodically.
     6   HD Smith's business as a strategic objective     6        Q. Okay. Did you ever have any
     7   for fiscal year '15?                             7   responsibilities with respect to the customer
     8       A. To look for potential products            8   questionnaire that Mallinckrodt utilized?
     9   that may be available to contract with them.     9        A. I can't say specifically.
    10       Q. Did it also mean increasing              10             (Mallinckrodt-New Exhibit 42
    11   sales of existing products that HD Smith was    11        marked for identification.)
    12   already -- or that Mallinckrodt's already       12   QUESTIONS BY MR. LENISKI:
    13   selling through HD Smith?                       13        Q. I've handed the witness
    14       A. We could not increase their              14   Exhibit 42.
    15   sales. The driver for increasing their sales    15        A. So this one we're done with?
    16   was their increased demand from their           16        Q. Correct.
    17   customers. So growing the business was more     17        A. Okay.
    18   about looking for opportunity for products      18        Q. This is a document
    19   that they didn't have on contract with us.      19   Bates-stamped MNK_TNSTA01117304.
    20       Q. So it was your understanding if          20             Take a look at the document,
    21   HD Smith's customers' demand went up, then      21   and I'll ask you if you recognize it.
    22   Mallinckrodt could potentially increase its     22        A. This particular document right
    23   sales to HD Smith, correct?                     23   here? Is that the one you're asking about?
    24            MR. DAVISON: Objection.                24        Q. It would be just -- if there's
    25            THE WITNESS: That's basically          25   an e-mail at the front -- I think you flip it
                                             Page 295                                              Page 297
     1       correct.                                     1   over.
     2   QUESTIONS BY MR. LENISKI:                        2       A. Okay.
     3       Q. And that was true throughout              3       Q. You're reading it backwards.
     4   the time you served as a national -- in          4       A. Right.
     5   national accounts at Mallinckrodt, correct?      5       Q. There's a cover e-mail, and
     6            MR. DAVISON: Objection.                 6   then what you have is an attachment to the
     7            THE WITNESS: I can't state --           7   e-mail following it.
     8       with a multiple management team, there       8       A. Okay. Okay. Thank you, sir.
     9       was a lot of inconsistency.                  9   Okay.
    10   QUESTIONS BY MR. LENISKI:                       10       Q. Do you recognize the e-mail on
    11       Q. To your knowledge, was the ALL           11   the document attachment?
    12   IN program -- was a goal of that program to     12       A. I recognize the attachments. I
    13   help your -- help Mallinckrodt's customers      13   don't recognize the specific e-mail.
    14   increase demand from their customers?           14       Q. And the e-mail is from Jane
    15            MR. DAVISON: Objection.                15   Williams to a number of individuals,
    16            THE WITNESS: No, I would               16   including yourself, dated January 24, 2012,
    17       not -- no.                                  17   correct?
    18   QUESTIONS BY MR. LENISKI:                       18       A. Correct.
    19       Q. Okay. This morning, do you               19       Q. And the subject is forward,
    20   recall answering questions about                20   suspicious order monitoring, direct customer
    21   Mallinckrodt's suspicious order monitoring      21   questionnaire revision, correct?
    22   function?                                       22       A. Correct.
    23       A. Yes.                                     23       Q. Okay. Did you assist in
    24       Q. Okay. Do you know what the               24   developing the customer questionnaire --
    25   customer questionnaire that Mallinckrodt gave   25       A. No.
   Golkow Litigation Services                                                Page 75 (294 - 297)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further76Confidentiality
                                                         of 84. PageID #: 242469
                                                                             Review
                                             Page 298                                             Page 300
     1        Q. -- attached to this exhibit?            1       A. I can't say that I did or did
     2        A. No, sir, I did not.                     2   not.
     3        Q. Do you know who developed it?           3       Q. To your knowledge, did you help
     4        A. I would suspect it's the                4   any of your accounts to fill out the
     5   suspicious order monitoring team.               5   questionnaire?
     6        Q. Okay. Was it part of your               6           MR. DAVISON: Objection. Form.
     7   responsibilities as national account manager    7           THE WITNESS: No, sir.
     8   to transmit this customer questionnaire to      8   QUESTIONS BY MR. LENISKI:
     9   your customer -- or your accounts, rather?      9       Q. Were you responsible for
    10        A. Where applicable, yes.                 10   receiving back the questionnaire from your
    11        Q. Okay. And when you say "where          11   accounts?
    12   applicable," which accounts were required      12           MR. DAVISON: Objection.
    13   to -- were you required to send for            13           THE WITNESS: I don't recall
    14   completion --                                  14       specifically.
    15            MR. DAVISON: Objection.               15   QUESTIONS BY MR. LENISKI:
    16   QUESTIONS BY MR. LENISKI:                      16       Q. Do you know whether or not you
    17        Q. -- this -- this questionnaire?         17   were responsible for reviewing the customer
    18            MR. DAVISON: Objection.               18   questionnaires when they were received back
    19            THE WITNESS: New accounts. I          19   from your accounts?
    20        don't know if they also sent them out     20           MR. DAVISON: Objection.
    21        from the SOMS team. It looks like         21           THE WITNESS: No.
    22        based on this letter that they may        22   QUESTIONS BY MR. LENISKI:
    23        have.                                     23       Q. Do you recall ever doing that,
    24   QUESTIONS BY MR. LENISKI:                      24   reviewing the customer questionnaires once
    25        Q. You said "new accounts."               25   received back from your accounts?
                                             Page 299                                             Page 301
     1             What about accounts that              1       A. No, sir, I do not.
     2   existed prior to the date of this e-mail,       2       Q. Other than the SOMS group, do
     3   2012, do you know whether existing accounts     3   you know anyone else at Mallinckrodt who
     4   had to complete this customer questionnaire?    4   would have received these customer
     5        A. I believe all accounts needed           5   questionnaires?
     6   to complete them. I'm not sure the process      6       A. I'm not sure what departments
     7   to get all the accounts set up with this        7   they would have gone to.
     8   document.                                       8       Q. Other than the questionnaire,
     9        Q. So is your testimony then that          9   are you aware of any other documentation that
    10   it's your understanding, even before this      10   distributors were required to provide back to
    11   e-mail was sent, that all distributors were    11   Mallinckrodt?
    12   required to complete a customer                12       A. Not specifically, no.
    13   questionnaire?                                 13            MR. DAVISON: Objection.
    14             MR. DAVISON: Objection to            14   QUESTIONS BY MR. LENISKI:
    15        form.                                     15       Q. Okay. You testified earlier
    16             THE WITNESS: I can't answer          16   this afternoon about performing site visits
    17        that for certain.                         17   with people from the SOM team.
    18   QUESTIONS BY MR. LENISKI:                      18            Do you recall that?
    19        Q. Well, do you know if there was         19       A. Yes, sir.
    20   any consequence if a distributor or a          20       Q. Okay. Did -- to your
    21   wholesaler for Mallinckrodt did not complete   21   knowledge, did you ever perform a site visit
    22   the questionnaire?                             22   with Mallinckrodt's SOM team -- no, strike
    23        A. I do not know the answer.              23   that.
    24        Q. Okay. And did you discuss the          24            To your knowledge, did
    25   questionnaire with your accounts?              25   Mallinckrodt only perform site visits for SOM

   Golkow Litigation Services                                               Page 76 (298 - 301)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further77Confidentiality
                                                         of 84. PageID #: 242470
                                                                             Review
                                              Page 302                                            Page 304
     1   purposes with retail pharmacies that had         1   feedback on their facility and their security
     2   warehouses?                                      2   system.
     3            MR. DAVISON: Objection.                 3       Q. So those -- those are the --
     4            THE WITNESS: I -- I don't know          4   strike that.
     5       the answer to that.                          5             So the only site -- is it your
     6   QUESTIONS BY MR. LENISKI:                        6   testimony the only site visits that you would
     7       Q. Well, do you know whether                 7   accompany Mallinckrodt SOM team on would be
     8   Mallinckrodt performed site visits at all        8   those that you specifically requested of the
     9   retail pharmacies for the purpose of             9   SOM team?
    10   evaluating their SOM programs?                  10       A. Correct.
    11            MR. DAVISON: Objection.                11             MR. DAVISON: Objection.
    12            THE WITNESS: I don't know the          12   QUESTIONS BY MR. LENISKI:
    13       answer to that either.                      13       Q. Okay. And you'd only make that
    14   QUESTIONS BY MR. LENISKI:                       14   request of Mallinckrodt's SOM team for a site
    15       Q. Okay. And you may have been              15   visit if your account had requested it?
    16   asked this, but do you recall how many site     16             MR. DAVISON: Objection.
    17   visits that you ever attended with SOM during   17             THE WITNESS: Yes, generally.
    18   your tenure at Mallinckrodt?                    18   QUESTIONS BY MR. LENISKI:
    19       A. I do not.                                19       Q. Were you ever invited to a site
    20       Q. Was it more than five? More              20   visit where the account or customer did not
    21   than ten? Any estimate?                         21   specifically ask you to set up the site visit
    22            MR. DAVISON: Objection.                22   with Mallinckrodt's SOM team?
    23            THE WITNESS: I can't speculate         23       A. Yes.
    24       on that.                                    24       Q. Can you recall any specific
    25                                                   25   site visits like that?
                                              Page 303                                            Page 305
     1   QUESTIONS BY MR. LENISKI:                        1       A. HD Smith in Springfield,
     2       Q. Okay.                                     2   Missouri.
     3       A. I don't recall.                           3       Q. Okay. And why do you remember
     4       Q. Okay. What was your role on               4   that particular site visit?
     5   the site visits that you accompanied SOM --      5            MR. DAVISON: Objection.
     6   Mallinckrodt's SOM team to?                      6            THE WITNESS: Because I do.
     7             MR. DAVISON: Objection.                7   QUESTIONS BY MR. LENISKI:
     8             THE WITNESS: Taking the SOM            8       Q. Do you recall why you were
     9       group and security to the account,           9   asked to accompany the Mallinckrodt SOM team
    10       introducing them to the key contacts,       10   on that visit?
    11       basically letting them proceed              11            MR. DAVISON: Objection.
    12       accordingly.                                12            THE WITNESS: I do not know.
    13   QUESTIONS BY MR. LENISKI:                       13   QUESTIONS BY MR. LENISKI:
    14       Q. So a typical site visit, would           14       Q. Okay. Do you know what
    15   you accompany the -- Mallinckrodt's SOM team    15   specific task or responsibilities you had on
    16   and the security individual along -- during     16   that particular site visit?
    17   their -- the entirety of their site visit?      17            MR. DAVISON: Objection.
    18             MR. DAVISON: Objection.               18            THE WITNESS: Introduction to
    19             THE WITNESS: Only when I              19       my contacts.
    20       requested their review.                     20   QUESTIONS BY MR. LENISKI:
    21   QUESTIONS BY MR. LENISKI:                       21       Q. Okay. In other words, you
    22       Q. And under what circumstances             22   didn't have any checklist of items that you
    23   would you request Mallinckrodt's SOM team to    23   were trying to evaluate or monitor with
    24   perform the review?                             24   respect to --
    25       A. At a customer's request to get           25       A. No.

   Golkow Litigation Services                                                Page 77 (302 - 305)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further78Confidentiality
                                                         of 84. PageID #: 242471
                                                                             Review
                                              Page 306                                             Page 308
     1       Q. -- that customer's SOM program?           1            MR. DAVISON: Objection.
     2       A. Right. That was outside of my             2            THE WITNESS: Just getting an
     3   responsibilities.                                3       understanding of how they stored it.
     4       Q. Okay. So during the site                  4   QUESTIONS BY MR. LENISKI:
     5   visits, you relied entirely on Mallinckrodt's    5       Q. Were you trained specifically
     6   SOM team and the individual from the security    6   with respect to proper storage and handling
     7   division to perform the site visit from a        7   of C-II by pharmacies?
     8   substantive point of view?                       8       A. No, not that I recall.
     9       A. Right.                                    9       Q. Okay. Did you draft some
    10       Q. To your knowledge, did                   10   report on that occasion that you submitted to
    11   Mallinckrodt check retail pharmacy SOM          11   someone else at Mallinckrodt?
    12   procedures?                                     12       A. No. It was for observation.
    13            MR. DAVISON: Objection.                13       Q. So this was at the request of
    14            THE WITNESS: I don't know the          14   the customer that you --
    15       answer to that.                             15       A. Right.
    16   QUESTIONS BY MR. LENISKI:                       16       Q. -- went and visited that
    17       Q. Do you recall ever performing            17   pharmacy on that occasion?
    18   such a site visit to a retail pharmacy          18       A. Right.
    19   yourself?                                       19       Q. Okay. Do you recall how many
    20            MR. DAVISON: Objection.                20   times that happened during your tenure at
    21            THE WITNESS: I went into a             21   Mallinckrodt?
    22       pharmacy, if that's the question.           22       A. Minimal.
    23   QUESTIONS BY MR. LENISKI:                       23       Q. Other than what you just
    24       Q. Well, let me ask about that.             24   testified to with respect to visiting the
    25   What are you talking about there with that      25   Kroger pharmacy, can you recall ever
                                              Page 307                                             Page 309
     1   answer?                                          1   performing any other site visits at any other
     2            MR. DAVISON: Objection.                 2   retail pharmacies that were -- or while you
     3            THE WITNESS: When I was                 3   were at Mallinckrodt?
     4       working with Kroger, I went into a           4            MR. DAVISON: Objection.
     5       pharmacy to understand how they stored       5            THE WITNESS: On occasion, if I
     6       their C-IIs and what would help them         6       was in a retail store and there was a
     7       in regard to the storage of C-IIs.           7       pharmacy and it was my account, I
     8   QUESTIONS BY MR. LENISKI:                        8       might say hello to the pharmacist, but
     9       Q. And did you accompany                     9       basically it was just...
    10   Mallinckrodt's SOM team --                      10   QUESTIONS BY MR. LENISKI:
    11       A. No.                                      11       Q. So that would be more of a
    12       Q. -- on that occasion?                     12   social visit?
    13       A. No.                                      13       A. Correct.
    14       Q. Who --                                   14       Q. Okay. Do you recall ever
    15       A. Myself.                                  15   participating in collaborative SOM meetings
    16       Q. Okay. Who requested you to go            16   between Mallinckrodt and its accounts?
    17   visit that Kroger pharmacy for that purpose?    17            MR. DAVISON: Objection.
    18       A. The -- my primary contact at             18            THE WITNESS: No.
    19   Kroger said it would be a good idea to see      19   QUESTIONS BY MR. LENISKI:
    20   how they do it.                                 20       Q. Do you know what a distributor
    21       Q. Okay. And when you went to               21   customer audit is?
    22   that pharmacy to try to understand how they     22       A. No, sir.
    23   stored their C-IIs, what would help them in     23       Q. You never heard that term while
    24   regard to the storage of C-IIs, what criteria   24   you were at Mallinckrodt, to your knowledge?
    25   were you using to evaluate that?                25       A. I don't recall the term.

   Golkow Litigation Services                                                Page 78 (306 - 309)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further79Confidentiality
                                                         of 84. PageID #: 242472
                                                                             Review
                                             Page 310                                            Page 312
     1            (Mallinckrodt-New Exhibit 43           1   Heights, Missouri?
     2        marked for identification.)                2       A. Yes, I do.
     3   QUESTIONS BY MR. LENISKI:                       3       Q. Okay. Do you recall making any
     4        Q. I handed the witness                    4   report or other submission following that
     5   Exhibit 43. It is Bates-stamped                 5   site visit?
     6   MNK-T1_0006464828.                              6       A. No.
     7            Ms. New, do you recognize what         7       Q. So looking at Exhibit 43, can
     8   I've handed you as Exhibit 43?                  8   you think of any other role other than
     9        A. I don't recognize the document.         9   accompanying Mallinckrodt's SOM team to
    10   I recognize the account, so to speak.          10   EMED's physical location that you would have
    11        Q. Okay. So to your knowledge,            11   had with respect to the audit of this new
    12   did you ever receive a copy of this document   12   distributor customer for Mallinckrodt?
    13   or have a chance to review it?                 13             MR. DAVISON: Objection.
    14        A. I do not recall if I reviewed          14             THE WITNESS: No.
    15   it or not.                                     15   QUESTIONS BY MR. LENISKI:
    16        Q. Okay. The document is titled           16       Q. Okay. Was this audit function
    17   "Controlled Substance Compliance/Suspicious    17   only something that Mallinckrodt did for new
    18   Order Monitoring Distributor Customer Audit    18   distributor or wholesaler customers?
    19   Checklist."                                    19             MR. DAVISON: Objection.
    20            Correct?                              20             THE WITNESS: I don't know. I
    21        A. Correct.                               21       only know about my own accounts.
    22        Q. And it's dated 6/15/2017?              22   QUESTIONS BY MR. LENISKI:
    23        A. Yes, sir.                              23       Q. Well, do you recall such an
    24        Q. Your name is listed at the             24   audit ever being performed on your existing
    25   bottom of the first page of Exhibit 43 as      25   account customers during your tenure at
                                             Page 311                                            Page 313
     1   being one of the Mallinckrodt auditors          1   Mallinckrodt?
     2   involved with this customer, correct?           2             MR. DAVISON: Objection.
     3       A. That's what it says.                     3             THE WITNESS: I don't know.
     4       Q. Okay. And the distributor                4   QUESTIONS BY MR. LENISKI:
     5   issue is EMED, correct?                         5       Q. Do you recall seeing such a
     6       A. Yes, sir.                                6   report generated by any of your existing
     7       Q. Okay. And was that a new                 7   accounts that was titled "Customer Audit"?
     8   distributor around this time of June of 2017    8             MR. DAVISON: Objection.
     9   for Mallinckrodt?                               9             THE WITNESS: I -- this is the
    10       A. Yes, sir.                               10       first time I've seen this document, to
    11       Q. Okay. And was it your                   11       my knowledge.
    12   practice, to your knowledge, to be involved    12   QUESTIONS BY MR. LENISKI:
    13   in audits of new wholesale or distributor      13       Q. Okay. Does this distributor,
    14   customers of Mallinckrodt?                     14   to your knowledge, sell to pharmacies?
    15            MR. DAVISON: Objection.               15       A. I do not recall.
    16            THE WITNESS: No.                      16       Q. Okay. On page 2 of the
    17   QUESTIONS BY MR. LENISKI:                      17   exhibit, do you see the -- about halfway down
    18       Q. Looking at the substance of             18   the page there's a section that starts, "In
    19   Exhibit 43 and the ensuing pages and the       19   which states is the distributor licensed to
    20   different sections, do you recall having any   20   sell."
    21   involvement in providing the answers that we   21             Do you see that?
    22   see in this audit report?                      22       A. I see that.
    23       A. No, I do not.                           23       Q. The full statement there is,
    24       Q. Do you recall doing a site              24   "In which states is the distributor licensed
    25   visit out to EMED's location out in Maryland   25   to sell, parens, check specifically for
   Golkow Litigation Services                                               Page 79 (310 - 313)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further80Confidentiality
                                                         of 84. PageID #: 242473
                                                                             Review
                                              Page 314                                             Page 316
     1   Florida, Georgia and Texas, close parens.        1   Mallinckrodt was offered a volume growth
     2   Ask to see license certificates. Parens,         2   rebate?
     3   note, colon, 40 plus of the states now           3            MR. DAVISON: Objection.
     4   require individual state licensing, close        4            THE WITNESS: I don't recall
     5   parens."                                         5       the details.
     6             Did I read that correctly?             6   QUESTIONS BY MR. LENISKI:
     7        A. Yes, sir.                                7       Q. Do you recall how many of your
     8        Q. Okay. Do you know why                    8   accounts while you were at Mallinckrodt were
     9   Mallinckrodt was asking this particular          9   offered a volume growth rebate?
    10   distributor whether it was licensed to sell     10       A. No, I cannot. I cannot.
    11   in the states of Florida, Georgia and Texas,    11       Q. Were you responsible for
    12   in particular?                                  12   implementing the terms of the volume growth
    13             MR. DAVISON: Objection.               13   rebate for Mallinckrodt's accounts?
    14             THE WITNESS: I do not.                14            MR. DAVISON: Objection.
    15   QUESTIONS BY MR. LENISKI:                       15            THE WITNESS: We had a
    16        Q. And do you see right below that         16       contracting team and legal team that
    17   it says, "In which states do you sell           17       put together the language pertaining
    18   controlled substances, specifically do you      18       to those.
    19   distribute in Florida?"                         19   QUESTIONS BY MR. LENISKI:
    20             Did I read that correctly?            20       Q. In your role in national
    21        A. Yes, sir.                               21   accounts or as national account manager, did
    22        Q. Okay. Do you know the purpose           22   you have any responsibilities with respect to
    23   of including that question in the customer      23   the volume growth rebate program?
    24   audit of this particular distributor?           24            MR. DAVISON: Objection.
    25             MR. DAVISON: Objection.               25            THE WITNESS: My responsibility
                                              Page 315                                             Page 317
     1            THE WITNESS: I do not.                  1       was to supply the information, discuss
     2   QUESTIONS BY MR. LENISKI:                        2       it with the product managers and
     3       Q. To your knowledge, as a                   3       determine what we can or will do.
     4   national account manager, did you treat          4   QUESTIONS BY MR. LENISKI:
     5   customers who sold in the states of Florida,     5       Q. And do you recall a time when
     6   Georgia or Texas differently from other          6   Mallinckrodt excluded its oxy 15-milligram
     7   accounts?                                        7   and 30-milligram products from the volume
     8            MR. DAVISON: Objection.                 8   growth rebate program?
     9            THE WITNESS: I did not.                 9       A. Yes.
    10   QUESTIONS BY MR. LENISKI:                       10       Q. Do you recall the purpose of
    11       Q. I'm done with that.                      11   that?
    12            Are you familiar with the term         12            MR. DAVISON: Objection.
    13   "volume growth rebate"?                         13            THE WITNESS: It was direction
    14       A. Yes, sir.                                14       from upper management.
    15       Q. And what is that?                        15   QUESTIONS BY MR. LENISKI:
    16       A. A customer tells us their                16       Q. So you have no understanding,
    17   volumes. We project how they're going to do     17   other than it was something directed by upper
    18   and then set up volume growth based on their    18   management, why Mallinckrodt removed oxy 15-
    19   projected sales.                                19   and 30-milligram strengths from the volume
    20       Q. Okay. Did Mallinckrodt offer a           20   growth rebate program that it offered its
    21   volume growth rebate to all of its accounts,    21   accounts?
    22   to your knowledge?                              22            MR. DAVISON: Objection.
    23       A. No. No.                                  23            THE WITNESS: Yes. I don't
    24       Q. Was there particular criteria            24       know.
    25   that determined whether or not an account of    25


   Golkow Litigation Services                                                Page 80 (314 - 317)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further81Confidentiality
                                                         of 84. PageID #: 242474
                                                                             Review
                                             Page 318                                            Page 320
     1   QUESTIONS BY MR. LENISKI:                       1   to 9 in just a second.
     2       Q. Do you recall a time where               2            44 is a -- begins with Bates
     3   Mallinckrodt, as part of the excluding oxy      3   MNK-T1_0005649068.
     4   15-milligram and 30-milligram products from     4            Take a look at those e-mails
     5   the volume growth rebate program, had           5   and tell me if you recognize them, please.
     6   implemented a manual allocation for those       6       A. Not this specific document, but
     7   products to their distributor customers?        7   I'm familiar with the subject.
     8            MR. DAVISON: Objection.                8       Q. Okay. And what is the subject?
     9            THE WITNESS: I don't remember          9            MR. DAVISON: Let's go off the
    10       the details of that.                       10       record.
    11   QUESTIONS BY MR. LENISKI:                      11            VIDEOGRAPHER: We are going off
    12       Q. I guess my question would --            12       the record at 4:55 p.m.
    13   were you involved in that process, to your     13        (Off the record at 4:55 p.m.)
    14   knowledge?                                     14            VIDEOGRAPHER: We are back on
    15            MR. DAVISON: Objection.               15       the record at 4:55 p.m.
    16            THE WITNESS: That was                 16   QUESTIONS BY MR. GOTTO:
    17       direction from management, and if I        17       Q. Ms. New, you were saying you
    18       was told to do that, that was part of      18   were familiar with the subject matter?
    19       the business process, then I did it.       19       A. Yes.
    20   QUESTIONS BY MR. LENISKI:                      20       Q. And what is that subject
    21       Q. Okay. Do you recall whether             21   matter?
    22   Mallinckrodt ever ceased doing the manual      22       A. Oxy/APAP solution.
    23   allocations of oxy 15-milligram and            23       Q. Okay. And if you turn to the
    24   30-milligram strengths for its customers?      24   last page of the exhibit, there's an e-mail
    25       A. I don't recall.                         25   from Elva Ramsaran?
                                             Page 319                                            Page 321
     1           MR. LENISKI: I don't think I            1       A. Yes.
     2      have any further questions. Thank            2       Q. And who was she?
     3      you.                                         3       A. She's a director of national
     4           THE WITNESS: Thank you.                 4   accounts.
     5           MR. DAVISON: Can we go off the          5       Q. Okay. And she says, "Bonnie
     6      record for a second?                         6   and I just got off the phone with Jodi
     7           VIDEOGRAPHER: We are going off          7   Cartwright and Jim Langman, Walmart
     8      the record at 4:50 p.m.                      8   compliance manager," correct?
     9       (Off the record at 4:50 p.m.)               9       A. That's what it says, yes, sir.
    10           VIDEOGRAPHER: We are back on           10       Q. And it goes on to say,
    11      the record at 4:53 p.m.                     11   "Walmart's concern isn't that the product
    12           (Mallinckrodt-New Exhibit 44           12   won't sell but that the product will sell,
    13      marked for identification.)                 13   and Walmart concerns -- concern for promoting
    14          REDIRECT EXAMINATION                    14   a C-II that had no prior usage could be
    15   QUESTIONS BY MR. GOTTO:                        15   perceived that the goal was for sales and
    16      Q. Ms. New, I'll hand you what              16   profits."
    17   we've marked as Exhibit 44, which is a         17            Do you see that?
    18   multipage document beginning at Bates MNK --   18       A. Yes, sir.
    19           MR. DAVISON: Do you have a             19       Q. Do you recall the conversation
    20      copy, Counsel?                              20   with the Walmart personnel that Ms. Ramsaran
    21           MS. REYES: Oh, I'm so sorry.           21   mentions in this e-mail?
    22           THE WITNESS: So we're looking          22       A. I was copied on this, but
    23      at 44?                                      23   Walmart was no longer my account at this
    24   QUESTIONS BY MR. GOTTO:                        24   time. I was copied on it because I had
    25      Q. Yeah, we're going to get back            25   the -- set up the contract with them

   Golkow Litigation Services                                               Page 81 (318 - 321)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further82Confidentiality
                                                         of 84. PageID #: 242475
                                                                             Review
                                              Page 322                                             Page 324
     1   originally.                                      1   they thought this particular product could be
     2       Q. Okay. Ms. Ramsaran indicates              2   problematic as creating a perception that
     3   that you and she had a call with the Walmart     3   Walmart's goal was for sales and profits?
     4   personnel.                                       4            MR. DAVISON: Objection.
     5       A. That's correct.                           5            THE WITNESS: I don't remember
     6       Q. Do you recall that call?                  6       that kind of detail.
     7       A. Somewhat.                                 7   QUESTIONS BY MR. GOTTO:
     8       Q. And do you recall the concerns            8       Q. Okay. Do you remember what
     9   that the Walmart personnel expressed in that     9   happened with this product with Walmart,
    10   call?                                           10   ultimately?
    11       A. Not specifically.                        11            MR. DAVISON: Objection.
    12       Q. Okay. Under Walmart concerns,            12            THE WITNESS: Not without
    13   Ms. Ramsaran lists three bullet items. If       13       looking at this.
    14   you could take a look at those and tell me if   14            Basically it's saying that we
    15   you -- if those are consistent with your        15       agreed for them to return the product.
    16   recollection of that call.                      16   QUESTIONS BY MR. GOTTO:
    17            MS. CONWAY: Objection to form.         17       Q. Okay. Okay. You can set that
    18            THE WITNESS: Yes.                      18   aside.
    19   QUESTIONS BY MR. GOTTO:                         19       A. Okay.
    20       Q. And is that consistent with              20       Q. If you could look at Exhibit 9
    21   your recollection?                              21   now.
    22       A. Yes, sir.                                22       A. Okay.
    23            MR. DAVISON: Objection.                23       Q. And we looked at this one
    24   QUESTIONS BY MR. GOTTO:                         24   earlier today. This is an e-mail from
    25       Q. Okay. And accurate that                  25   Mr. Adams to the national account managers
                                              Page 323                                             Page 325
     1   Walmart -- that Walmart personnel expressed      1   forwarding a press clipping that we looked at
     2   that Walmart did not want to be associated       2   earlier today, correct?
     3   with any type of opioid promotional efforts      3       A. I don't recall looking at it
     4   to physicians?                                   4   today, but that's what Mr. Burd says down
     5            MR. DAVISON: Objection.                 5   here, that he's forwarding that.
     6            THE WITNESS: That's correct,            6       Q. Okay. During the time you were
     7       that's what it states.                       7   national account manager or director, was
     8   QUESTIONS BY MR. GOTTO:                          8   there any process in place whereby you and
     9       Q. Okay. Do you recall what                  9   the other national account managers shared
    10   aspect of the -- the program Walmart felt       10   things like press clippings that were of
    11   would be a potential -- could be perceived as   11   general interest?
    12   a promotional effort to physicians that it      12       A. Sure.
    13   didn't want to be associated with?              13       Q. Was it a formal process or
    14            MR. DAVISON: Objection.                14   simply if someone chose to circulate
    15            THE WITNESS: Their -- their            15   something, they'd circulate it?
    16       upper management, SOMS, whomever, made      16       A. Right. There was no protocol
    17       that decision. I don't know why.            17   for who did or did not do it.
    18   QUESTIONS BY MR. GOTTO:                         18       Q. Did anyone maintain any kind of
    19       Q. Okay. Was there a                        19   central file of press clippings that were
    20   particular -- so this product, was this a new   20   circulated among the national account
    21   product that was being offered at this time?    21   managers, anything like that?
    22       A. It was a product, I believe,             22            MR. DAVISON: Objection to
    23   that was being reintroduced into the market.    23       form.
    24       Q. Okay. And do you recall the              24            THE WITNESS: I have no
    25   Walmart personnel expressing any reasons why    25       knowledge of that.
   Golkow Litigation Services                                                Page 82 (322 - 325)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further83Confidentiality
                                                         of 84. PageID #: 242476
                                                                             Review
                                              Page 326                                                Page 328
     1   QUESTIONS BY MR. GOTTO:                          1           MR. DAVISON: Objection.
     2       Q. Okay. Did you have -- did the             2           THE WITNESS: No, sir.
     3   national account managers have periodic          3   QUESTIONS BY MR. GOTTO:
     4   meetings?                                        4     Q. Or Mr. Borelli?
     5       A. Yes.                                      5           MR DAVISON: Objection.
     6       Q. How often would you meet?                 6           THE WITNESS: No, sir.
     7       A. Varied with management team.              7           MR. GOTTO: All right. That's
     8       Q. Okay. So -- well, you met with            8     all I have. Thank you.
     9   Mr. Becker with some regularity, correct?        9           MR. DAVISON: I don't have any
    10       A. If he was in St. Louis and we            10     questions, so...
    11   had a meeting, yes. Steve's location was        11           VIDEOGRAPHER: We are going off
    12   Minneapolis, Minnesota. So, I mean, if we       12     the record at 5:02 p.m.
    13   had a meeting and we were all together, yes.    13    (Deposition concluded at 5:02 p.m.)
    14       Q. Okay. How about Mr. Borelli,             14            –––––––
    15   did you meet with him with some regularity?     15
    16       A. Yes. Same thing. quarterly               16
    17   sales meetings, ECRM, NACDS.                    17
    18       Q. Okay. Did you have occasion to           18
    19   form any view with respect to Mr. Becker's      19
    20   effectiveness as a national account manager?    20
    21           MR. DAVISON: Objection.                 21
    22           THE WITNESS: No, sir.                   22
    23   QUESTIONS BY MR. GOTTO:                         23
    24       Q. How about Mr. Borelli's?                 24
    25           MR. DAVISON: Objection.                 25

                                              Page 327                                                Page 329
     1           THE WITNESS: No, sir.                    1
                                                          2
                                                                        CERTIFICATE
     2   QUESTIONS BY MR. GOTTO:                          3           I, CARRIE A. CAMPBELL, Registered
     3       Q. Did you have occasion to                      Diplomate Reporter, Certified Realtime
                                                          4   Reporter and Certified Shorthand Reporter, do
     4   formulate any view as to Mr. Becker's                hereby certify that prior to the commencement
     5   honesty?                                         5   of the examination, Bonnie New was duly sworn
                                                              by me to testify to the truth, the whole
     6           MR. DAVISON: Objection.                  6   truth and nothing but the truth.
     7           THE WITNESS: No, sir.                    7           I DO FURTHER CERTIFY that the
                                                              foregoing is a verbatim transcript of the
     8   QUESTIONS BY MR. GOTTO:                          8   testimony as taken stenographically by and
     9       Q. How about Mr. Borelli's?                      before me at the time, place and on the date
                                                          9   hereinbefore set forth, to the best of my
    10           MR. DAVISON: Objection.                      ability.
    11           THE WITNESS: No, sir.                   10
                                                                      I DO FURTHER CERTIFY that I am
    12   QUESTIONS BY MR. GOTTO:                         11   neither a relative nor employee nor attorney
    13       Q. Did anyone at Mallinckrodt ever               nor counsel of any of the parties to this
                                                         12   action, and that I am neither a relative nor
    14   express to you any dissatisfaction with the          employee of such attorney or counsel, and
    15   performance of Mr. Becker?                      13   that I am not financially interested in the
                                                              action.
    16           MR. DAVISON: Objection.                 14
                                                         15
    17           THE WITNESS: No, sir.                   16
    18   QUESTIONS BY MR. GOTTO:                                 ____________________________
    19       Q. How about Mr. Borelli?
                                                         17      CARRIE A. CAMPBELL,
                                                                 NCRA Registered Diplomate Reporter
    20           MR. DAVISON: Objection.                 18      Certified Realtime Reporter
    21           THE WITNESS: No, sir.                           Notary Public
                                                         19      Dated: February 17, 2019
    22   QUESTIONS BY MR. GOTTO:                         20
                                                         21
    23       Q. Anyone ever express to you any           22
    24   concern regarding the reliability or            23
                                                         24
    25   truthworthiness of Mr. Becker?                  25

   Golkow Litigation Services                                                 Page 83 (326 - 329)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1982-15
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further84Confidentiality
                                                         of 84. PageID #: 242477
                                                                             Review
                                                  Page 330                                        Page 332
     1          INSTRUCTIONS TO WITNESS                       1          –––––––
     2                                                                     ERRATA
     3           Please read your deposition over             2          –––––––
     4   carefully and make any necessary corrections.        3   PAGE LINE CHANGE/REASON
     5   You should state the reason in the                   4   ____ ____ _____________________________
     6   appropriate space on the errata sheet for any        5   ____ ____ _____________________________
     7   corrections that are made.
                                                              6   ____ ____ _____________________________
     8           After doing so, please sign the
                                                              7   ____ ____ _____________________________
     9   errata sheet and date it. You are signing
                                                              8   ____ ____ _____________________________
                                                              9   ____ ____ _____________________________
    10   same subject to the changes you have noted on       10   ____ ____ _____________________________
    11   the errata sheet, which will be attached to         11   ____ ____ _____________________________
    12   your deposition.                                    12   ____ ____ _____________________________
    13           It is imperative that you return            13   ____ ____ _____________________________
    14   the original errata sheet to the deposing           14   ____ ____ _____________________________
    15   attorney within thirty (30) days of receipt         15   ____ ____ _____________________________
    16   of the deposition transcript by you. If you         16   ____ ____ _____________________________
    17   fail to do so, the deposition transcript may        17   ____ ____ _____________________________
    18   be deemed to be accurate and may be used in         18   ____ ____ _____________________________
    19   court.                                              19   ____ ____ _____________________________
    20                                                       20   ____ ____ _____________________________
    21                                                       21   ____ ____ _____________________________
    22                                                       22   ____ ____ _____________________________
    23                                                       23   ____ ____ _____________________________
    24                                                       24   ____ ____ _____________________________
    25                                                       25

                                                  Page 331                                        Page 333
     1        ACKNOWLEDGMENT OF DEPONENT                      1          –––––––
     2                                                                   LAWYER'S NOTES
     3                                                        2          –––––––
     4            I,______________________, do                3   PAGE LINE
         hereby certify that I have read the foregoing
     5   pages and that the same is a correct
                                                              4   ____ ____ _____________________________
         transcription of the answers given by me to          5   ____ ____ _____________________________
     6   the questions therein propounded, except for         6   ____ ____ _____________________________
         the corrections or changes in form or                7   ____ ____ _____________________________
     7   substance, if any, noted in the attached             8   ____ ____ _____________________________
         Errata Sheet.                                        9   ____ ____ _____________________________
     8
     9
                                                             10   ____ ____ _____________________________
    10                                                       11   ____ ____ _____________________________
    11                                                       12   ____ ____ _____________________________
    12   ________________________________________            13   ____ ____ _____________________________
         Bonnie New     DATE                                 14   ____ ____ _____________________________
    13                                                       15   ____ ____ _____________________________
    14
                                                             16   ____ ____ _____________________________
    15   Subscribed and sworn to before me this
    16   _______ day of _______________, 20 _____.
                                                             17   ____ ____ _____________________________
    17   My commission expires: _______________              18   ____ ____ _____________________________
    18                                                       19   ____ ____ _____________________________
    19   Notary Public                                       20   ____ ____ _____________________________
    20                                                       21   ____ ____ _____________________________
    21
    22
                                                             22   ____ ____ _____________________________
    23
                                                             23   ____ ____ _____________________________
    24                                                       24   ____ ____ _____________________________
    25                                                       25


   Golkow Litigation Services                                                  Page 84 (330 - 333)
